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 1                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
 2

 3     ___________________________

 4     UNITED STATES OF AMERICA,

 5                            Plaintiff,           Criminal Action
                                                   No. 99-10371-DJC
 6     V.
                                                    July 19, 2013
 7     JAMES J. BULGER,                             8:45 a.m.

 8                         Defendant.
       ___________________________
 9

10

11                       TRANSCRIPT OF JURY TRIAL DAY 25

12                     BEFORE THE HONORABLE DENISE J. CASPER

13                          UNITED STATES DISTRICT COURT

14                        JOHN J. MOAKLEY U.S. COURTHOUSE

15                                 1 COURTHOUSE WAY

16                                 BOSTON, MA    02210

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                             DEBRA M. JOYCE, RMR, CRR
21                           LEE A. MARZILLI, RMR, CRR
                             Official Court Reporters
22                        John J. Moakley U.S. Courthouse
                            1 Courthouse Way, Room 5204
23                               Boston, MA 02210
                                    617-737-4410
24

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                                                                         25-2




 1     APPEARANCES:

 2     FOR THE GOVERNMENT:

 3     BRIAN T. KELLY, ESQ.
       FRED M. WYSHAK, JR., ESQ.
 4     ZACHARY R. HAFER, ESQ.
       United States Attorney's Office
 5     John Joseph Moakley Federal Courthouse
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       Boston, MA 02210
 7     617-748-3197

 8     FOR THE DEFENDANT:

 9     J.W. CARNEY, JR., ESQ.
       HENRY B. BRENNAN, ESQ.
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       20 Park Plaza
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12     617-338-5566

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 1                              P R O C E E D I N G S

 2                       (The following proceedings were held in open

 3     court before the Honorable Denise J. Casper, United States

 4     District Judge, United States District Court, District of

 5     Massachusetts, at the John J. Moakley United States Courthouse,

 6     1 Courthouse Way, Boston, Massachusetts, on July 19, 2013.)

 7                THE COURT:    Good morning, counsel.

 8                Good morning, Mr. Bulger.

 9                ALL:   Good morning, your Honor.

10                THE COURT:    Counsel, anything we need to take up

11     before we start this morning from the government?

12                MR. KELLY:    Your Honor, I was under the impression

13     that the defense was going to file a response to the motion to

14     preclude certain defense witnesses, yesterday.          I'm not sure if

15     I've seen that or if they've had a chance to do that.

16                THE COURT:    I was still holding on that until we

17     received your opposition.

18                MR. CARNEY:    We're not going to file a written

19     opposition, your Honor.

20                THE COURT:    Do you want to be heard on that today, at

21     the end of the day?

22                MR. KELLY:    This afternoon would be fine, your Honor.

23                MR. CARNEY:    Would it be possible that this afternoon

24     be 1:00?

25                THE COURT:    Yes, that's what I was intending, 1:00.
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 1                Counsel, I still have the other motion I heard from

 2     you on Tuesday under advisement.        My sense is Flemmi's

 3     testimony will take all of today likely into Monday, perhaps.

 4                MR. WYSHAK:     Yes, is that the one --

 5                THE COURT:     Santa Monica.

 6                MR. WYSHAK:     Oh, the guns?

 7                THE COURT:     Yes.

 8                Were you also -- I was also going to ask you about the

 9     other motion regarding the bank accounts.

10                MR. WYSHAK:     I furnished the information we were able

11     to put together to -- Mr. Brennan, gave you the letter about

12     the bank accounts.

13                MR. BRENNAN:    He did.

14                MR. WYSHAK:     I assume that satisfies -- I don't know

15     if there's anything else.

16                THE COURT:     Counsel, do you need the Court to take any

17     action on 1122?

18                MR. BRENNAN:    Regarding the bank accounts, I don't,

19     your Honor.

20                THE COURT:     You don't?

21                MR. BRENNAN:    I do not.

22                MR. WYSHAK:     There is a broader issue I don't know

23     that we have to address this morning, but -- and I don't know

24     whether this is just some confusion on the part of the defense,

25     but pursuant to the plea in the Judge Wolf case that preceded
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 1     the case brought before Judge Stearns, this was in 2001, there

 2     was a settlement on forfeiture, real estate and bank accounts

 3     that were seized from Mr. Flemmi.        I think, even though the

 4     case before Judge Stearns was not resolved until 2003, which is

 5     when Mr. Flemmi agreed to cooperate, I think the defense

 6     believes that the forfeiture settlement in 2001 was some kind

 7     of Giglio inducement to Flemmi, and they've provided us with a

 8     number of real estate documents and asked for the bank account

 9     information.

10                We're going to object if Mr. Flemmi is cross-examined

11     on that issue and the nature of that being some kind of

12     inducement to him to testify and cooperate with the government,

13     because it certainly was not.

14                THE COURT:    So the settlement was part of the plea

15     agreement?

16                MR. WYSHAK:    Part of the plea agreement in the case

17     before Judge Wolf.

18                What had happened was, Mr. Flemmi had been indicted

19     with Mr. Bulger, Mr. Weeks, Mr. O'Neil on the murder case,

20     which is currently pending before this Court, and I think

21     Mr. Flemmi and his counsel decided to put their attention to

22     the murder case and resolve the case before Judge Wolf, which

23     actually pled a different enterprise and had some of the issues

24     that were raised at the hearings before Judge Wolf.

25                So we resolved that case, but we didn't resolve it in
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 6 of 190
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 1     the manner that was intended to induce Mr. Flemmi to cooperate

 2     with the government; we resolved it in order to put an end to

 3     that case and move onto this case.

 4                So I don't think we need to cross this bridge right

 5     now, but just flagging the issue for cross-examination of the

 6     witness.

 7                THE COURT:     Mr. Brennan, do you want to be heard on

 8     this issue at this point?

 9                MR. BRENNAN:    We can address it later, but I'm far

10     from confused, I do think it's relevant, I do plan on

11     cross-examining on the properties the government gave back to

12     Mr. Flemmi.

13                THE COURT:     When we get there, I'll hear you further

14     at that point.

15                Counsel, just some housekeeping matters.

16                In the course of evidence, the government has

17     introduced an organizational chart.        It was Exhibit 94, which I

18     had in digital form.      My memory is that you'd also introduced

19     Exhibit 90, which was an organizational chart about the drug

20     trafficking conspiracy, which I think was on a blown up chart

21     but I didn't have in digital form.

22                Just as I'm looking forward to Petrozziello, making

23     those findings, can, at some point, you give me today, if

24     that's possible, just a hard copy of Exhibit 90?

25                My memory is, Mr. Wyshak, other than those two charts
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 1     and a chart that might have been Exhibit 93 that was just the

 2     alleged heads of the Winter Hill Gang in the mid '70s, I don't

 3     think there were any other organizational charts introduced,

 4     but I'll look at all, counsel.

 5                MR. WYSHAK:    I do think that we do have -- I think

 6     there are four.     There's the '75 to '80 Winter Hill chart,

 7     there's the leaders during that period, and then there's a, I

 8     believe, a 1980 South Boston organizational chart, as well as

 9     the drug chart.     I think they're all up here.

10                THE COURT:    Well, counsel, I think the first two that

11     you mentioned, I think I do have in digital form.           I'm not sure

12     that I have the 1980s one in digital form, so if that could

13     also be provided.

14                MR. WYSHAK:    We'll provide that to the Court.

15                THE COURT:    Okay.

16                Counsel, also, at the end of today -- and I realize as

17     I said we may still be on Mr. Flemmi's testimony -- I would

18     like to give brief update to the jury about where we are.

19                I don't think it's overreaching at this point --

20     Mr. Kelly, I'll look to you on scheduling -- to tell them at

21     the end of today that we're moving ahead of schedule and the

22     government intends to rest sometime next week.

23                MR. KELLY:    Sometime next week.     It might be late week

24     now --

25                THE COURT:    But sometime next week is fair?
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 1                MR. KELLY:    I think it is.    Yes, your Honor.

 2                THE COURT:    And, Mr. Carney, I would just say, If the

 3     defense chooses to put on a case, it would start after the

 4     government rests.     Okay?

 5                MR. CARNEY:    Yes.

 6                THE COURT:    Okay.

 7                MR. CARNEY:    It would probably be useful at the end of

 8     today just to discuss that scheduling detail, because

 9     especially for witnesses who are coming in from out of state,

10     we're trying to get a date certain, and I don't know if we will

11     be able to populate each morning fully given that we're trying

12     to keep the costs down of people who would be flying in,

13     because the government has to put them up in a hotel.

14                THE COURT:    Okay.

15                Well, why don't we -- we can talk about that after we

16     dismiss them, but I'll just talk generally that the government

17     at some point next week intends to rest, and that any defense

18     case would come after they rest.

19                MR. CARNEY:    Yes, your Honor.

20                THE COURT:    Counsel, anything else?

21                MR. CARNEY:    No, your Honor, thank you.

22                MR. KELLY:    No, your Honor.

23                THE COURT:    We'll check on the jurors.

24                THE CLERK:    All rise.

25                (Recess taken.)
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 1                (Jury entered the courtroom.)

 2                THE COURT:     Good morning, Mr. Flemmi.

 3                THE WITNESS:    Good morning, Judge Casper.

 4                THE COURT:     Sir, I remind you, you remain under oath.

 5                THE WITNESS:    I'm sorry?

 6                THE COURT:     I remind you, you remain under oath.

 7                THE WITNESS:    I'm sorry, I'm having a little

 8     trouble --

 9                THE COURT:     You remain under oath.

10                THE WITNESS:    Oh, yes.

11                THE COURT:     We'll get started right away.

12                Mr. Wyshak.

13                STEPHEN FLEMMI, having been previously duly sworn by

14     the Clerk, was further examined and testified as follows:

15                          CONTINUED DIRECT EXAMINATION

16     BY MR. WYSHAK:

17     Q.    Good morning, Mr. Flemmi.

18     A.    Good morning, Mr. Wyshak.

19     Q.    If you don't hear my question, just let me know and I'll

20     repeat it.

21     A.    Thank you.

22     Q.    So yesterday when we broke, we were talking about your

23     plea of guilty in 2003.      Do you recall that?

24     A.    Yes, I do.

25     Q.    In that plea agreement you agreed to cooperate with the
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                                                                          25-10




 1      government; is that fair to say?

 2      A.     Yes.

 3      Q.     What did you understand that cooperation to require of

 4      you?

 5      A.     Well, to cooperate, and I was debriefed and I cooperated

 6      and I gave all the information that I could -- that I

 7      possessed.

 8      Q.     Okay.

 9                    And what did you understand the government was going

10      to do in return?

11      A.     They were going to put me in a WITSEC program.

12      Q.     How does that benefit you?

13      A.     Well, the living conditions are much better than being in

14      a federal prison, a regular prison.

15      Q.     Any other benefits you received as a result of the plea

16      agreement?

17      A.     Well, my brother was taken -- took into consideration that

18      he would cooperate, but he refused to.

19      Q.     Your brother had been convicted in federal court of

20      various crimes; is that correct?

21      A.     Yes.

22      Q.     And which brother was that?

23      A.     My brother Michael.

24      Q.     And do you recall what it was he did that resulted in his

25      conviction?
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 1      A.   Well, he moved some of the guns, was present when they

 2      moved some of the guns from my cabana.

 3      Q.   The government also told you if he also cooperated he

 4      would get some consideration on his criminal sentence, correct?

 5      A.   Yes.

 6      Q.   Do you recall what his sentence was?

 7      A.   I think ten years.

 8      Q.   But he never cooperated.

 9      A.   No, he refused.

10      Q.   And you told us yesterday you avoided the death penalty in

11      Florida and Oklahoma.

12      A.   That was part of the global agreement.

13                  MR. WYSHAK:    Your Honor, at this time I'd like to

14      approach the witness.

15                  THE COURT:    You may.

16      BY MR. WYSHAK:

17      Q.   At this time, Mr. Flemmi, I'm going to show you what's

18      been marked Exhibit 1172 A, B, C, and D for identification.

19                  Just take a moment and if you could first look at

20      1172 A.   Do you recognize that document?

21      A.   Yes.

22      Q.   And what is it?

23      A.   The change of plea.

24      Q.   That's your plea agreement, fair to say?

25      A.   Yes, it is.
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                                                                          25-12




 1      Q.   It's your agreement with the United States?

 2      A.   Yes.

 3      Q.   As well as with Oklahoma?

 4      A.   Yes.

 5      Q.   And Florida?

 6      A.   Yes, sir.

 7                  MR. WYSHAK:     I offer it, your Honor.

 8                  THE COURT:     Any objection?

 9                  MR. BRENNAN:    No objection, your Honor.

10                  THE COURT:     It may be admitted.

11                  (Exhibit 1172 A received into evidence.)

12                  MR. WYSHAK:     Could we put the first page up?

13      BY MR. WYSHAK:

14      Q.   Okay.

15                  Reading from the first paragraph under "Change of

16      Plea" there, Mr. Flemmi, it says, "Pursuant to the terms of the

17      letter attached hereto as Attachment A," and I'll now direct

18      your attention to 1172 B in front of you.         Do you see that?

19      A.   Yes, sir.

20      Q.   What is that?

21      A.   This is an agreement with the state attorney from the 11th

22      Judicial Circuit of Florida.

23      Q.   Okay.

24                  Is that Attachment A?    Does that say that on the top?

25      Can you tell?
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                                                                              25-13




 1      A.      It just says, "State Attorney."

 2      Q.      That's the Florida agreement?

 3      A.      Yes.

 4      Q.      And what is the next document there in front of you?

 5      A.      It's the plea agreement -- the agreement with Jim Harris,

 6      Tulsa County District Attorney.

 7      Q.      Okay.

 8                     MR. WYSHAK:     I'm going to offer those two documents, I

 9      think they're 1172 B and C.

10                     THE COURT:     Any objection?

11                     MR. BRENNAN:    None.     Thank you.

12                     THE COURT:     They may be admitted and published as

13      well.

14                     (Exhibit 1172 B, 1172 C received into evidence.)

15      BY MR. WYSHAK:

16      Q.      And these are part of your plea agreement, is that fair to

17      say, these two letters?

18      A.      Yes.

19                     MR. WYSHAK:     And if we could, finally, put up that

20      last document, 1172 D.

21      Q.      Do you see what that is?

22      A.      That's the Oklahoma agreement.

23      Q.      Okay.

24                     MR. WYSHAK:     May I approach, your Honor?

25                     THE COURT:     You may.
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                                                                           25-14




 1                  (Pause.)

 2      BY MR. WYSHAK:

 3      Q.   Showing you 1172 D, do you recognize that?

 4      A.   Yes.

 5      Q.   And what is that?

 6      A.   It's the assets forfeited.

 7      Q.   Okay.

 8                  MR. WYSHAK:     I offer it, your Honor.

 9                  THE COURT:     Any objection?

10                  MR. BRENNAN:    No, thank you.

11                  THE COURT:     D may be admitted as well as part of that

12      exhibit.

13                  (Exhibit 1172 D received into evidence.)

14                  MR. WYSHAK:     If you can put 1172 A back up on the

15      screen.

16      BY MR. WYSHAK:

17      Q.   All right.

18                  That first paragraph requires you to plead guilty, not

19      only in federal court, but also in state court in Florida and

20      Oklahoma, correct?

21      A.   Yes, sir.

22      Q.   All right.

23                  You told us yesterday what you pled to and what the

24      sentence was that you received; is that fair to say?

25      A.   Yes, sir.
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 1      Q.     All right.

 2                  Now, regarding the attachment --

 3                  MR. WYSHAK:     May I approach, your Honor?

 4                  THE COURT:     You may.

 5                  (Pause.)

 6                  MR. WYSHAK:     If we could go to page 13 of this

 7      document.

 8      BY MR. WYSHAK:

 9      Q.     Okay.   If you look down here at this paragraph towards the

10      bottom, Mr. Flemmi --

11      A.     Which exhibit?

12      Q.     It's on the screen in front of you.       Do you see the

13      screen?

14                  Can you read that?

15                  THE COURT:     Mr. Flemmi, I'm going to ask you to move

16      the microphone whenever you look at the screen so we can hear

17      you.

18                  THE WITNESS:    Yes, Judge.

19      BY MR. WYSHAK:

20      Q.     That says, "The assets to be forfeited pursuant to this

21      agreement do not include certain particular assets listed on

22      Attachment C, attached hereto, which either were forfeited

23      pursuant to the plea agreement that defendant reached in United

24      States v. Mr. Flemmi, Crim. No. 94-10287-MLW; or were known to

25      the U.S. Attorney at the time when that agreement was executed,
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 1      but were not forfeited as to defendant pursuant to that

 2      agreement."

 3                     Do you see that?

 4      A.      Yes, sir.

 5      Q.      So that list you have in front of you is a list of assets

 6      that were previously forfeited in the case you had before Judge

 7      Wolf?

 8      A.      Yes, sir.

 9      Q.      They weren't forfeited in the case you had before Judge

10      Stearns, correct?

11      A.      Yes, sir.

12      Q.      Now, I'm going to show you --

13                     MR. WYSHAK:    May I approach again?

14                     THE COURT:    You may.

15      BY MR. WYSHAK:

16      Q.      -- what's been marked Exhibit 1171.

17                     Do you know what that is?

18      A.      Yes.

19      Q.      And what is it?

20      A.      It's the agreement with the United States and myself.

21      Q.      In the Judge Wolf case?

22      A.      Judge Wolf was -- yes.

23      Q.      Is that your plea agreement in the case you had before

24      Judge Wolf?

25      A.      Yes.
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                                                                          25-17




 1      Q.   Do you see that "MLW" at the end of the case?

 2      A.   Yes, Judge Mark Wolf.

 3                MR. WYSHAK:     I offer it, your Honor.

 4                THE COURT:     Any objection?

 5                MR. BRENNAN:    No, your Honor.

 6                THE COURT:     It may be admitted.

 7                (Exhibit 1171 received into evidence.)

 8      BY MR. WYSHAK:

 9      Q.   Okay.

10                And what's the date --

11                MR. WYSHAK:     Can we put the first page of 1171 up?

12      Q.   What's the date of this plea agreement?

13      A.   April 27, 2001.

14      Q.   And is that the plea agreement pursuant to which you

15      forfeited assets?

16      A.   Yes, sir.

17      Q.   And can you describe the assets that you forfeited at the

18      time you resolved the case before Judge Wolf?

19      A.   You want me to read them all?

20                You want me to read them all?

21      Q.   Well, generally, what kind of assets were there?

22      A.   Well, condominiums, parking --

23                THE COURT:     Mr. Flemmi, can you move the microphone

24      closer to your mouth?     The jurors need to hear you, and I think

25      they may have some difficulty hearing you right now.
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 1                  THE WITNESS:   Yes, Judge.

 2      A.   Real property on Marlboro Street, parking at the

 3      condominiums.

 4                  (Pause.)

 5      A.   I'll have to read everything, there's a lot of --

 6      Q.   There's a whole bunch of them, right?

 7      A.   Yes, sir.

 8      Q.   But generally, what kind of assets were there?

 9      A.   Condominiums, parking spaces.

10      Q.   Bank accounts?

11      A.   Bank accounts, yeah.

12      Q.   Now, had those assets been seized by the United States?

13      A.   Yes.

14      Q.   Were those all the assets that were seized by the United

15      States or only part of them?

16      A.   Part of them.

17      Q.   Did -- were some of the assets released?

18      A.   Yes.

19      Q.   And what happened to those assets that were released?

20      A.   Some of them were attached and they were -- they were in

21      civil law suits.

22      Q.   Attached by whom?

23      A.   By the victims families.

24      Q.   So certain assets were released and attached by the

25      victims' families in this case?
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                                                                          25-19




 1      A.   Yes.

 2      Q.   And other assets were forfeited to the United States.

 3      A.   Yes.

 4      Q.   How did you own real estate in the Back Bay?          How did you

 5      come to own all that real estate?

 6      A.   Well, I was -- I was a real estate broker, so I invested

 7      in real estate, and I -- the source of it was mostly illegal

 8      money.

 9      Q.   So you invested your criminal proceeds in real estate?

10      A.   Yes, sir.

11      Q.   And you were indicted for that, were you not?

12      A.   Money laundering.

13      Q.   Okay.

14                  And that was a case pending before Judge Keeton?

15      A.   Yes, sir.

16      Q.   And you pled guilty to that in connection with your plea

17      before Judge Wolf; is that right?

18      A.   Yes, sir.

19      Q.   Those two cases were consolidated?

20      A.   Yes, sir.

21      Q.   Now, at the time that you pled guilty to the case before

22      Judge Wolf and the money laundering case and forfeited these

23      assets, did you agree to -- had you agreed to cooperate with

24      the government at that time?

25      A.   I think I did.     I'm not certain, though -- no -- no, I
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 1      don't believe I did at that particular time.

 2      Q.      What's the date of that plea agreement in front of Judge

 3      Wolf?

 4      A.      April 27, 2001.

 5      Q.      Okay.

 6                     In April of 2001, were you cooperating with the

 7      government?

 8      A.      No, I wasn't.

 9      Q.      Okay.

10                     When did you first start cooperating with the

11      government?

12      A.      2003, I believe it was.

13      Q.      All right.

14                     So the forfeiture of the assets and the release of the

15      assets, were they part of an agreement with you to cooperate

16      with the government?

17      A.      Not at that time.

18      Q.      Now, it's fair to say that some of the assets that were

19      seized were the private homes of your wife --

20      A.      Yes.

21      Q.      -- Jeannette?

22      A.      Yes.

23      Q.      And Marion Hussey, the mother of some of your children?

24      A.      Yes.

25      Q.      And another woman, Jane O'Brien?
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                                                                          25-21




 1      A.   Yes.

 2      Q.   Who was Jane O'Brien?

 3      A.   A friend of mine.

 4      Q.   Were those assets seized by the victims' families?

 5      A.   No, sir.

 6      Q.   Those people were allowed to remain in their private

 7      homes?

 8      A.   Yes.

 9                  Now, you told us yesterday that you had engaged in

10      criminal activities, right?      You told us you were partners with

11      Mr. Bulger in crime?

12      A.   Yes, sir.

13      Q.   When did you begin your life of crime?

14      A.   Sometime in the '60s, early '60s.

15      Q.   And at that time where were you living?

16      A.   I was living in -- I think I was living in Dorchester.

17      Q.   Okay.

18                  And what kind of crime at that time did you become

19      involved in?

20      A.   Bookmaking and loansharking.

21                  Excuse me.   Latter part of the '50s, latter part of

22      the '50s.

23      Q.   That's when you began your criminal activity?

24      A.   Right, yes.

25      Q.   And where were you operating a loansharking and bookmaking
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                                                                          25-22




 1      business?

 2      A.   In Roxbury.

 3      Q.   Did you align yourself with any particular individuals?

 4      A.   Yes, sir.

 5      Q.   And who were those?

 6      A.   The Bennett brothers.

 7      Q.   And who were the Bennett brothers?

 8      A.   There was Walter Bennett and "Wimpy" Bennett, Eddie

 9      Bennett.    They were both loan sharks.

10      Q.   How did you get involved with them?

11      A.   Well, I had a bar up in Dorchester, and he was in prison

12      at the time, in the late '50s.

13      Q.   When you say "he," who do you mean?

14      A.   Ed Bennett, "Wimpy" Bennett.       His girlfriend used to come

15      into the bar with her girlfriends, and I was getting kind of

16      friendly with her and she told me who she was, and then when

17      her boyfriend came out, "Wimpy" Bennett, Ed Bennett had come

18      home, she introduced me to him.

19      Q.   And he had other criminals who worked with him?

20      A.   Yes.

21      Q.   And you joined this group; is that fair to say?

22      A.   Yes, sir.

23      Q.   Were some of the people who were associated with "Wimpy"

24      Bennett, did they include Frank Salemme?

25      A.   He come on the scene later on, yes.
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                                                                          25-23




 1      Q.   Okay.

 2                  Did he become your partner at some point in time?

 3      A.   "Wimpy" had him on the payroll.        When I say "Wimpy"

 4      Bennett, Edward Bennett had him on the payroll at the time.

 5      Q.   What was your relationship with Frank Salemme?

 6      A.   Well, I met him in that time frame, and I was --

 7      eventually I got involved with him in criminal activity.

 8      Q.   Okay.

 9                  How about a man named Peter Poulos, was he also a part

10      of Mr. Bennett's gang?

11      A.   Yes, sir.

12      Q.   Phil Costa?

13      A.   Yes.

14      Q.   During this period of time, you told us your brother,

15      Jimmy Flemmi --

16      A.   Yes, sir.

17      Q.   -- was he associated with Mr. Bennett?

18      A.   Not at the time, no.

19      Q.   Who he was he associated with?

20      A.   Joe Barboza.

21      Q.   And who was Joe Barboza?

22      A.   Notorious figure in Boston.       He was -- he just got out of

23      Walpole state prison, and when he got home, he got involved

24      with my brother because they knew each other in Walpole.

25      Q.   Did Mr. Barboza also have his own criminal gang?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 24 of 190
                                                                          25-24




 1      A.   Yes, he did.

 2      Q.   And where did they operate?

 3      A.   East Boston.

 4      Q.   Did you meet a man named George Kaufman during this time

 5      period in the '60s?

 6      A.   I knew George Kaufman in the '50s.

 7      Q.   Was he also associated with Mr. Bennett at the time?

 8      A.   Well, he was friendly, he was part of the group.

 9      Q.   How about John Martorano, did you meet him during this

10      period of time in the '60s?

11      A.   I knew John in the '50s.

12      Q.   And his brother Jimmy?

13      A.   Brother James, Jimmy, yes.

14      Q.   Also during that time period in the '60s, did you know a

15      man named Gerry Angiulo?

16      A.   Yes, sir.

17      Q.   Who was Gerry Angiulo?

18      A.   He was the underboss of the Mafia in Boston, underboss to

19      Raymond Patriarca.

20      Q.   Who was Raymond Patriarca?

21      A.   He was the New England Mafia LCN boss.

22      Q.   Did you know a man named Larry Zannino, also known as

23      Larry Baione?

24      A.   Yes, sir.

25      Q.   Who was he?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 25 of 190
                                                                          25-25




 1      A.   He was a captain affiliated with Gerry Angiulo.

 2      Q.   So the Mafia was a criminal organization operating in

 3      Boston at the time?

 4      A.   Yes, sir.

 5      Q.   Your group, the Bennett group, was a criminal organization

 6      operating in Boston?

 7      A.   In Roxbury.

 8      Q.   You told us about Mr. Barboza's group in East Boston?

 9      A.   Yes.

10      Q.   Was there a criminal group in Charlestown?

11      A.   Yes.

12      Q.   And what was that group?       Who headed up that group?

13      A.   Edward "Punchy" McLaughlin, his brothers.

14      Q.   What were his brothers' names?

15      A.   It was -- one of his brothers -- one of his brothers got

16      killed early on, Georgie McLaughlin was the younger brother.

17      Q.   Was there a criminal group operating in Somerville?

18      A.   Yes.

19      Q.   And during the '60s, who headed up that criminal group?

20      A.   "Buddy" McLean, Howie Winter, and his crew.

21      Q.   All right.

22                  Now, this group in East Boston with which Mr. Barboza

23      was involved, did that also include a man named Nick Femia?

24      A.   Yes.

25      Q.   And a man maimed "Chico" D'Amico?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 26 of 190
                                                                          25-26




 1      A.      "Chico" D'Amico, yes.

 2      Q.      Arthur Bratsos?

 3      A.      George Bratsos, yes.

 4      Q.      Tommy DePrisco?

 5      A.      Yes, sir.

 6      Q.      During this period of time in the '60s, did you also meet

 7      a man named Paul Rico?

 8      A.      Yes, sir.

 9      Q.      Who was Paul Rico?

10      A.      An FBI agent.

11      Q.      And what was the nature of your relationship with Paul

12      Rico?

13      A.      Paul Rico was -- he was around -- he was a friend of

14      "Wimpy" Bennett's going back to the Brinks robbery.

15      Q.      And what was the Brinks robbery?

16      A.      1950s, one the largest robberies at the time.       It was --

17      Q.      Mr. Bennett was involved in that?

18      A.      Well, he received some of the money that he was supposed

19      to destroy, but he held onto it.

20      Q.      And he had a relationship with Mr. Paul Rico of the FBI?

21      A.      Yes.

22      Q.      And he introduced you to Mr. Rico?

23      A.      Mr. Rico, Paul Rico, he was around the Roxbury area, him

24      and Dennis Condon, his partner, and through the Bennetts, they

25      were around all the time, that's how I met them.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 27 of 190
                                                                          25-27




 1                MR. WYSHAK:     At this time may I approach, your Honor?

 2                THE COURT:     You may.

 3      BY MR. WYSHAK:

 4      Q.   Showing you what's been marked Exhibit 51 for

 5      identification.

 6                Can you take a look at that photograph?

 7                Do you recognize the individuals depicted in that

 8      photograph?

 9      A.   Yes, sir.

10      Q.   And who are they?

11      A.   Paul Rico, FBI Agent Paul Rico; FBI Agent Dennis Condon;

12      and Henry Tameleo, who was an underboss for Raymond Patriarca

13      in Rhode Island.

14                MR. WYSHAK:     I offer the photograph.

15                THE COURT:     Any objection to 51?

16                MR. BRENNAN:    No objection.

17                THE COURT:     It may be admitted and published.

18                (Exhibit 51 received into evidence.)

19      BY MR. WYSHAK:

20      Q.   So can you identify the individuals in this photograph?

21      A.   Yes, sir.

22      Q.   Could you just point on the telestrator, put a little mark

23      on each individual as you identify them.

24      A.   Yes, sir.

25                THE COURT:     You can just touch the screen.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 28 of 190
                                                                          25-28




 1      A.   On the left is Paul Rico, agent; in the middle is Henry

 2      Tameleo.

 3      Q.   Can you touch the screen?

 4                  Who's that man?

 5      A.   Henry Tameleo.

 6      Q.   Okay.

 7                  And the man -- who are the men on each side of him?

 8      A.   On the left is Paul Rico, FBI agent; to the right is

 9      Dennis Condon, FBI agent.

10      Q.   Those are the two men in the straw hats?

11      A.   Yes, sir.

12      Q.   Did you begin to have a relationship with Mr. Rico during

13      the 1960's?

14      A.   Yes, sir.

15      Q.   What was the nature of that relationship?

16      A.   Well, a gang war was going on at the time.

17      Q.   What do you mean, that there was a gang war going on at

18      the time?

19      A.   Well, this was a gang war between the Somerville people

20      and the Charlestown people.

21      Q.   When you say "a war," does that mean people are shooting

22      at each other?

23      A.   Yes, sir.

24      Q.   Killing each other?

25      A.   Yes, sir.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 29 of 190
                                                                          25-29




 1      Q.   Did you become involved in that gang war?

 2      A.   Yes, sir.

 3      Q.   And how did you become involved in that war?

 4      A.   Well, I was with the "Wimpy" Bennett crew, and he aligned

 5      himself originally with the Charlestown people.

 6      Q.   Okay.

 7                  Did at some point in time Mr. Bennett change his

 8      alliance?

 9      A.   Yes, he did.

10      Q.   And who did he change his alliance to?

11      A.   With the Somerville people, "Buddy" McLean, Howie Winter.

12      Q.   Okay.

13                  So explain how your involvement in this gang war

14      affected your relationship with Paul Rico.

15      A.   Well, originally when we were involved with the McLaughlin

16      people, of course he was friendly with the Somerville people,

17      and "Wimpy" Bennett was a friend of Paul Rico.         So Paul Rico

18      was the one who convinced him to align himself with the

19      Somerville people.

20      Q.   Okay.

21                  Were you providing information to Paul Rico?

22      A.   A quid pro quo situation when the war started.

23      Q.   All right.

24                  You mentioned that yesterday.     What do you mean by

25      that, "quid pro quo"?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 30 of 190
                                                                           25-30




 1      A.   Well, he was giving me information, originally.

 2      Q.   What kind of information?

 3      A.   Well, Mafia information.       I had a problem with the Mafia

 4      in the late '50s.

 5      Q.   What kind of problem?

 6      A.   Well, it was over -- I was bookmaking at the time.           There

 7      was a number hit, and the bookmaker that was -- that was

 8      working for the people that Joe Connolly, the old-time

 9      bookmaker in Roxbury, he was working with him.         I had a group

10      of people that I was doing business with, some agents, and we

11      had a number hit, and the -- he refused to pay off the number,

12      he said --

13      Q.   Who refused?

14      A.   Joe Connolly, he was the person that the numbers were

15      being turned into in Roxbury.

16                So the agent got arrested, and he says that he wasn't

17      going to pay the hit.     I told him, I said, Well, I turned the

18      slip in with a number, and I expect to get paid for it.

19                So he went to people in the North End, and then it

20      started -- they contacted me, wanted to talk about it, so I met

21      them over at one of our clubs over in Roxbury.         Larry Baione

22      was one of the people that showed up with another fellow, big

23      guy named Santaniello, and I thought I was going to get paid

24      when they set the meeting up.       They owed me $3,000 for the

25      number hit.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 31 of 190
                                                                          25-31




 1                  He told he me, Well, the number wasn't in because the

 2      agent got arrested.     I said, Well, Joe Connolly got connections

 3      in the police department, get the slips, check the slips out,

 4      and pay us the hit.     He said, Well, you're not going to get

 5      paid.    So it developed into a confrontation, and I had a fight

 6      with the both of them.

 7      Q.      What kind of fight?

 8      A.      A fistfight.   And I had -- I whacked Larry Baione --

 9      Q.      Who was Larry Baione?

10      A.      He was one of the bosses in the Mafia.

11      Q.      Was that sort of a no-no?

12      A.      Well, at the time I really didn't care.

13      Q.      I understand that, but what happens when you assault a

14      member of the Mafia?

15      A.      Well, they're going to look to kill you eventually.

16                  So, anyway, he fell the against the corner of the

17      table and broke a couple of ribs.       The other guy grabbed me by

18      the neck, I'm stomping on his toes so I could break the hold,

19      and I finally broke the hold, one of the friends of mine

20      outside came in, Richie Haller, and they ran out the door and

21      took off.

22                  So several days later, Joe Russo and two other Mafia

23      guys pulled up in front of the club.        So Richie Haller saw me,

24      considered him a threat, so pulled out a pistol and he shot Joe

25      Russo in the leg and broke his leg.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 32 of 190
                                                                            25-32




 1      Q.   Okay.

 2                So as a result of that, you did not have a good

 3      relationship with the Mafia?

 4      A.   No, but it kind of -- I went to the hospital, seen Joe,

 5      and kind of told him it was an accident.         My friend didn't

 6      realize what was going on, kind of like, well, things like that

 7      happen.   So it was resolved.

 8      Q.   All right.

 9      A.   I got my -- I got my number paid.

10      Q.   You got paid?

11      A.   Yeah.

12      Q.   So how did this affect your relationship with Paul Rico?

13      A.   Well, he -- Paul Rico knew about it through his own

14      sources, because he had sources in the North End, and he just

15      kept me abreast of what was going on.        Actually, later on the

16      war started, and it just continued on.

17      Q.   And what kind of information did you provide to him?

18      A.   Well, he asked me different people -- he actually wanted

19      to confirm it, different information that he had, and I just

20      confirmed it.

21      Q.   Okay.

22                You told us that at some point in time Mr. Bennett

23      switched his allegiance from the Charlestown group to the

24      Somerville group.

25      A.   That's correct.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 33 of 190
                                                                          25-33




 1      Q.   How did that come about?

 2      A.   Well, that come about, "Wimpy" Bennett was friendly with a

 3      detective over -- a liaison, Boston detective with the D.A.'s

 4      office, a liaison with the D.A.'s office, he very friendly with

 5      Bill Stewart, Bill Stewart was very friendly with Paul Rico,

 6      and that's how that come about.       They set up a meeting.

 7      Q.   Who did you meet with?

 8      A.   I met with "Buddy" McLean, Howie Winter at a place, in a

 9      bar in Somerville.     Bill Stewart was present.

10      Q.   Was Mr. Bennett present?

11      A.   Yes, he was.

12      Q.   And what was the conversation at the time?

13      A.   He convinced us that we should be aligned with the

14      Somerville people.

15      Q.   And did you agree to work with the Somerville people?

16      A.   Yes.

17      Q.   And take on the Charlestown gang?

18      A.   Yes.

19      Q.   Now, during the course of this -- the period during the

20      '60s, did you do any favors for Paul Rico?

21      A.   Yes, I did.

22      Q.   What kind of favors?

23      A.   He asked me if I would speak to my brother.

24      Q.   Okay.

25                  And where was your brother at the time?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 34 of 190
                                                                          25-34




 1      A.   In Walpole.

 2      Q.   And what did he ask you to speak to your brother about?

 3      A.   He told -- Joe Barboza at the time was cooperating with

 4      the government against some of the members of the Mafia, and he

 5      told me to go up there and tell me to tell my brother to mind

 6      his business, not to get involved.

 7      Q.   You mean not to try to convince Joe Barboza not to

 8      cooperate?

 9      A.   That's correct.

10      Q.   And did you do that?

11      A.   Yes.

12      Q.   All right.

13                  What kind of favors did Paul Rico do for you?

14      A.   Well, I had a problem with the IRS, he resolved that.

15      Q.   In connection with your involvement in this gang war, what

16      kind of favors did Paul Rico do for you?

17      A.   Well, I had another problem with the Mafia around that

18      time frame.

19      Q.   Okay.

20      A.   I had a fight with a couple of Mafia members.

21      Q.   Did you at some time repair Paul Rico's car?

22      A.   I'm sorry?

23      Q.   At some time did you repair Paul Rico's car?

24      A.   Yes, it was a government vehicle, got in an automobile

25      accident.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 35 of 190
                                                                          25-35




 1      Q.   Did you ever give him a gun?

 2      A.   Yes.

 3      Q.   For what?

 4      A.   He wanted to kill Georgie McLaughlin.

 5      Q.   Why did he have to come to you to get a gun?

 6      A.   He figured he could have one, I had a weapon available.

 7      And I did.    I provided the throwaway gun to him.

 8      Q.   What does that mean, a "throwaway gun"?

 9      A.   It's a gun that can't be replaced -- can't be traced.

10      Q.   Did he assist you in providing information regarding

11      individuals who you were looking to kill?

12      A.   Yes.

13      Q.   And who was that?

14      A.   "Punchy" McLaughlin.

15      Q.   And tell us about that.

16      A.   Well, "Wimpy" said to me -- we were looking to get -- it

17      was actively, engaged actively with the war now, and we want

18      to -- we were looking for "Punchy" McLaughlin.         Rico was

19      providing information on his routine.        He gave it to "Wimpy,"

20      and we acted on that information and we caught up with "Punchy"

21      McLaughlin.

22      Q.   Now, why would Paul Rico give you information about

23      "Punchy" McLaughlin?

24      A.   Well, he was friendly with the Bennetts.         He didn't like

25      the McLaughlins at all.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 36 of 190
                                                                          25-36




 1      Q.      Why?

 2      A.      Because his partner, Dennis Condon, had a problem with

 3      them.    He was from Charlestown, had a problem with "Punchy"

 4      McLaughlin threatened to hill his brother.

 5      Q.      "Punchy" McLaughlin threatened to kill whose brother?

 6      A.      Dennis Condon's brother.

 7      Q.      At that time "Punchy" McLaughlin was one of the leaders of

 8      the Charlestown gang?

 9      A.      Yes.

10      Q.      Did you kill "Punchy"?

11      A.      Yes.

12      Q.      How did you go about that?

13      A.      Well, we had information, prior information that he was

14      going to his brother's trial, Georgie was on trial at the time;

15      and the information that we received that he would be leaving,

16      he would be taking the bus at Spring Street in Dedham at a

17      certain time in the morning.       So we were waiting there for him.

18      Q.      Who's we?

19      A.      Frank Salemme and myself.

20      Q.      And did Mr. McLaughlin show up at the bus stop?

21      A.      Right on time.

22      Q.      What did you do?

23      A.      I stepped out from the side of the building, and I shot

24      him.

25      Q.      How many times?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 37 of 190
                                                                          25-37




 1      A.   Six times.

 2      Q.   Did you murder him?

 3      A.   Yes.

 4      Q.   Also during the course of this gang war in the '60s, were

 5      you involved in other murders?

 6      A.   Yes.

 7      Q.   All right.

 8                  I just want to briefly -- 1964, a man named Frank

 9      Benjamin, what happened to him?       Just briefly.

10      A.   He got killed in my bar.

11      Q.   All right.

12                  Did you kill him?

13      A.   No.

14      Q.   Who killed him?

15      A.   "Wimpy" Bennett.

16      Q.   What did you do?

17      A.   Well, I helped dispose of the -- I took him and brought

18      him in the back room.     There was a lot of blood, and I couldn't

19      clean it up properly.     So I lit a fire in the back room and

20      burned the back room up a bit.

21      Q.   Who disposed of his body?

22      A.   Actually, it was "Punchy" McLaughlin.         At the time we were

23      with the McLaughlins.

24      Q.   When Mr. Benjamin was killed, you were still with the

25      McLaughlins?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 38 of 190
                                                                          25-38




 1      A.   Right.

 2      Q.   So "Punchy" McLaughlin and Mr. Bennett got rid of

 3      Mr. Benjamin's body?

 4      A.   Yes.

 5      Q.   A man maimed Leo Lowry.

 6      A.   Yes.

 7      Q.   Who killed him?

 8      A.   My brother.

 9      Q.   What was your involvement?

10      A.   Well, I helped get rid of the body.

11      Q.   Okay.

12                  A man named William Traney, did you kill him?

13      A.   No.

14      Q.   Who killed him?     Do you know?

15      A.   I think a guy named Johnny Murray.

16      Q.   What was your involvement?

17      A.   "Wimpy" came to me and asked me if I could get a couple of

18      people to get rid of the body.

19      Q.   All right.

20                  Did you do that?

21      A.   Yes.

22      Q.   And who did you get to get rid of the body?

23      A.   Some guy, Peter Wilson, and a friend of his.

24      Q.   "Sonny" Shields?

25      A.   "Sonny" Shields and one other guy.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 39 of 190
                                                                          25-39




 1      Q.   George Ash.

 2      A.   Yes, George Ash was killed, my brother killed him.

 3      Q.   And what was your involvement in that?

 4      A.   Well, I helped -- helped move the body.

 5      Q.   Okay.

 6                  THE COURT:   Mr. Wyshak, when Mr. Flemmi is referring

 7      to his brother, which brother?

 8      BY MR. WYSHAK:

 9      Q.   I'm sorry.     This is Jimmy Flemmi?

10      A.   Yes.

11      Q.   You were never involved with a murder with your brother

12      Michael, correct?

13      A.   No, never.

14      Q.   Your brother Michael, what did he do for a living?

15      A.   He was a police officer.

16      Q.   For which police department?

17      A.   Boston Police Department.

18      Q.   He ultimately was convicted for moving guns from --

19      A.   -- my mother's house into the car.

20      Q.   During the course of this gang war in the 1960's, were you

21      involved in the murder of Steven Hughes and Sam Lindenbaum?

22      A.   Not in the initial murder, no.

23      Q.   What was your role?

24      A.   Well, I went to the car they were using, I just took all

25      the shells out of the car.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 40 of 190
                                                                          25-40




 1      Q.   Steven Hughes and Sammy Lindenbaum were Charlestown

 2      individuals?

 3      A.   Yes.

 4      Q.   And who killed them?

 5      A.   Howie.

 6      Q.   Howie Winter?

 7      A.   Right.

 8      Q.   And you cleaned up?

 9      A.   Right.

10      Q.   What, the car?

11      A.   The car.    They had the car parked over in the parking

12      area, and I went over with Frankie and just cleaned the car up.

13      Q.   Frank Salemme?

14      A.   Yes.

15      Q.   So this was after you switched allegiance to Somerville.

16      A.   Right.

17      Q.   Correct?

18                  Howie Winter was involved with Somerville?

19      A.   Yes.

20      Q.   Directing your attention to 1967.        Did you kill "Wimpy"

21      Bennett?

22      A.   Yes.

23      Q.   Why did you kill "Wimpy" Bennett?

24      A.   Well, that was Frankie -- Frank insisted on that, because

25      that was part of his relationship with the Mafia.          They didn't
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 41 of 190
                                                                          25-41




 1      like "Wimpy," and they wanted to dispose of him.

 2      Q.   Okay.

 3                So when you say "Frankie," you mean Frank Salemme?

 4      A.   Frank Salemme.

 5      Q.   Was the Mafia involved in this gang war in the '60s?

 6      A.   No, but they were playing both sides.         They were paying

 7      both sides, hoping they'd decimate each other.

 8      Q.   They wanted the local groups to wipe each other out?

 9      A.   That's correct.

10      Q.   So how did you kill "Wimpy" Bennett?

11      A.   I shot him.

12      Q.   Where?

13      A.   When?

14      Q.   Where?

15      A.   In the head.

16      Q.   Okay.

17                Where -- what was the location?

18      A.   In the garage, we had a garage over in Roxbury.

19      Q.   Who was present when you shot him?

20      A.   Frankie Salemme, myself, and George Kaufman.

21      Q.   What happened to his remains?

22      A.   We disposed of it.

23      Q.   Where?

24      A.   In Hopkinton, in an area out in Hopkinton.

25      Q.   And how are you familiar with that area out in Hopkinton?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 42 of 190
                                                                          25-42




 1      A.   It was a gun club.

 2      Q.   Were you a member of the gun club?

 3      A.   No.

 4      Q.   Did you frequent that location?

 5      A.   The gun club, to go out there, and I was teaching the guys

 6      how to shoot.

 7      Q.   Who?

 8      A.   Like a couple of friends, like Timmy McDowell and a few

 9      other people were going out there.        They had nothing to do with

10      it, but they were out there, but that was an excuse to go out

11      there.

12      Q.   So you --

13      A.   And "Wimpy."

14      Q.   Okay.

15                  Who buried the body out in Hopkinton?

16      A.   Myself, Joe McDonald, and Jimmy Sims.

17      Q.   And who were Joe McDonald and Jimmy Sims at that time?

18      A.   They're part of the Somerville group.

19      Q.   Why did they go along with killing "Wimpy" Bennett?

20      A.   Well, they just helped us.       They didn't like "Wimpy"

21      anyway.

22      Q.   Walter Bennett, his brother --

23      A.   Yes.

24      Q.   -- were you involved in that murder?

25      A.   Not directly, but indirectly.        I helped dispose of him.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 43 of 190
                                                                          25-43




 1      Q.   Who killed Walter Bennett?

 2      A.   Frankie Salemme and Peter Poulos.

 3      Q.   And what happened with his body?

 4      A.   It was disposed -- it was taken out to Hopkinton and

 5      buried out there.

 6      Q.   Same place "Wimpy" Bennett was?

 7      A.   Yes, sir.

 8      Q.   His brother William --

 9      A.   Yes.

10      Q.   -- were you involved in his murder?

11      A.   Yes.

12      Q.   And who shot William Bennett?

13      A.   "Sonny" Shields.

14      Q.   What happened to his body?

15      A.   It was found -- when he got murdered, he fell out of the

16      trunk -- out of the back seat of the car, and he fell out to

17      the snow bank.

18      Q.   You weren't able to bury his body; fair to say?

19      A.   Yes.

20      Q.   Was another person killed at the same time William Bennett

21      was killed?

22      A.   Yeah, Grasso.

23      Q.   A guy named Richard Grasso?

24      A.   Yes.

25      Q.   It's fair to say that you put that plan together, to kill
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 44 of 190
                                                                           25-44




 1      William Bennett?

 2      A.   Yes.

 3      Q.   And why did you want William Bennett killed?

 4      A.   Because he was telling people that I was responsible and

 5      he was putting -- I was responsible and he was putting a crew

 6      together up in Roxbury and word got back to me.

 7      Q.   After you and Frank Salemme killed "Wimpy" Bennett and

 8      Walter Bennett, did you take over their loansharking business?

 9      A.   Yes.

10      Q.   All right.

11                  Now, was it -- did you know a man named Robert

12      Daddieco?

13      A.   Yes.

14      Q.   Who was Robert Daddieco?

15      A.   He was a friend of George Kaufman's.         He come on the

16      scene.

17                  THE COURT:    Can you say the last name again?

18                  MR. WYSHAK:    It's D-a-d-d-i-e-c-o.

19      BY MR. WYSHAK:

20      Q.   Was Mr. Daddieco involved in the murder of William Bennett

21      and Richard Grasso?

22      A.   Yes.

23      Q.   All right.

24                  Directing your attention to the next year, 1968, were

25      you involved in a conspiracy to murder a lawyer named Edward
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 45 of 190
                                                                          25-45




 1      Fitzgerald?

 2      A.   Yes.

 3      Q.   And who was Edward Fitzgerald?

 4      A.   Joe Barboza's attorney.

 5      Q.   And why did you get involved in a conspiracy to murder Joe

 6      Barboza's lawyer?

 7      A.   Frankie is close now to Larry Baione, and it was done at

 8      the insistence of Larry Baione, and I just went along with

 9      Frankie to help him along.

10      Q.   Did you want to murder Mr. Fitzgerald?

11      A.   Not at all.

12      Q.   Did you pass any information along to anybody regarding

13      the plot to kill him?

14      A.   Yes, I did.

15      Q.   Who?

16      A.   I told Paul Rico to warn him.

17      Q.   Mm-hmm.

18      A.   And he did.

19      Q.   How was Mr. Fitzgerald -- well, he wasn't murdered; is

20      that fair to say?

21      A.   No, he wasn't.

22      Q.   What happened?

23      A.   He stepped into his car, but he had the door open, and

24      when -- he turned the ignition on, the bomb went off and blew

25      him out the door.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 46 of 190
                                                                          25-46




 1      Q.   So you put a bomb in his car?

 2      A.   I didn't, they did.

 3      Q.   Who?

 4      A.   Frankie Salemme and Larry Zannino, Baione.

 5      Q.   Were you present when they were practicing?

 6      A.   Yes.

 7      Q.   And where was that?

 8      A.   It was in a garage over in Mass. Avenue, George Kaufman's

 9      garage.

10      Q.   So how did they -- how did they make plans to place a bomb

11      in Mr. Fitzgerald's car?

12      A.   The Mafia insisted on it.

13      Q.   But, practically, how did they practice?

14      A.   Well, they practiced -- Frankie was wiring up the car, he

15      was an electrician, he was wiring up the car, and then

16      practiced on the car so when he turned the switch on the

17      ignition, the cap went off; it was only attached to the cap, so

18      the cap exploded, so we knew a contact was a good -- contact

19      was good.

20      Q.   Now, the car he was practicing on, was that actually

21      Mr. Fitzgerald's car?

22      A.   No, but a car similar to that.

23      Q.   So you got a car similar to the one he drove?

24      A.   Yes.

25      Q.   And practiced on how to put a bomb in it?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 47 of 190
                                                                          25-47




 1      A.   Right.

 2      Q.   You weren't present when the bomb was placed, actually

 3      placed on Mr. Fitzgerald's car?

 4      A.   Yes, I was.

 5      Q.   Where were you?

 6      A.   Down the street.

 7      Q.   Okay.

 8                  What happened to Mr. Fitzgerald?      Did the bomb go off?

 9      A.   The bomb went off.

10      Q.   What happened to him?

11      A.   He his leg was blown off.       He ended up in the hospital,

12      obviously.

13      Q.   Also during this period of time in the '60s, were you

14      involved in the murder of a man named Thomas Timmons?

15      A.   Yes.

16      Q.   And who was Tommy Timmons?

17      A.   Tommy Timmons was "Wimpy" Bennett's girlfriend's husband.

18      Q.   And what occurred that led to his death?

19      A.   Well, it's kind of a long story, but I'll try to cut it

20      short.

21      Q.   Briefly.

22      A.   Well, Tommy Timmons was -- he was a bank robber,

23      safecracker, and house invader, and he went to -- one of Larry

24      Baione's friends was a bookmaker --

25      Q.   Who was that?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 48 of 190
                                                                          25-48




 1      A.   Abie Sarkis.

 2      Q.   He was a big bookmaker, right?

 3      A.   Big bookmaker, he worked with Larry Baione.

 4      Q.   If you could just back away a little bit from the mic.

 5                  I'm sorry, go ahead.

 6      A.   He was -- Abie Sarkis was a bookmaker that was with Larry

 7      Baione's crew.

 8      Q.   What happened between Mr. Timmons and Mr. Sarkis?

 9      A.   Well, he -- it was a home invasion, and him and someone

10      else, I don't know who the other person was, they went to Abie

11      Sarkis' home and they threatened to torture his wife until he

12      gave up whatever money he had, and he gave the money up.          And

13      subsequently Larry Baione found out about who was responsible.

14      Q.   Okay.

15                  And what happened to Mr. Timmons?

16      A.   He was murdered.

17      Q.   Where?

18      A.   At Frank Salemme's home.

19      Q.   Were you there?

20      A.   Yes.

21      Q.   What was his condition when you arrived?

22      A.   He was pretty well beat up.

23      Q.   Who had beaten him up?

24      A.   "Steve the Greek" and "Red" Conlon.

25      Q.   Did you kill Mr. Timmons?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 49 of 190
                                                                          25-49




 1      A.   No.

 2      Q.   Who killed him?

 3      A.   "Red" Assad.

 4      Q.   And who is "Red" Assad?

 5      A.   He was one of Larry Baione's associates.

 6      Q.   Another gangster?

 7      A.   Yes.

 8      Q.   What was your role in that murder?

 9      A.   Well, I was out there.      He called me in the morning,

10      Frankie called me in the morning and told me what happened, so

11      I went along with him.      I went to his home, and we had brought

12      Tommy Timmons to his home out in Sharon, and Frankie called

13      Larry Baione and "Red" Assad and then they met him at the house

14      while he was home, in Frankie's home.        Frankie and Larry Baione

15      went and dug a hole, a grave over in -- a couple of miles away

16      from his home in Sharon, and while they were gone, "Red" Assad

17      strangled Tommy Timmons, but he was pretty well gone, half-dead

18      anyway, he strangled him.

19      Q.   And what did you do?

20      A.   We just tied him up and put him in the trunk of the car

21      when they come back and took him out to the location where they

22      were going to bury him.

23      Q.   And you delivered the body to who?

24      A.   I delivered the body out to Larry Baione and Frankie.

25      Q.   And they buried the body?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 50 of 190
                                                                          25-50




 1      A.   They buried the body.

 2      Q.   Did you make efforts after you began to cooperate with the

 3      authorities to locate that grave?

 4      A.   Yes.

 5      Q.   Were you able to recall where it was?

 6      A.   Well, it was 30 years later.       The landscape completely

 7      changed over, but I had generally the area, but couldn't find

 8      the location.

 9      Q.   Now, while you were involved in the murder of a number of

10      individuals during the '60s, were other participants in this

11      gang war also murdered?

12      A.   Yes.

13      Q.   During this period of time in the '60s when these -- this

14      gang war was going on, approximately how many gangland slayings

15      occurred?   Do you recall?

16      A.   Probably about 60.      But they were all -- people had

17      different reasons for doing different things and they used the

18      gang war as an excuse.      But some of the original people that

19      were actually involved in the war were, like, about six or

20      seven.

21      Q.   Got out of control?

22      A.   Got completely out of control.

23      Q.   Was "Buddy" McLean murdered during that period of time?

24      A.   Yes, he was.

25      Q.   Do you know who murdered "Buddy" McLean?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 51 of 190
                                                                          25-51




 1      A.   Yes.

 2      Q.   Who?

 3      A.   Jimmy O'Toole, Stevie Hughes, and "Punchy" McLaughlin, I

 4      believe, was there.

 5      Q.   Okay.

 6                  Stevie and Connor Hughes, they were with the

 7      Charlestown group; is that fair to say?

 8      A.   That's right.

 9      Q.   After "Buddy" McLean was murdered, who emerged as the

10      leader of that Somerville group?

11      A.   Howie Winter.

12      Q.   Now, did you eventually get indicted for participating in

13      the murders of William Bennett and the attempted bombing of --

14      or the attempted murder of the attorney, Fitzgerald?

15      A.   Yes, sir.

16      Q.   Were you arrested at that time?

17      A.   No.

18      Q.   How did you avoid arrest?

19      A.   Paul Rico called me about 7:30 in the morning.          He said, I

20      suggest you and your friend leave town.

21      Q.   And who did he mean by "you and your friend"?

22      A.   Frank Salemme.

23      Q.   Did you leave town?

24      A.   Yes.

25      Q.   Who did you leave town with?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 52 of 190
                                                                          25-52




 1      A.     Peter Poulos was also involved.

 2      Q.     Again, if you could just move a few inches away from that

 3      mic.

 4      A.     Peter Poulos was also involved.

 5      Q.     And where did you go?

 6      A.     We ended up in California.

 7      Q.     Now, this case against you for the murder of William

 8      Bennett and the bombing of the attorney, Fitzgerald, did you

 9      learn who the primary witness against you was?

10      A.     The primary witness I think was Robert Daddieco.

11      Q.     That's the individual who was there at the time --

12      A.     Yes.

13      Q.     -- that Mr. Bennett got killed?

14      A.     Right.

15      Q.     After you left Boston, after Mr. Rico tipped you off,

16      where did you go?

17      A.     Well, first -- we went -- original destination was

18      California, but we left -- we went -- we drove, I believe, to

19      Pretoria, Illinois; and from there we flew, that was Frankie

20      Salemme, myself, Peter Poulos and -- those are the individuals,

21      and we flew -- and Phil Waggenheim, and we flew to the West

22      Coast.

23      Q.     At some point while you were on the West Coast, did you

24      murder Peter Poulos?

25      A.     Yes.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 53 of 190
                                                                          25-53




 1      Q.      Why?

 2      A.      Frankie insisted on it.    He told me -- he said that Larry

 3      wants to make sure that he gets killed because he was a witness

 4      to the bombing.

 5      Q.      Okay.

 6                     At some point did you and Mr. Salemme go to New York

 7      City?

 8      A.      Yes.

 9      Q.      And did you split up with Mr. Salemme?

10      A.      Had a falling out with him, yes.

11      Q.      Approximately when was that?    Do you recall?

12      A.      Probably around 1970, I believe.

13      Q.      And where did you go?

14      A.      I went to -- I went to Florida.

15      Q.      Okay.

16                     How long did you stay in Florida?

17      A.      Probably a month or so, maybe not that long, around --

18      Q.      Did you eventually wind up in Montreal, Canada?

19      A.      Yes.

20      Q.      How long did you stay in Canada?

21      A.      I got -- I got to Canada around '71, around '71, around

22      that time frame.

23      Q.      Now, while you were living in Montreal, you're a fugitive,

24      correct?

25      A.      Yes.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 54 of 190
                                                                          25-54




 1      Q.   On the lam, so to speak?

 2      A.   Yes.

 3      Q.   How did you support yourself?

 4      A.   I went to work.

 5      Q.   As what?

 6      A.   I worked in a four-color Harris press, printing press for

 7      the Gazette Newspaper in Montreal.

 8      Q.   Did you use a false name?

 9      A.   Yes.

10      Q.   Did you stay in touch with some of your criminal

11      associates back in Boston?

12      A.   Yes.

13      Q.   And who were they?

14      A.   Howie, Johnny Martorano, George Kaufman.

15      Q.   How did you stay in touch with them?

16      A.   Telephone.

17      Q.   Did they fill you in on what was going on in Boston while

18      you were a fugitive?

19      A.   Yes.

20      Q.   Did you get any money from them?

21      A.   At one time they come and visited me, Johnny gave me some

22      money.

23      Q.   Who visited you?

24      A.   Howie Winter, Johnny Martorano, and Brian Halloran.

25      Q.   Who was Brian Halloran?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 55 of 190
                                                                          25-55




 1      A.   He was an associate of the Winter Hill people, Howie

 2      Winter, and "Buddy" McLean.

 3      Q.   And where did they visit you?

 4      A.   In Montreal.

 5      Q.   They brought some money with them?

 6      A.   Yes.

 7      Q.   What happened to the criminal business, the gambling

 8      loansharking business that you and Frank Salemme had before you

 9      became fugitives?

10      A.   Well, his brother took control of the -- all the shylock

11      aspects of it --

12      Q.   Who's his brother?

13      A.   Jackie Salemme.

14      Q.   Okay.

15                  Did there come a time when you learned Frank Salemme

16      was arrested?

17      A.   Yes.

18      Q.   And what happened to him?

19      A.   He was walking out of a restaurant in New York City, and

20      he got arrested by the FBI.

21      Q.   Did he ultimately go to trial on the charges that you and

22      he were indicted for?

23      A.   Yes.

24      Q.   What happened?

25      A.   He got found guilty and he went to prison.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 56 of 190
                                                                          25-56




 1      Q.   For how long?     Do you recall?

 2      A.   I think it was maybe 10 or 15 years, 15 years, I believe.

 3      Q.   Now, while you were in Canada, did you discuss this

 4      individual, Robert Daddieco, with Mr. Martorano and Mr. Winter?

 5      A.   Yes.

 6      Q.   At some point in time did they provide you with

 7      information about Mr. Daddieco that caused you to return to

 8      Boston?

 9      A.   That was part of it, yes.

10      Q.   What did they tell you?

11      A.   They told us that they were in touch with him, that he

12      wasn't going to -- he wasn't going to testify.

13      Q.   Okay.

14                  At or about that time, did you also talk to Paul Rico?

15      A.   I spoke to him, yes, on a yearly basis.

16      Q.   And how would you get in touch with Paul Rico?

17      A.   I'd call him at the FBI office.

18      Q.   Where?

19      A.   He was in Miami.

20      Q.   Okay.

21                  And did you have a conversation with him about

22      returning to Boston?

23      A.   Yes.

24      Q.   What did he say to you?

25      A.   He said for me to come back.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 57 of 190
                                                                          25-57




 1      Q.   Did he explain why?

 2      A.   He said that the coast was clear, words to that effect.

 3      Q.   Mm-hmm?

 4                  And when did you return to Boston?

 5      A.   About May, May of '74, May, June '74.

 6      Q.   What happened to the cases that you were indicted on, the

 7      murder of William Bennett and the bombing of the attorney,

 8      Fitzgerald?

 9      A.   They were both dismissed.

10      Q.   Why?

11      A.   Daddieco, he didn't show up.

12      Q.   And when you came back to Boston in May of 1974 and those

13      cases were dismissed against you, did you begin to participate

14      in criminal activities again?

15      A.   Yes.

16      Q.   With who?

17      A.   The Winter Hill people, Howie Winter.

18      Q.   Okay.

19                  And at that time who were the leaders of that group?

20      A.   Howie Winter was the leader of the group.

21                  MR. WYSHAK:    Your Honor, may I approach?

22                  THE COURT:    You may.

23                  (Pause.)

24      BY MR. WYSHAK:

25      Q.   Showing you what's been marked Exhibit 96 in evidence, can
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 58 of 190
                                                                          25-58




 1      you see that, Mr. Flemmi?

 2      A.   Yes, sir.

 3      Q.   All right.

 4                  Who are the individuals depicted in that exhibit?

 5                  THE COURT:    Actually, Mr. Wyshak, can you also put

 6      that up on the screen?

 7                  MR. WYSHAK:    Yes.

 8                  THE COURT:    Thank you.

 9                  (Pause.)

10                  THE COURT:    Thank you.

11      BY MR. WYSHAK:

12      Q.   Who are those people?

13      A.   Winter Hill organization, leadership.

14      Q.   Okay.

15                  Can you identify them for us?

16      A.   Yes.

17      Q.   Who are they?

18      A.   Jim Bulger; myself, Stephen Flemmi; John Martorano; Howie

19      Winter; Joe McDonald; and Jimmy Sims.

20      Q.   Is that a fair and accurate portrayal of the leaders --

21      A.   Yes, sir.

22      Q.   -- shortly after you returned?

23      A.   Yes, sir.

24      Q.   So you immediately became one of the leaders of this

25      group?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 59 of 190
                                                                          25-59




 1      A.   Yes, sir.

 2                  MR. WYSHAK:    May I approach again, your Honor?

 3                  THE COURT:    You may.

 4                  MR. WYSHAK:    Then if we could put Exhibit 94 up on the

 5      screen.

 6      BY MR. WYSHAK:

 7      Q.   Showing you that exhibit, Mr. Flemmi, do you recognize the

 8      individuals who are depicted there?

 9      A.   Yes, sir.

10      Q.   Is this a fair and accurate portrayal of the group that

11      you became part of after you returned from being a fugitive in

12      Canada?

13      A.   Yes, sir.

14      Q.   All right.

15                  And the individuals on the far left there under

16      Mr. Bulger, do you know who those individuals were?

17      A.   Yes.    Yes, sir.

18      Q.   Who were they?

19      A.   Jack Curran, Pat Nee, Kevin O'Neil, Jimmy Mantville, Tommy

20      King, Bobby Ford -- these are real old pictures, it's hard to

21      recognize them -- and Bobby O'Connor, which I never met

22      O'Connor.    Bobby Ford, I met.

23      Q.   As opposed to what their names are, what was their

24      relationship with the Winter Hill Gang?

25      A.   They're all part of Jim Bulger's crew.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 60 of 190
                                                                            25-60




 1      Q.      What does that mean, "Jim Bulger's crew"?

 2      A.      These are people from South Boston.

 3      Q.      Again, if you could keep your mouth a little bit away from

 4      the mic.

 5      A.      Sorry about that.

 6                     They were South Boston people.

 7      Q.      That's sort of the South Boston part of Winter Hill at the

 8      time?

 9      A.      Yes.

10                     MR. WYSHAK:   If you could show us the next column

11      there.

12      Q.      Who are those people?

13      A.      Myself, Phil Costa, Bob McCarthy, Steven Puleo, and John

14      Bahorian.

15      Q.      Who were they?

16      A.      John Bahorian was a bookmaker that worked for us over in

17      Roxbury.

18      Q.      These people were associated with you?

19      A.      Yes.

20      Q.      Had they been associated with you before you went on the

21      lam?

22      A.      Yes.

23      Q.      These were Roxbury people?

24      A.      Yes.

25      Q.      Phil Costa, you told us -- who was he?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 61 of 190
                                                                          25-61




 1      A.   He was my driver, he was with me.

 2      Q.   And Bobby McCarthy?

 3      A.   Bob was partners with Bobby in the loansharking business.

 4      Q.   Steve Puleo, what did he do?

 5      A.   He was handling our bookmaking operation in Roxbury.

 6      Q.   John Bahorian, what did he do?

 7      A.   He was one of our agents.

 8      Q.   Okay.

 9                MR. WYSHAK:    If we could go to the next column.

10      Q.   Are you familiar with these people?

11                Charlie Raso, who was Charlie Raso.

12      A.   Johnny Martorano, Charlie Raso, he was --

13      Q.   Who was he?

14      A.   He was part of Winter Hill organization.         He was a

15      bookmaker, sports, in sports.

16      Q.   Tommy Ryan?

17      A.   Tommy Ryan was one of our agents.

18      Q.   Dickie O'Brien?

19      A.   Dick O'Brien was one of our agents.

20      Q.   Joe Yerardi?

21      A.   Joey Yerardi was a shylock, one of the shylock agents

22      actually with Johnny Martorano.

23      Q.   Jimmy Martorano, who was he?

24      A.   Johnny's brother.

25      Q.   John Callahan?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 62 of 190
                                                                          25-62




 1      A.   John Callahan, yes, he was -- he was part of the

 2      organization.

 3                MR. WYSHAK:    Go to the next row.

 4      Q.   Tony Ciulla, who was he?

 5      A.   Tony Ciulla, he was involved with the race case fix, and

 6      he was involved with the Somerville people fixing horse races.

 7      Q.   Brian Halloran, you told us, visited you in Montreal?

 8      A.   Right, he was part of Howie Winter crew.

 9      Q.   John Hurley, who was he?

10      A.   John Hurley was with Charlestown people, but he was with

11      the Somerville crew.

12                MR. WYSHAK:    If you could go to the next row.

13      Q.   Howie Winter, you told us about.

14                Sal Sperlinga, who was he?

15      A.   Sal Sperlinga was one of Howie's agents, bookmaking

16      agents.

17      Q.   Tony Rais?

18      A.   He was handling Howie's number business.

19      Q.   Was he also known as "Nettie"?

20      A.   "Nettie."

21      Q.   Bobby Gallinaro, who was he?

22      A.   He was a bookmaker that worked for Johnny and the

23      Somerville people.

24                MR. WYSHAK:    Go to the next row.

25      Q.   Joe McDonald you told us was one of the leaders?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 63 of 190
                                                                          25-63




 1      A.   Yes, Joe McDonald was.

 2      Q.   Who was Leo?

 3      A.   Leo McDonald is his brother.

 4      Q.   Billy Barnoski?

 5      A.   He was with Johnny Martorano and Tony Ciulla when they

 6      were on the horse race fix case.

 7                MR. WYSHAK:    The next row, please.

 8      Q.   Jimmy Sims is, you told us was one of the leaders?

 9      A.   He's one of the leaders, yes.

10      Q.   Jimmy Flynn?

11      A.   Jimmy Flynn was part of the organization.

12      Q.   And those two people on the end?

13      A.   Frank Salemme, and that's "Sonny" Mercurio.

14      Q.   You told us about Frank Salemme already.

15                Who was "Sonny" Mercurio?

16      A.   "Sonny" Mercurio was from Everett.        He was with the --

17      around the North End people.

18      Q.   What was his relationship with Winter Hill?

19      A.   He was friendly with them.       He was partial to Winter Hill

20      because when he was in prison, Johnny Martorano, Howie helped

21      him out, his family financially, so he liked Howie and Johnny.

22      Q.   Did he act as a messenger, so to speak, back and forth

23      between Winter Hill and the Mafia?

24      A.   Eventually he became a liaison.

25      Q.   Okay.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 64 of 190
                                                                          25-64




 1                  MR. WYSHAK:    I'd just take these charts down, your

 2      Honor, so they're out way.

 3                  THE COURT:    You may.

 4      BY MR. WYSHAK:

 5      Q.   Now, at the time that you returned from Canada and joined

 6      this organization, what kind of criminal activities was this

 7      group involved in?

 8      A.   Gambling, loansharking, extortion.

 9      Q.   Anything else?

10      A.   Probably money laundering.

11      Q.   Murder?

12      A.   Excuse me, yes, definitely murders.

13      Q.   And speaking of murders, you told us about a man named

14      James O'Toole?

15      A.   Jimmy O'Toole, yes.

16      Q.   You told us he was one of the people who was involved in

17      the murder of "Buddy" McLean?

18      A.   Yes.

19      Q.   Did there come a time while you were in Montreal when he

20      was murdered?

21      A.   Yes.

22      Q.   How did you learn that he was murdered?

23      A.   I was aware of it, Johnny Martorano told me.

24      Q.   Okay.

25                  And why did you discuss the murder of Jimmy O'Toole
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 65 of 190
                                                                          25-65




 1      with Johnny Martorano?

 2      A.   Because O'Toole was one of the remnants of the old

 3      McLaughlin gang.     He was one of the people that shot my

 4      brother, and he was -- he actually evaded everyone, then he

 5      started coming around, he come around and he went to Winter

 6      Hill with an olive branch, so to speak, and he wanted to talk

 7      to Howie, and he wanted a pass.       He wanted to, you know, tell

 8      Howie, you know, he's not involved in anything anymore, he

 9      wanted a pass, you know, and he didn't want any problems, and

10      he asked Howie if he could just forget about it.

11      Q.   Did Johnny ask you for advice about what to do with Jimmy

12      O'Toole?

13      A.   Yes.

14      Q.   What did he ask you?

15      A.   He told me what I just repeated, he was coming by the

16      garage, and he wanted to -- he wanted to be forgiven, you know.

17      Q.   And what did you say?

18      A.   I told him to kill him.

19      Q.   Prior to that, had you provided Mr. Martorano with any

20      weapons?

21      A.   Yes.

22      Q.   And what kind of weapons were those?

23      A.   I gave him my submachine gun.

24      Q.   And how did you accomplish that if you were in Canada?

25      A.   Well, I had a friend of mine was holding it for me.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 66 of 190
                                                                           25-66




 1      Q.   And who was that friend?

 2      A.   Bobby Labella.

 3      Q.   And how did you make arrangements to get the machine gun

 4      to Johnny Martorano?

 5      A.   I told him, I said, Go down to talk to Bobby, tell Bobby I

 6      said to give you the machine gun.       Now, Bobby was aware that --

 7      he had to be aware, because nobody knew that he was holding my

 8      machine gun.    So when Johnny went down and asked him, he just

 9      gave him the gun.

10      Q.   And did you learn after you had this conversation with

11      John Martorano about James O'Toole, that he was murdered?

12      A.   Yes.

13      Q.   How about a man named James Sousa?        Shortly after you

14      returned from being on the lam in Canada, in or about October

15      1974, did you become involved in the murder of a man named

16      James Sousa?

17      A.   I was present on the scene.

18      Q.   Okay.

19                  What had you learned about him?      Why did -- why was he

20      murdered?

21      A.   Well, he was involved in a gold scam with Winter Hill

22      people.

23      Q.   And that was while you were still in Canada?

24      A.   I was still in Canada.

25      Q.   And what happened to that scam?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 67 of 190
                                                                           25-67




 1      A.   Well, they were concerned about him.

 2      Q.   Why?

 3      A.   Because he was arrested.

 4      Q.   When you say, "they were concerned" --

 5      A.   The Winter Hill people, Howie, Johnny.

 6      Q.   Okay.

 7                  And was there a meeting or a discussion about what to

 8      do with Mr. Sousa?

 9      A.   Well, they all agreed that they wanted to kill him.

10      Q.   Okay.

11                  And how were decisions made?

12      A.   Barnoski was involved.

13      Q.   When you returned in May of 1974 and rejoined this group,

14      how are decisions made about what to do?

15      A.   Well, we all decided, because we were all a group.           We all

16      decided that if anything had to be accomplished, that we all

17      had to agree to it.

18      Q.   And who's "we all"?

19      A.   All the people involved in the hierarchy, the leaders of

20      the Winter Hill people, six of us.

21      Q.   Okay.

22                  And who were they?

23      A.   James Bulger, myself, Johnny Martorano, Howie Winters, Joe

24      McDonald, Jimmy Sims.

25      Q.   Okay.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 68 of 190
                                                                           25-68




 1                     Did you have a meeting about what to do with

 2      Mr. Sousa?

 3      A.      Yes.

 4      Q.      And what was discussed?    Do you recall?

 5      A.      Well, they discussed that they wanted to kill him.

 6      Q.      Were you present when he was killed?

 7      A.      Yes.

 8      Q.      What happened that day?

 9      A.      I was out in the garage when he come in, and he walked

10      into --

11      Q.      You say "the garage," what garage?

12      A.      The garage on 14 Marshall Street.     We had a garage, George

13      Kaufman, myself, with Howie's garage.        When I come home, Howie

14      allowed us to take the garage over, and we used that as an

15      operation.       It was an automobile operation, car repair shop.

16      Q.      And that was located in Somerville?

17      A.      In Somerville.

18      Q.      At 14 Marshall Street?

19      A.      Yes.

20      Q.      Was that sort of the headquarters for your group at the

21      time?

22      A.      Yes.

23      Q.      So Mr. Sousa came to the garage.     Then what happened?

24      A.      We went into the office.    Johnny was in the office with

25      Billy Barnoski, I was outside, and they shot him, Johnny shot
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 69 of 190
                                                                          25-69




 1      him.

 2      Q.     And when Johnny shot him, what did you do?

 3      A.     I come into the garage, into the office, and he was

 4      bleeding and the blood was going all over the floor, so I put a

 5      can under to stop the blood from going all over the place

 6      because we had to clean it up.

 7      Q.     Where was he shot?

 8      A.     I think the left -- probably the left side of his head.

 9      On the side of his head.

10      Q.     He was bleeding from the head?

11      A.     Yes.

12      Q.     Who was present when this occurred?

13      A.     Johnny and Billy Barnoski.

14      Q.     Was Howie Winter there?

15      A.     He was in the area.

16      Q.     What did you do after Mr. Sousa was killed?

17      A.     Took him out and put him in a car and took him out and

18      brought him to a location out in Boxford.

19      Q.     How did Mr. Sousa get to Boxford?

20      A.     Well, Howie, myself -- originally, Joe and Jimmy -- Howie

21      dropped them off out there, they dug a hole, they come back and

22      he picked up me and the body and we drove it out to Boxford.

23      Q.     Were you familiar with that area?

24      A.     Not really, no.   I knew the area, but I wasn't familiar --

25      it was a wooded area.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 70 of 190
                                                                          25-70




 1      Q.     So Joe McDonald and Jimmy Sims went there and dug a hole?

 2      A.     Yes.

 3      Q.     And then you and Mr. Winter brought the body there?

 4      A.     We brought the body there.

 5      Q.     When you got to that area in Boxford, what did you do?

 6      A.     We dropped the body off, and then we drove -- Howie drove

 7      me back to Medford, and then he went back to Medford and picked

 8      up Joe and Jimmy.

 9      Q.     Again, after you began to cooperate in 2003, did you

10      attempt to bring investigators to the location of that body?

11      A.     Yes, yes, I did.

12      Q.     Were you able to identify the area?

13      A.     I knew the general area, but that was about all.

14      Q.     Did you have a conversation with Mr. Bulger about the

15      murder of James Sousa?

16      A.     Yes.

17      Q.     And tell us what you said to him and what he said to you.

18      A.     I just told him what transpired.      He wasn't there that

19      day.

20      Q.     All right.

21                    Now, was that -- when you returned from Montreal in

22      May of 1974, is that the first time you met Mr. Bulger ?

23      A.     I met him on one other occasion in 1969, I believe it was,

24      briefly.

25      Q.     And when you returned in May 1974, did you begin a
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 71 of 190
                                                                          25-71




 1      friendship with him?

 2      A.   Yes.

 3      Q.   Did you have certain things in common?

 4      A.   Yes.

 5      Q.   Like what?

 6      A.   He didn't drink, he didn't smoke, he was -- he was

 7      working -- he worked out regularly.

 8      Q.   Okay.

 9                  Was that something that --

10      A.   We both had that in common.

11      Q.   Is that something that Jimmy -- John Martorano didn't do?

12      A.   No.

13      Q.   He was a party guy?

14      A.   He was a party guy.

15      Q.   Didn't work out a lot?

16      A.   No.

17      Q.   How about Howie Winter?

18      A.   No.

19      Q.   Did there come a time shortly after you returned that

20      Mr. Bulger approached you and other members of the group about

21      a man named John Connolly?

22      A.   Yes.

23      Q.   And what did he say to you and other members?

24      A.   Well, originally he said -- he told us as a group that --

25      he said that John Connolly, an FBI agent that he knew from
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 72 of 190
                                                                             25-72




 1      South Boston, approached him and wanted to meet him.          And he

 2      asked us how we felt about it and if we sanctioned it, to go

 3      and meet with him.     He spoke to all of us, we're always looking

 4      for sources, you know, FBI source would be a big thing.           So we

 5      agreed, go and meet him, which he did.

 6      Q.   When you say "we're always looking for sources," what does

 7      that mean?

 8      A.   Well, I mean, the law enforcement sources.

 9      Q.   Why is it good to have law enforcement sources?

10      A.   For our business, it's always good to have connections and

11      know what's going on, otherwise you couldn't survive.

12      Q.   Why not?

13      A.   You couldn't possibly survive.        As open as we were and as

14      far as the notoriety that we had in the city, we couldn't --

15      without law enforcement sources to know what's going on, it

16      would be very difficult to survive.

17      Q.   Did the Mafia have law enforcement sources?

18      A.   Yes, they did.     They had local police.

19      Q.   What happens if you don't have information coming from law

20      enforcement?

21      A.   Then you won't know if there's investigations going on,

22      you don't know what people are saying about you.          You just

23      don't have that information.

24      Q.   You could get arrested?

25      A.   Sorry?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 73 of 190
                                                                          25-73




 1      Q.   You could get arrested?

 2      A.   Definitely.

 3      Q.   Go to jail?

 4      A.   Yes.

 5      Q.   So when Mr. Bulger approached you and the other members of

 6      the group about Mr. Connolly, what was the reaction?

 7      A.   Johnny says, Fine.      We all agreed to it.

 8      Q.   Did he explain to you that -- that he had a relationship,

 9      Mr. Connolly had, with Mr. Bulger's family?

10      A.   He was very friendly with his brother Bill, the Senate

11      President.

12      Q.   And did that come into your decision making about why this

13      might be a good idea?

14      A.   Probably part of it, yes.

15      Q.   Do you know if Mr. Bulger did meet with Mr. Connolly?

16      A.   Yes.

17      Q.   How did you know that?

18      A.   He told us.

19      Q.   And what did he say about that?

20      A.   He said that John Connolly approached him and said to him

21      during the meeting that the Mafia had their sources and, you

22      know, you can -- we can help you.       He says, If they want to

23      play checkers, we can play chess.

24      Q.   Okay.

25                  And the relationship, as you understood it at that
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 74 of 190
                                                                          25-74




 1      time, was that a relationship where you were going to receive

 2      information or you were going to give information?

 3      A.   Probably more than likely we would receive information.

 4      Q.   Mr. Bulger didn't -- did he tell you he was going to

 5      provide information about your activities to Mr. Connolly?

 6      A.   Eventually that happened.

 7      Q.   Eventually that did happen, but at the time when he

 8      approached you and other members of the group about John

 9      Connolly, what did you -- what was your expectation of what

10      that relationship would be?

11      A.   We'd have to provide information to them; obviously, we'd

12      have to.

13      Q.   So --

14      A.   I'm not -- him.

15      Q.   Excuse me?

16      A.   He would have to provide information.

17      Q.   Mr. Connolly?

18      A.   Meaning Bulger would provide information to him, that's

19      why he wanted to have the meet.

20      Q.   Are you saying that when Mr. Bulger first approached you

21      and members of Winter Hill and said he wanted to meet with

22      Mr. Connolly, you and Mr. Winter and Mr. Martorano understood

23      that Mr. Bulger was going to give information --

24      A.   Not at that time, no.

25      Q.   Okay.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 75 of 190
                                                                          25-75




 1                  So tell us, at the beginning --

 2      A.   He just wanted to make us aware that Connolly was

 3      initiating the meeting, and that's all that transpired at that

 4      particular time.

 5      Q.   Okay.

 6                  And that meeting occurred, correct?

 7      A.   Yes.

 8      Q.   And after that, you understood what about the relationship

 9      between Mr. Bulger and Mr. Connolly shortly after that first

10      meeting?

11      A.   They were friendly.

12      Q.   Did you start getting information from Mr. Connolly that

13      helped your criminal activities?

14      A.   Well, I did.

15      Q.   Okay.

16                  Well, tell us what that was about.

17      A.   Well, it was during the time that I had a loan shark case

18      going, and he provided information about the loan shark case,

19      and over in Quincy, a Quincy cleaning plant, not to go there

20      because the place was wired for video and sound.

21      Q.   Okay.

22                  So you were engaged in loansharking?

23      A.   Yes.

24      Q.   And you were the subject of an investigation?          Did you

25      know it at the time?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 76 of 190
                                                                          25-76




 1      A.   No, I didn't know it at the time, no.

 2      Q.   And how did you find out about it?

 3      A.   Bulger told me.

 4      Q.   What did he tell you?

 5      A.   He said, Do you have a loan shark customer in Quincy?         I

 6      said, Yes.    He said, Don't go there, the place is being wired,

 7      the place is wired for video and sound.

 8      Q.   Did he tell you where he got this information?

 9      A.   John Connolly.

10      Q.   All right.

11                  Now, going back to the same time period shortly after

12      you returned from Montreal, did Mr. Bulger have a conversation

13      with you about an individual named Paul McGonagle?

14      A.   Yes.

15      Q.   Who was Paul McGonagle?

16      A.   One of Jim Bulger's crew.

17      Q.   What did Mr. Bulger tell you about Mr. McGonagle?

18      A.   He said he wanted to kill him.

19      Q.   Did he tell you why he wanted to kill him?

20      A.   He was a remnant of the old Mullen's gang.

21      Q.   And who -- what was the Mullen's gang?

22      A.   That was a group over in South Boston that they were

23      having problems with.

24      Q.   And when I showed you that chart earlier -- maybe we could

25      put it up again, Exhibit 94 -- and show you that South Boston
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 77 of 190
                                                                             25-77




 1      crew, as you described it before, were some of those people

 2      there part of the old Mullen's gang?

 3      A.   Yes.

 4                  There was Pat Nee, Tommy King.

 5      Q.   So some of the people who Mr. Bulger brought into the

 6      Winter Hill Gang were part of that old Mullen's gang; is that

 7      fair to say?

 8      A.   Yes.

 9      Q.   So he told you he wanted to kill Paul McGonagle.             What

10      else did he say to you about that?

11      A.   He asked me if I would be there to help him.

12      Q.   What did you say?

13      A.   I told him I would.

14      Q.   After that conversation, did he talk to you again about

15      Mr. McGonagle?

16      A.   He said that he killed him but he didn't need me there

17      because he took -- they took care of it themselves.

18      Q.   Did he tell you how he did it?

19      A.   He said he -- on the ruse he lured him into the car, he

20      had some counterfeit money, which actually was legitimate

21      money, and told him it was counterfeit money.

22      Q.   Did he tell you who else was present when he killed Paul

23      McGonagle?

24      A.   No.

25      Q.   Did you learn sometime later what he did with
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 78 of 190
                                                                          25-78




 1      Mr. McGonagle's body?

 2      A.   Yes.

 3      Q.   And what did you learn?

 4      A.   They buried -- they buried him over in the Tenean Beach.

 5      Q.   And how did you learn that they had buried Mr. McGonagle

 6      at Tenean Beach?

 7      A.   He told me.

 8      Q.   Who told you?

 9      A.   Jim Bulger.

10      Q.   Was that a spot where you would meet periodically?

11      A.   Yes.

12      Q.   And who would you meet with there?

13      A.   The three -- John Connolly, James Bulger, myself.

14      Q.   And when you went to that location, at Tenean Beach, for

15      those meetings, would Mr. Bulger make comments about

16      Mr. McGonagle?

17      A.   He told me where he buried him.

18      Q.   What did he say?

19      A.   He told me, He's right over there.        He buried him -- from

20      the fence from the Expressway you can look down, there was a

21      fence, right at the end of that small fence there, that was the

22      location, right in front of the fence.

23      Q.   Did he also tell you about a man named Donald McGonagle?

24      A.   Yes.

25      Q.   Who was Donald McGonagle?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 79 of 190
                                                                           25-79




 1      A.   One of his brothers.

 2      Q.   And what did he tell you about Donald McGonagle?

 3      A.   He said he shot him.

 4      Q.   And why did he shoot Donald McGonagle?

 5      A.   He thought he was -- he thought it was Paulie McGonagle.

 6      Q.   Did he kill Donald McGonagle?

 7      A.   Yes.

 8      Q.   I'd like to direct your attention to June of 1975.           Did

 9      you know a man named Eddie Connors?

10      A.   Yes.

11      Q.   Who was Eddie Connors?

12      A.   Eddie Connors was -- he was a bar owner.         He owned the

13      Bulldog Tavern up in Somerville.       He was a friend of Howie

14      Winters, he was a friend -- a friend of Frank Salemme and mine

15      early on.

16      Q.   Okay.

17                  And where was the Bulldog Tavern?

18      A.   In Dorchester, Savin Hill.

19      Q.   Okay.

20                  And did there come a time when you and other members

21      of the group decided to murder Eddie Connors?

22      A.   Yes.

23      Q.   Why?

24      A.   Well, he was -- he was -- he was involved in the O'Toole

25      killing -- I mean, some killing, and O'Toole was -- Connors was
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 80 of 190
                                                                          25-80




 1      a witness to --

 2      Q.   Okay.

 3      A.   And he was telling people that he helped set it up.

 4      Q.   And did that bother you or other members of the group?

 5      A.   It did.

 6      Q.   Why?

 7      A.   Well, he's telling people Winter Hill business.

 8      Q.   As a result of that, did -- was there a meeting about what

 9      to do with Mr. Connors?

10      A.   Yes.

11      Q.   Did Mr. Bulger participate in that meeting?

12      A.   Yes.

13      Q.   And what did you decide to do about Mr. Connors?

14      A.   Kill him.

15      Q.   How did you go about killing him?

16      A.   Well, he was -- he was set up by a telephone call, and

17      when he went to that location, we were waiting there for him.

18      Q.   And who's "we"?

19      A.   Johnny Martorano, James Bulger, and myself.

20      Q.   Okay.

21                  Were you in a car initially?

22      A.   We pulled up in a car, yes.

23      Q.   Who was driving?

24      A.   Johnny Martorano.

25      Q.   And after you pulled up in the car, what happened next?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 81 of 190
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 1      A.   We got out, he was at the phone at exactly the time he was

 2      supposed to be there, because you had to be there to receive

 3      the call from Howie, the pay phone, and we just stepped out

 4      from around the side of the building, the garage, and shot him.

 5      Q.   Okay.

 6                  What kind of weapon did you have?

 7      A.   I had a carbine.

 8      Q.   Is that an automatic weapon?

 9      A.   Fully automatic, but I didn't use the fully automatic, I

10      used it on single shot.

11      Q.   And do you recall what kind of weapon Mr. Bulger had?

12      A.   He had a shotgun, I think it was a two-barrel shotgun, and

13      a pistol.

14      Q.   What did you do as you and he approached the telephone

15      booth?

16      A.   Just fired on him.

17      Q.   How many times?

18      A.   Well, he emptied both shotgun barrels at him and emptied

19      his pistol, I believe, and I fired about maybe seven or eight

20      shots.

21      Q.   Did you kill Mr. Connors?

22      A.   He was killed, yes.

23                  MR. WYSHAK:   Can we put up Exhibit 181?

24      Q.   Is that what the scene looked like?

25                  Can you see the picture on the screen?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 82 of 190
                                                                          25-82




 1      A.   Yes, I'm familiar with it.

 2      Q.   Is that what it looked like after you and Mr. Bulger shot

 3      Mr. Connors?

 4      A.   Yes.

 5                  MR. WYSHAK:   All right.   You can take it off.

 6      Q.   After the shooting, what happened?

 7      A.   We just immediately left and we got in the car and now we

 8      drove -- we drove over to Somerville.

 9      Q.   Mr. Martorano waited for you in the car?

10      A.   Yes.

11      Q.   Who drove back to Somerville?

12      A.   I think the three of us.       I think we dropped -- I think

13      the three of us might have went back to Somerville.

14      Q.   What happened to those guns?

15      A.   They disposed of them.

16      Q.   Why?

17      A.   Because they could be traceable.        If someone were ever to

18      get caught with them, they would have a problem.

19      Q.   Was that the general practice, if a weapon was used in a

20      shooting, you got rid of it?

21      A.   Most often.

22      Q.   How would you get rid of it?

23      A.   Joe McDonald would probably either throw it over in the

24      water -- over in the ocean or dispose of it that way.

25      Q.   Mm-hmm.
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 1                   Now, you previously discussed a photograph of this

 2      individual, Tommy King.      You saw the picture of Tommy King?

 3      A.    Yes.

 4      Q.    And you told us he was one of the old Mullen's crew?

 5      A.    Yes.

 6      Q.    Did there come a time when you became involved in the

 7      murder of Tommy King?

 8      A.    Yes.

 9      Q.    And how did that come about?

10      A.    Well, through Bulger's insistence, he wanted to -- wanted

11      to kill Tommy King.

12      Q.    Did you say "insistence"?

13      A.    He was insistent on it.

14      Q.    Why was he insistent on murdering Mr. King?

15      A.    Probably part of the old remnant group.

16      Q.    Was he complaining about Mr. King?

17      A.    He was -- definitely, because he was an overaggressive

18      person.   And he concocted a story that he was -- he said he

19      was -- a young girl next door, the L Street Tavern, the L

20      Street Club, excuse me, he said Tommy King made some comments

21      to the girl and the father came down and he threatened to beat

22      up the father.     That was one of the stories that was given to

23      us.

24      Q.    Who's telling this story about Tommy King?

25      A.    Jim Bulger.
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                                                                          25-84




 1      Q.   Who's he telling it to?

 2      A.   All of us.

 3      Q.   Who's "all of us"?

 4      A.   The Winter Hill people, the group.        When anything is

 5      discussed, it's always discussed with us as a group.          We all

 6      have to agree to it because we're all involved in some

 7      capacity.

 8      Q.   So he's complaining about Mr. King?

 9      A.   Right.    But he also said that Mr. King wanted -- Tom King

10      wanted to kill Eddie Walsh, a detective on the Boston Police

11      Department.

12      Q.   And why, in particular, did he want to kill Eddie Walsh?

13      Did Mr. Bulger explain?

14      A.   He said he was having problems with him.

15      Q.   That wouldn't have been a good thing, to kill a police

16      officer, correct?

17      A.   Not at all.

18      Q.   So was there a decision made about what to do with

19      Mr. King?

20      A.   Tom King -- Tommy King was going to be killed.

21      Q.   Okay.

22                  Was there a plan on how to murder him?

23      A.   Yes.

24      Q.   And what was the plan?

25      A.   We were going to go on a score and he was going to go, and
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 85 of 190
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 1      he was going to have a score with a guy name "Suitcase Fidler."

 2      Q.   Who was "Suitcase Fidler"?

 3      A.   A Charlestown guy.

 4      Q.   All right.

 5                  And again, what was the plan?

 6      A.   He was going to -- we were going to meet on Columbia Road

 7      in South Boston and Tommy was going to go kill "Suitcase

 8      Fidler," and we -- he was set up there.        Johnny -- Jim Bulger

 9      was driving, John Martorano was in the back seat, Tommy was in

10      the front seat.

11      Q.   Now, prior to meeting at Columbia Road, did you receive

12      any weapons for this murder?

13      A.   Yes.

14      Q.   Who did you get the weapons from?

15      A.   Jim Bulger.

16      Q.   And were the weapons prepared in any particular manner?

17      A.   Well, one of the weapons he gave Tommy King was -- they

18      were blanks.

19      Q.   So one of the guns had blanks in it?

20      A.   Yeah.

21      Q.   When you arrived at Columbia Road, what did you do with

22      the weapons?

23      A.   Gave them to Bulger.

24      Q.   Was he in the car at the time?

25      A.   Just before he got into the car, I believe.
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 1      Q.      Were you in another car?

 2      A.      Yes.

 3      Q.      What car were you in?

 4      A.      We were in a backup car with Howie and myself.

 5      Q.      So the first car had Mr. Martorano, Mr. King, and

 6      Mr. Bulger?

 7      A.      Yes.

 8      Q.      And who was driving?

 9      A.      Mr. Bulger, Jim Bulger.

10      Q.      Mr. Martorano was in the back?

11      A.      Yes.

12      Q.      Did the car start moving?

13      A.      It only went about maybe 50 yards, and somebody shot him.

14      Q.      Who shot him?

15      A.      Johnny Martorano.

16      Q.      Shot who?

17      A.      Tommy King.

18      Q.      You saw it happen?

19      A.      I was right behind him, Howie and I.

20      Q.      After that, what happened?

21      A.      We drove over to the burial cite over in Neponset.

22      Q.      And when you say "the burial site" in Neponset, what was

23      that?

24      A.      It was an area there that was a desolated area, it was

25      underneath the Expressway.
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 87 of 190
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 1      Q.   Okay.

 2                Who chose that site?

 3      A.   Jim Bulger.

 4      Q.   When you arrived there, what happened?

 5      A.   Well, we pulled up alongside the barrier there, and we

 6      pull up alongside there and Pat Nee and Jack pulled him out of

 7      the trunk -- excuse me, out of the front seat of the car, and

 8      they took him over and they buried him.

 9      Q.   All right.

10                When you say "Jack," who do you mean?

11      A.   Jack Curran.

12      Q.   So when you arrive there, Pat Nee and Jack Curran were

13      there already?

14      A.   They were already there.

15      Q.   And they took the body?

16      A.   Oh, yeah.

17      Q.   Did Mr. Bulger tell you about any particular item of

18      clothing that Mr. King was wearing?

19      A.   He had a vest on.

20      Q.   What kind of vest?

21      A.   Bulletproof vest.

22      Q.   And that was because he was going to be the shooter?

23      A.   Right.

24      Q.   That same time period, did you learn -- did you have a

25      conversation with Mr. Bulger about a man named Francis Leonard,
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 88 of 190
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 1      also known as "Buddy" Leonard?

 2      A.   Yes.

 3      Q.   And what did Mr. Bulger tell you about "Buddy" Leonard?

 4      A.   He said he wanted to kill him.

 5      Q.   And was -- did this have anything to do with the murder of

 6      Mr. King?

 7      A.   Yes.

 8      Q.   So tell us what Mr. Bulger told you about Mr. Leonard.

 9      A.   He said that he had some previous history with him, and he

10      wanted to kill him.

11      Q.   And what was he going to do?

12      A.   He was going -- well, what he was going to do after this?

13                  Well, they killed him, took Tommy King's car, put

14      "Buddy" Leonard in the trunk of it -- I wasn't present when

15      they did that but this is what they told me -- put him in the

16      trunk of the car and going to say that Tommy King went on the

17      lam because he killed "Buddy" Leonard.

18      Q.   And who did he tell that to?

19      A.   He told it to all of us.

20      Q.   Did he also tell that to Tommy King's wife?

21      A.   At some point he told her, yes.

22      Q.   That Mr. King had gone on the lam?

23      A.   He's on the lam, he wouldn't be coming back.

24      Q.   Now, at some point does Mr. Bulger ask you to meet John

25      Connolly?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 89 of 190
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 1      A.     Yes.

 2      Q.     And approximately when does that occur?

 3      A.     The end of 1974, early '75.

 4      Q.     And how did he arrange for that?

 5      A.     He asked me if I'd go meet John Connolly and Dennis Condon

 6      at a prearranged coffee shop in Newton.

 7      Q.     Did you agree?

 8      A.     Yes.

 9      Q.     Why?

10      A.     Well, he insisted I go meet him, and I just went and met

11      him.   It was just an introductory meeting.

12      Q.     Okay.

13                    What happened at that meeting?

14      A.     I just met John Connolly.     I knew Dennis Condon from the

15      old days, the old Roxbury days.       Just brief conversation, Hi,

16      how are you? introduced me to John Connolly, a new agent that

17      had just come to Boston.

18      Q.     Mm-hmm.

19                    Did you suspect anything at that time?

20      A.     Yes.

21      Q.     What did you suspect?

22      A.     I suspected I was being set up.

23      Q.     What do you mean by that?

24      A.     Well, because I knew these people prior to -- to be agents

25      prior to that, and just introduced me to John Connolly because
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 90 of 190
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 1      I figured at some point along the way that, you know, there's

 2      going to be some kind of activity going on.

 3      Q.   Okay.

 4                  Let's flesh that out a little bit.

 5                  When you say you knew these people from a prior

 6      occasion --

 7      A.   Talking about Dennis Condon and Paul Rico, not John

 8      Connolly.

 9      Q.   Had you ever met John Connolly before that meeting in

10      Newton?

11      A.   No, no.

12      Q.   So when you say you were being set up, what do you mean?

13      A.   I figured he's going to -- I was suspicious of it, you

14      know, why he had me meet John Connolly, especially with Dennis

15      Condon there.

16      Q.   Did you think they had told Mr. Bulger about your prior

17      relationship with the FBI?

18                  MR. BRENNAN:    Objection to the leading, your Honor.

19                  THE COURT:     Sustained as to form.

20                  MR. WYSHAK:     Okay.

21      BY MR. WYSHAK:

22      Q.   Well, again, what were you suspicious about?

23      A.   I was suspicious why he wanted me to meet him.

24      Q.   After this meeting occurred, did you start passing

25      information along to Mr. Bulger?
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 91 of 190
                                                                          25-91




 1      A.   Yes.

 2      Q.   What kind of information?

 3      A.   He'd ask me questions about the Mafia people, and I was

 4      giving him information about the Mafia people, everything what

 5      I knew, I told him.

 6      Q.   And did you suspect anything when Mr. Bulger continued to

 7      ask you questions about the Mafia?

 8      A.   Yes.

 9      Q.   What did you --

10      A.   I suspected he was passing information on to John

11      Connolly.

12      Q.   Did you ever confront him with that?

13      A.   No, never said anything about it.

14      Q.   Now, why did Mr. Bulger have to ask you about information

15      about the Mafia?

16      A.   Well, because he wasn't familiar with those people down in

17      the North End, I was.     I was around for a long time.

18      Q.   Did you have any -- well, withdrawn.

19                  Were you accepted by members of the Mafia?

20      A.   Yes.

21      Q.   Why?

22      A.   Well, because I knew the people, I grew up around the

23      area, Roxbury, I new Gerry Angiulo's family.         So, I mean, I

24      knew a lot of these people.

25      Q.   You had by that time in 1974 murdered the Bennetts for
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 92 of 190
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 1      Larry Zannino?

 2      A.      Yes.

 3      Q.      Attempted to blow up John Fitzgerald for Larry Zannino?

 4      A.      Yes.

 5      Q.      Did they ask you to become a member of the Mafia?

 6      A.      Several times.

 7      Q.      What did you say?

 8      A.      I declined.

 9      Q.      Did your partner in the '60s, Frank Salemme, did he want

10      to become a member of the Mafia?

11      A.      Yes.

12      Q.      Did he eventually become a member of the Mafia?

13      A.      Eventually became the boss of New England, the New England

14      boss.

15      Q.      Now, you told us earlier that during this period of time

16      in the mid '70s you received a tip about a loansharking

17      investigation that you were a subject of.

18      A.      Right.

19      Q.      Did you also receive, you and other members of the Winter

20      Hill group receive a tip regarding an investigation into a

21      vending machine company?

22      A.      The Melo-Tone.

23      Q.      Can you tell us what that was about?

24      A.      At the time we had started -- a friend of Jimmy

25      Martorano's had started a company with the vending machines,
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 93 of 190
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 1      and he wanted -- was looking for locations.         So we knew a lot

 2      of people that we knew through the city that had bars and clubs

 3      and different locations, and we decided we'd get involved.         We

 4      started finding locations for them.        A lot of these locations

 5      were conflicting with Melo-Tone, who had contracts with these

 6      people, but a lot of these people, we knew them personally, so

 7      we asked them to, you know, to put our machines in there.

 8      Q.   Now, who was the friend of Jimmy Martorano who owned this

 9      vending machine business?

10      A.   Tom Barrett.

11      Q.   Why did Mr. Barrett need you to find locations for him?

12      A.   Well, he didn't know his way around, he didn't know

13      anybody, and he knew Jimmy Martorano, and between both of them,

14      they decided, you know, to get involved with his company, to

15      get involved with the company.

16      Q.   How could you influence people to put his vending machines

17      in their bars or clubs?

18      A.   Well, between all of us, all the people, Winter Hill

19      people, we covered an awful lot of territory, and so we knew

20      people that owned bars, we knew people that owned clubs, and so

21      we just got these locations.

22                (Phone ringing.)

23                THE COURT:    Phone off, please.

24                Mr. Wyshak.

25      BY MR. WYSHAK:
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 1      Q.   Did he expect you to use your influence as criminals in

 2      order to help him get spots?

 3      A.   Yes.

 4      Q.   And did you begin to do that?

 5      A.   Yes, we did.

 6      Q.   And did there come a time when you learned that this

 7      activity caused an investigation by the FBI to commence?

 8      A.   Yes.

 9      Q.   And tell us how you learned that.

10      A.   Well, we had -- I had a conflict with one of the

11      locations, one of the locations that was a bar that was owned

12      by a friend of mine, Bob McCarthy.

13                  So he had one of the of Melo-Tone's vending machines

14      in there.    So I asked Bobby to put our machine in there; he

15      says, Fine.     He said, But I have a contract with Melo-Tone.         At

16      that time, if you put a location, Melo-Tone put a location, a

17      piece of equipment in that location, you could borrow money.

18      So a lot of bar owners would take the money out of the

19      machines.    So he borrowed a thousand dollars.       He said, Don't

20      worry, we'll pay the thousand dollars off.         He said, What about

21      the contract?    I said, We'll go from there.       So we did that.     I

22      said check -- Joe Levine was one of the salesman.          He come

23      down, he started taking our machine out, he said, We have a

24      contract.    He said, You can't do that, we'll take you to court.

25      So, I said to Bobby, If he does that, just sabotage the
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 95 of 190
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 1      machine, put it out of order, eventually he'll get tired of it,

 2      and they'll take the machine out.       That's what started the

 3      whole process.

 4      Q.    My question to you was:      Did you learn that you became the

 5      focus of an investigation by the FBI?

 6      A.    Well, he went -- his boss, Jack Kerner, went to the FBI

 7      and complained about it.

 8      Q.    How did you learn that?

 9      A.    John Connolly told us.

10      Q.    Did he tell you directly?

11      A.    No, told -- he told Jim Bulger.

12      Q.    And did Jim Bulger tell you that?

13      A.    Yes.

14      Q.    Did he tell other members of the group that?

15      A.    Yes.

16      Q.    As a result of receiving that information, what did you

17      do?

18      A.    We tried to diffuse it.      We tried to diffuse the

19      situation.

20      Q.    Mm-hmm.    How?

21      A.    Well, John Connolly had went down to Jack Kerner and told

22      him, he says -- about the investigation, he said, You know,

23      you're going to have to get wired up, you might have to get

24      relocated, and the guy painted a bleak picture to him.            He

25      said, These people are not going to -- I can back them off,
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 96 of 190
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 1      words to that effect, which he did.

 2      Q.   How did you learn that?

 3      A.   That came from John Connolly to Bulger.

 4      Q.   So Jim Bulger told you that John Connolly had --

 5      A.   -- succeeded, yes.

 6      Q.   And you weren't indicted or charged in that case?

 7      A.   No.

 8      Q.   Did there come a time when you began giving gifts to

 9      Mr. Connolly?

10      A.   Yes.

11      Q.   And what's the first time you gave Mr. Connolly a gift,

12      that you can recall?

13      A.   Well, he gave -- Jim Bulger gave him, between 1979-'87 at

14      that time, he gave him an Alcatraz buckle and a diamond ring.

15      Q.   Okay.    Let's start with the diamond Ring.

16                  Where did you get the diamond Ring?

17      A.   Johnny Martorano provided that from Joe McDonald.

18      Q.   All right.

19                  So this was before Mr. Martorano went on the lam?

20      A.   Yes.

21      Q.   And what kind of diamond was it?

22      A.   It was a woman's diamond ring.

23      Q.   What kind of diamond?      Was it a large diamond, small

24      diamond?

25      A.   It ran a couple of karats.       I didn't actually see it, but
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 97 of 190
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 1      I knew about it.

 2      Q.   How did you know about it?

 3      A.   Johnny Martorano told me.

 4      Q.   And who gave it to Mr. Connolly?

 5      A.   Jim Bulger.

 6      Q.   How do you know that?

 7      A.   Because he told us.

 8      Q.   Did John Connolly ever thank you for that?

 9      A.   At some point he probably did.        I don't vividly recall

10      that, though, you know.

11      Q.   All right.

12                  Now, did there come a time when you actually began

13      meeting with Mr. Connolly yourself?

14      A.   Yes.

15      Q.   And how did that come about?

16      A.   It was probably about an interval -- about a year passed

17      between the time I originally met him, the first time I met

18      him, and the time I originally -- I met him face-to-face.

19      Q.   Okay.

20                  And how did that come about?

21      A.   Well, we had a meet.      He asked me to be there at a meet,

22      and I met him over at his mother's house.

23      Q.   Who is "he"?     Who asked you to meet John Connolly?

24      A.   Jim Bulger.

25      Q.   And when you say you met John Connolly at his mother's
     Case 1:99-cr-10371-DJC Document 1285 Filed 08/08/13 Page 98 of 190
                                                                          25-98




 1      house, at whose mother's house?

 2      A.   Jim Bulger's mother's house over at O'Callahan Way.

 3      Q.   Why did Jim Bulger ask you to meet with John Connolly?

 4      A.   Start picking up the -- start meeting him personally.         I

 5      had been giving him information on the Mafia, so he decided he

 6      wanted me to meet him.

 7      Q.   What did he say to you?

 8      A.   He said, John's going to be over the house, why don't you

 9      come by and meet him?

10      Q.   Did you want to meet with John Connolly?

11      A.   Not really, but it's part of the, you know, it's all part

12      of the scenario.     A lot of times I didn't want to meet him.

13      Q.   By that time had you received this tip about the

14      loansharking investigation?

15      A.   Yes.

16      Q.   Were you grateful for that?

17      A.   Yes.

18      Q.   Did you feel obligated?

19      A.   Yes.

20                  MR. BRENNAN:    Objection to the leading, move to

21      strike.

22                  THE COURT:     Well, sustained as to the form.

23      BY MR. WYSHAK:

24      Q.   So you met him at Jim Bulger's mother's house?

25      A.   Right.
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                                                                          25-99




 1      Q.   What happened at that meeting?

 2      A.   Just a conversation, you know, Hi, how you doing? you

 3      know, some Mafia information, that was about it.

 4      Q.   Okay.

 5                  So you're not meeting him to talk about the Red Sox,

 6      right?

 7      A.   No.

 8      Q.   You're meeting him to talk about what?

 9      A.   Criminal activity.

10      Q.   Criminal activity that's going on in Boston?

11      A.   Yes.

12      Q.   Involving members of organized crime?

13      A.   Yes.

14      Q.   Mr. Bulger is present?

15      A.   It's his home, yes.

16      Q.   All right.

17                  Now, at or around this time, does Joe McDonald and

18      Jimmy Sims get indicted?

19      A.   Yes.

20      Q.   Okay.

21                  And do you recall what the case that they got indicted

22      was about?

23      A.   I think it was a stamp case.

24      Q.   What did they do?      What were they charged with doing?

25      A.   They robbed the stamp -- the stamp dealer.
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 1   Q.   All right.

 2               Did they get arrested?

 3   A.   I think they got arrested, yes.

 4   Q.   Did they run away after that?

 5   A.   They jumped bail.

 6   Q.   And while they jumped bail, were you and other members of

 7   the Winter Hill Gang receiving information about that ongoing

 8   investigation?

 9   A.   Through Bulger, yes.

10   Q.   And where was Mr. Bulger getting his information?

11   A.   John Connolly.

12   Q.   As a result of receiving information from Mr. Connolly,

13   did you try to kill a man named Michael Kerzner?

14   A.   Yes.

15   Q.   Who was Michael Kerzner?

16   A.   He was a witness in the case.

17   Q.   And how did you go about trying to kill him?

18   A.   Well, we -- we had people watching his movements, clocking

19   his timing and when he left his office and where he was going.

20   Q.   Okay.

21               And who were those people?

22   A.   Jack and Pat, Jack and Pat Nee, Jack Curran.

23   Q.   How long did they watch him for?

24   A.   Four, five months, six months, around that time frame.

25   Q.   And did you learn his pattern?
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 1   A.   Yes.

 2   Q.   Did there come a time when you decided to try to kill him?

 3   A.   Yes.

 4   Q.   And who were you with?

 5   A.   Jim Bulger.

 6   Q.   And what did you do?

 7   A.   We followed -- we picked him up, we were parked up on the

 8   pike because we knew his routine, had a good pattern on him,

 9   when he drove by we picked up after him and we followed him.

10   Q.   Do you recall where you -- you were on the highway some

11   place?

12   A.   Yes.

13   Q.   Where?

14   A.   Up in -- I'm not familiar with the area, it's up in New --

15   I'd have to really give that some thought on the area.            It was

16   on the pike, going to Gloucester.

17   Q.   Okay.

18               And you were in a car?

19   A.   Yes.

20   Q.   What happened?

21   A.   We were trying to position ourselves.        He's driving, he's

22   going --

23   Q.   Who's driving?

24   A.   Jim Bulger, going a fast rate of speed, probably 50, 60

25   miles an hour, there was traffic, I'm trying to position him
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 1   out in the -- I'm in the back seat with an M-1, I finally get

 2   an opportunity to get a good shot off at him and I did fire one

 3   shot, the gun jammed, faulty ammunition, but the bullet hit the

 4   back post behind his head and split the post and everything,

 5   the shrapnel went into his shoulders and wounded him.             He

 6   pulled off the side of the road; by that time it was too late

 7   to get another shot off at him.

 8   Q.   So you weren't successful in killing him.

 9   A.   No.

10   Q.   Did a man named Ray Lundgren get killed in that case?

11   A.   Yes.

12   Q.   And who was Mr. Lundgren?

13   A.   He was another witness.

14   Q.   Who killed him?

15   A.   Jimmy Sims and Joe McDonald.

16   Q.   Where was he killed?

17   A.   Out in California.

18   Q.   While all this is going on, did Mr. Martorano find an

19   apartment for Joe McDonald and Jimmy Sims to hide out in?

20   A.   Yes.

21   Q.   And how did that come about?

22   A.   Well, he's doing business with Richie Castucci in sports

23   business, Richard Castucci had a contact in New York, a guy

24   named Jack Mace.    So Jack Mace was the source of the layoff

25   office, and he would give information -- he would give his
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 1   layoff to Jack Mace, but it was going originally to Richard

 2   Castucci.      So Johnny wanted to go direct to Jack Mace, so he

 3   made arrangements to go up and meet Jack Mace down in New York.

 4   So he asked me to go with him.      So I drove up to New York,

 5   Johnny and I drove up to New York with a few other people, a

 6   few friends of Johnny's, and he introduced me to Jack Mace.

 7                 While he was up there, he said to him that he wanted

 8   to get an apartment up there because he might want to socialize

 9   himself, and he had a couple of friends from Boston that will

10   be using the apartment.

11                 He went to meet the landlord, and Johnny rented the

12   apartment for one year and gave him $10,000 in cash, and the

13   landlord gave him the key.

14   Q.     And this apartment was in New York City; is that fair to

15   say?

16   A.     Down in New York City, yes.

17   Q.     And you actually saw the apartment?

18   A.     Yes, I was in the apartment.

19   Q.     Did you learn at some point in time that the location of

20   this apartment had been compromised?

21   A.     Yes.

22   Q.     And how did you learn that?

23   A.     Jim Bulger.

24   Q.     And what did he tell you?

25   A.     He says that we have to get in touch -- he got information
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 1   from John Connolly, We have to get in touch with Joe and Jimmy

 2   right away, the FBI is aware of them using the apartment up in

 3   New York -- or down in New York.

 4   Q.   Okay.

 5               And as a result of doing that, what did you do?

 6   A.   Well, we spoke to Johnny about it, and Howie, and we drove

 7   up -- we got in touch with Leo McDonald, because he was the one

 8   to reach his brother Joe, contacted Leo, went to a pay phone,

 9   Leo called his brother, his brother called him back, left a

10   number up there, and Bulger got on the phone with him and spoke

11   to him and told him don't go to that apartment.         He says, We'll

12   explain to you when we see you.       He didn't want to say anything

13   in front of his brother, Joe brother's Leo, because he's a

14   drinker and he didn't trust him.

15   Q.   And what was it that Mr. Bulger wanted to tell Joe

16   McDonald that he didn't want to say over the phone?

17   A.   Where the information came from.

18   Q.   Which was where?

19   A.   John Connolly.

20   Q.   So did you try to meet Joe McDonald in person?

21   A.   Yes.

22   Q.   And how did you do that?

23   A.   We drove down to New York and told Joe -- Bulger did the

24   talking.    He says, We'll meet you at the Port Authority bus

25   terminal.    We drove up, we waited around an hour, he never
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 1   showed up.

 2   Q.   Okay.

 3               Now, you mentioned a man named Richard Castucci.

 4   A.   Yes.

 5   Q.   And you mentioned that he was involved in bookmaking?

 6   A.   Bookmaking.

 7   Q.   And he had connected you to this fellow Jack Mace?

 8   A.   He contacted Johnny with him.

 9   Q.   Okay.

10               And this was in connection with the gambling business

11   that Winter Hill was running?

12   A.   Yes.

13               THE COURT:    Mr. Wyshak, is this a good place to take

14   our break?

15               MR. WYSHAK:    It's fine, your Honor, yes.

16               THE COURT:    Jurors, we'll take our mid-morning break,

17   20 minutes.

18               THE CLERK:    All rise.

19               THE COURT:    Quiet in the courtroom.

20               (Jury left the courtroom.)

21               THE COURT:    Mr. Flemmi, you can step down.

22               Counsel, anything before we break?

23               MR. CARNEY:    No, your Honor.   Thank you.

24               THE COURT:    I would ask everyone in the gallery, those

25   people who are allowed to have cell phones in this courtroom to
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 1   make sure they're all off.

 2               Thank you.

 3               (Recess taken.)

 4               (Resumed, 11:22 a.m.)

 5               THE COURT:    The jury is lining up.

 6               (Jury enters the courtroom.)

 7               THE COURT:    Mr. Wyshak.

 8               MR. WYSHAK:    Thank you, your Honor.

 9   BY MR. WYSHAK:

10   Q.   Mr. Flemmi, when we broke we were talking about Richard

11   Castucci?

12   A.   Yes.

13   Q.   Did there come a time when you had a conversation with

14   John Connolly about Richard Castucci?

15   A.   Yes.

16   Q.   And what did Mr. Connolly tell you about Mr. Castucci?

17   A.   Mr. Castucci was giving him information on some gambling

18   operation in Winter Hill.

19   Q.   Was Mr. Bulger present at that conversation?

20   A.   He's always present.

21   Q.   Now, you told us before that this New York City apartment

22   that John Martorano had obtained for Joe Mac and Jimmy Sims to

23   hide out in, the location of that apartment had been

24   compromised?

25   A.   Yes.
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 1   Q.   And that information came from John Connolly?

 2   A.   That's correct.

 3   Q.   Did there come a time when you learned who had compromised

 4   that location?

 5   A.   Richard Castucci.

 6   Q.   And how did you learn that?

 7   A.   From Jim Bulger.

 8   Q.   As a result of learning that information about the

 9   compromise of the Greenwich Village apartment, was there a

10   decision made about what, if anything, to do about

11   Mr. Castucci?

12   A.   Yes.   Collectively we made a decision.

13   Q.   And what was that decision?

14   A.   Kill Richard Castucci.

15   Q.   Was Mr. Bulger involved in that decision?

16   A.   Yes, he was.

17   Q.   Do you recall the day Mr. Castucci was murdered?

18   A.   December 29, I believe, in 1976.

19   Q.   What happened that day?

20   A.   He got murdered that day over in Somerville.

21   Q.   All right, can you tell us what the circumstances were

22   surrounding that murder?

23   A.   Yes.   Johnny Martorano had owed some money to Richard

24   Castucci.   At that particular time, it was -- he had come at

25   $130,000 from gambling.     So Johnny had Richard Castucci meet us
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 1   at the apartment, and when he come to the apartment, Johnny

 2   Martorano killed him.

 3   Q.      All right, when you say "the apartment," what apartment is

 4   that?

 5   A.      That's the apartment that we had over in -- probably about

 6   50 yards down from the 14 Marshall Street.        It was an apartment

 7   that Johnny used for socializing, meeting people at different

 8   times.

 9   Q.      Were you inside the apartment at the time Johnny Martorano

10   killed Mr. Castucci?

11   A.      I was down there, and I just stepped out for a moment to

12   look around to make sure there wasn't anybody around, and

13   that's when he shot him.

14   Q.      Who else was present at that time?

15   A.      Jim Bulger, Johnny Martorano.

16   Q.      After Johnny Martorano shot Mr. Castucci, what happened?

17   A.      Johnny went back -- left the apartment, went down the

18   street, and Jim Bulger and I cleaned up.

19   Q.      What does that mean, cleaned up?

20   A.      Well, we prepared -- tied him up, cleaned up the

21   apartment.    I did most of all the cleaning up.       And then Johnny

22   come back at some point later on with a sleeping bag, and we

23   both of us put him in the sleeping bag and tied him up and

24   brought him down to the basement.

25   Q.      All right, and what happened after you brought him down to
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 1   the basement?

 2   A.      Well, we did, and Howie come out later on with Richie

 3   Castucci's car.      And there's a park -- there's a parking area

 4   right parallel to the building, and we took him out and put him

 5   in the trunk of the car.

 6   Q.      Who brought the over?

 7   A.      Howie, I believe it was.

 8   Q.      And then what happened?

 9   A.      The car was taken over to Revere and parked in a housing

10   complex.

11   Q.      Did you go on that trip?

12   A.      I followed them over, yes.

13   Q.      Now, was Mr. Bulger involved in dumping the body in

14   Revere?

15   A.      Yes.

16   Q.      Let me put Exhibit 204 up.    Is that Mr. Castucci?

17   A.      It's him, but I can't tell.    I mean, it's him, though,

18   yeah.

19   Q.      In the sleeping bag?

20   A.      I'm sorry?

21   Q.      In the sleeping bag?

22   A.      Yes, you can make it as a sleeping bag, yes.

23   Q.      After this murder, did you meet with Sandra Castucci?

24   A.      I -- yes.    We drove out to her house out in Revere, I

25   believe it was.
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 1   Q.   Who's "we"?

 2   A.   Bulger, myself, and John Martorano.

 3   Q.   Why did you drive to her house?

 4   A.   Johnny wanted to speak to Sandra Castucci.

 5   Q.   Did you know her prior to that?

 6   A.   No.

 7   Q.   And what happened at Sandra Castucci's house?

 8   A.   There was some discussion over some money.

 9   Q.   Did you participate in that discussion?

10   A.   No, because I didn't know what the figures were.             I was

11   there, though.    I wasn't involved in any conversation.

12   Q.   Who talked to Sandra Castucci?       Do you recall?

13   A.   I think it was John Martorano.

14   Q.   Who did you talk to?

15   A.   There was a friend of Richie's out there -- I think his

16   name is Chris -- and I was talking to him for a few minutes.

17   Q.   After the meeting with Sandra Castucci, did you have a

18   meeting with Peter Fiumara?

19   A.   Yes.

20   Q.   Who's Peter Fiumara?

21   A.   Peter Fiurmara, he owns the Squire Club over in Revere,

22   who originally Richie Castucci's partner.        It was a nude bar, a

23   nude club.

24   Q.   A strip club?

25   A.   Strip club.
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 1   Q.      And why did you have the meeting with Peter Fiurmara?

 2   A.      To let him know that there was an obligation with Richie

 3   Castucci and Joe McDonald and Jimmy Sims.

 4   Q.      And what was that obligation?

 5   A.      Originally when Richie Castucci was a partner with -- with

 6   Peter Fiumara, he was the one that had the connection to get

 7   the liquor license, the nude -- an entertainment license in the

 8   Revere.    So they invested $25,000 with Castucci to get the club

 9   license, so they got a piece of the action.

10   Q.      And who went to talk to Peter Fiumara about Mr. Castucci's

11   interest in the squire?

12   A.      I was there, Jim Bulger was there, and I think Johnny

13   Martorano was there.

14   Q.      Do you recall what was said to him at that time?

15   A.      He said that there was an obligation and that Richie

16   Castucci was involved with Johnny -- with Howie Winter and

17   Jimmy Sims and Howie because they're the ones that put the

18   money up.

19   Q.      Okay.   And what did that mean, there was an obligation?

20   What did you expect Mr. Fiumara to do?

21   A.      To continue -- to continue taking care of Richie Castucci

22   with whatever his obligation was, that Winter Hill would assume

23   that.

24   Q.      Did you or other members of the Winter Hill receive money

25   from Mr. Fiumara for Mr. Castucci's share of the Squire?
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 1   A.      Well, Winter Hill did because it was Johnny -- Joe

 2   McDonald and Jimmy Sims and Howie Winter, that was their --

 3   that was their investment.

 4   Q.      After the murder of Mr. Castucci, did members of the Mafia

 5   come to make a claim on money owed to them?

 6   A.      Yes.   Some people from down in New York come up, Mafia

 7   people.    One name was Carmine Lombardozzi and his nephew.        They

 8   came.    They wanted to sit down and talk about the $130,000 that

 9   was owed to Jack Mace.

10   Q.      And why did they care about money owed to Jack Mace?

11   A.      Because Jack Mace was associated with them.

12   Q.      Were you aware that they were going to come to visit you?

13   A.      Yes.

14   Q.      How did you know about that?

15   A.      I believe it was Sonny Mercurio came over and told us that

16   Jerry Angiulo -- the New York people couldn't come into Boston

17   without the local Mafia people, without them sanctioning it or

18   having them come down to have a meet, which they did, and it

19   was through Jerry Angiulo had set the meet up.

20   Q.      Where was this meeting?

21   A.      It was in his garage over in Somerville.

22   Q.      And did you make any arrangements prior to the meeting?

23   A.      Johnny did.

24   Q.      And what arrangements were made?

25   A.      He had a lot of his friends and our friends and everybody
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 1   at the garage at that time to show some kind of a force in

 2   numbers.

 3   Q.   When you say friends, you mean criminals?

 4   A.   Criminals.    Most of them are all criminals, yes.

 5   Q.   Pack the garage?

 6   A.   Pack the garage with people, yes.

 7   Q.   Did these members of the Mafia from New York show up?

 8   A.   They showed up, yes.

 9   Q.   What happened when they showed up?

10   A.   Well, they were amazed to see so many people there.

11   That's how they operate, in numbers.       So they come down.     Jim

12   Bulger knew Carmine Lombardozzi from I guess prison days, and

13   he was talking to him, and they said -- Johnny I think said to

14   him, they guy's not getting paid because the guy's an informant

15   and he wasn't -- and they weren't going to get paid, and they

16   never got paid.

17   Q.   Did you suspect that Jack Mace had something to do with

18   the compromise of the New York City apartment?

19   A.   Yes.

20   Q.   And did the members of the Mafia from New York accept

21   that, that they weren't going to get paid?

22   A.   They got the message that they weren't getting paid.

23   Q.   What happened after?

24   A.   They never got paid.

25   Q.   They never got paid?
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 1   A.     They never got paid.

 2   Q.     Remember at about this time there was a number of people

 3   murdered at a club called Blackfriars?

 4   A.     Yes.

 5   Q.     As a result of that murder, did you and Mr. Bulger have a

 6   conversation about an individual named Ted Berenson?

 7   A.     Yes.

 8   Q.     And what was that conversation?

 9   A.     Well, Ted Berenson had a little bit of a background with

10   the owner of a place.     The name was Vinnie, Vinnie -- I can't

11   remember his last name.     He owned the club.     And he had loaned

12   some money to Vinnie to own the club, Vincent's in the North

13   End.   And he was friendly with him, and we'd become aware of

14   it, and Bulger thought he was ripe for an extortion.

15   Q.     What does that mean, ripe for an extortion?

16   A.     Well, the ingredients were there.      He figured that Ted

17   Berenson was doing coke.      He had loaned him money.      He went to

18   him and said, "This guy owes some money, you know, to some

19   people, friends of ours, and it has to be paid."

20   Q.     So who was Ted Berenson?

21   A.     He was a legitimate real estate developer, a millionaire,

22   but he liked to hang around wiseguys.       He was a friend of

23   Johnny's.

24   Q.     Okay, so did you have a conversation with Mr. Bulger about

25   how to go about extorting Mr. Berenson?
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 1   A.     Well, after the five -- the five people, there was five

 2   people got murdered there, he obtained some photographs, and he

 3   wanted to show them to Ted Berenson.

 4   Q.     When you say "he," who do you mean?

 5   A.     Jim Bulger.

 6   Q.     Okay, when you're talking about Mr. Bulger, could you say

 7   Mr. Bulger.

 8   A.     I will, yeah.

 9   Q.     Okay, where did he get the photographs?

10   A.     John Connolly.

11   Q.     And what were they photographs of?

12   A.     Photographs of the people that were murdered.

13   Q.     The murder scene?

14   A.     The murder scene.

15   Q.     And what did you do with the photographs?

16   A.     Showed them to Ted Berenson.

17   Q.     Why?

18   A.     The guy's a legitimate guy.     It frightened him because he

19   was -- he was kind of a party guy.       He was doing some coke with

20   him.   He had loaned some money to Vincent, and he thought that

21   the opportunity was there for him to extort the guy.

22   Q.     And what did Mr. Bulger say to Mr. Berenson?

23   A.     He said that there was money owed and that "You're going

24   to have to assume it."

25   Q.     And what would happen if he didn't?
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 1   A.   He showed him the pictures.

 2   Q.   Did Mr. Berenson pay?

 3   A.   Yes, he did.

 4   Q.   How much did he pay?

 5   A.   I think at the time he paid us $60,000.

 6   Q.   And what did you do with that money?

 7   A.   We divided it up.

 8   Q.   Who's "we"?

 9   A.   Jim Bulger, myself, Johnny Martorano, and I think that was

10   about it.

11   Q.   Now, why does Johnny Martorano get a piece of that?

12   A.   Well, because Johnny Martorano was -- Ted Berenson was a

13   friend of Johnny Martorano's.

14   Q.   So why would you extort somebody who's a friend of John

15   Martorano's?

16   A.   That's a good question.      It's happened to me quite a few

17   times, a friend of mine.

18   Q.   What do you mean by that?

19   A.   Because he just said that, you know --

20   Q.   Who's "he"?

21   A.   Jim Bulger said, "We're going to extort this guy, and

22   we're going to make a score out of it."

23   Q.   So even if it was somebody who was a friend, you would

24   extort him?

25   A.   Well, he did to me and my friends.
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 1               MR. BRENNAN:    Objection.

 2               THE COURT:     Well, sustained.    You can rephrase.

 3   A.   Actually it happened, and then John was told --

 4               THE COURT:     Mr. Flemmi, you've got to wait until

 5   there's another question.

 6               THE WITNESS:    I'm sorry.

 7   Q.   Did that bother you that Mr. Bulger was extorting a friend

 8   of John Martorano's?

 9   A.   Yes.

10               MR. BRENNAN:    I object.

11               THE COURT:     Sustained.    Counsel, do you want to

12   rephrase?

13               MR. WYSHAK:     I'm asking him if it bothered him, your

14   Honor.

15               THE COURT:     Counsel?

16               MR. BRENNAN:    He can ask how he felt about it, your

17   Honor.

18               MR. WYSHAK:    I can't hear, Mr. Brennan.

19               THE COURT:     You're objecting to the form, Counsel,

20   right?

21               MR. BRENNAN:    Yes.

22               THE COURT:     Okay, sustained as to the form, Counsel.

23   Q.   Was that unusual that you and Mr. Bulger would extort

24   somebody who was a friend?

25   A.   Well, Johnny didn't know it at the time until afterwards.
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 1   That's when he told him, when I told him.

 2   Q.   What did Mr. Martorano say when he found out you extorted

 3   his friend?

 4   A.   It was already done.      It happened.    It was too late to do

 5   anything then.

 6   Q.   He got a piece of the money, though?

 7   A.   He got a piece, a portion of the money.

 8   Q.   Around this time, did Mr. Winter get arrested and

 9   convicted?

10   A.   Yes.

11   Q.   Sent to jail?

12   A.   Yes.

13   Q.   And what was that for?

14   A.   That was because of a location over in Somerville that a

15   guy named Robinson, he had some vending machines, and he had

16   them in a club.    And Howie had went to him and said to him he

17   has to take his machines out because that was a friend of his

18   that had the club.    And the guy resented it, and he got scared,

19   and he went to the FBI.

20   Q.   And Mr. Winter, had he threatened that individual?

21   A.   Yes.

22   Q.   And Mr. Winter was convicted of that?

23   A.   Yes.

24   Q.   He went to jail?

25   A.   Yes.
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 1   Q.      Now, you mentioned before that this individual Anthony

 2   Ciulla and William Barnoski were involved in a race-fix scheme?

 3   A.      Yes.

 4   Q.      What was that scheme?

 5   A.      That was a scheme that was ongoing before I came home, and

 6   what they were doing was, they would go to different tracks.

 7   They would bribe different jockeys to hold back their horse,

 8   horses, and the horses that weren't held back were the horses

 9   that they would bet on.

10   Q.      All right, and this was ongoing when you returned to

11   Boston?

12   A.      Right.

13   Q.      Did you participate in this scheme once you returned?

14   A.      I was involved.

15   Q.      How?

16   A.      Well, I was involved -- we got some -- we got some

17   bookmakers that we could use, and I was also available if there

18   was any problems or we had to use any threats or violence, that

19   we were available.

20   Q.      Okay, when you say "we," who do you mean?

21   A.      Excuse me.   Jim Bulger and myself.

22   Q.      And when you say we got some bookmakers we could use, what

23   do you mean?

24   A.      Some of the bookmakers that we knew that we could put bets

25   with.
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 1   Q.   Play off the fixed races, the bets on the fixed races?

 2   A.   Yeah.

 3                    MR. BRENNAN:   Objection, leading.

 4               THE COURT:   Sustained as to form.

 5   Q.   You used to do what, Mr. Flemmi?        What could you use the

 6   bookmakers to do?

 7   A.   Find -- get sources, sources that they could bet with.

 8   Q.   Was Jack Mace one of those individuals?

 9   A.   Probably.    Johnny was handling all that aspect of it, so,

10   you know --

11   Q.   At some time did you learn that Mr. Ciulla was cooperating

12   with the authorities?

13   A.   Yes.

14   Q.   Had he been arrested?

15   A.   Yes.

16   Q.   How did you learn that?

17   A.   Got that from Jim Bulger.

18   Q.   Did there come a time when you thought you might be

19   indicted in that case?

20   A.   Yes.

21   Q.   And, again, where did you get that information from?

22   A.   Jim Bulger.

23   Q.   Now, at or about this time, had you met a man named John

24   Morris?

25   A.   I don't think I met him -- yeah, I did meet him.             I
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 1   believe I did.

 2   Q.   And how did that come about?

 3   A.   Through John Connolly.

 4   Q.   Who was John Morris?

 5   A.   He was a supervisor of the FBI, John Connolly's

 6   supervisor.

 7   Q.   And what was the occasion when you first met with

 8   Mr. Morris?

 9   A.   Just I think at the time that the indictments were going

10   to be coming down, and he said to us that -- we thought we were

11   going to be indicted, and John Connolly says, well, he's going

12   to talk to John Morris, and John Morris will talk to Jeremiah

13   O'Sullivan to keep us out of the indictment.

14   Q.   All right, do you remember where it was the first time you

15   met John Morris?

16   A.   Probably at his home in Woburn.

17   Q.   And you discussed business at that meeting?

18               MR. BRENNAN:    Objection, leading.

19               THE COURT:     Sustained.

20   Q.   Did you discuss business at that meeting?

21   A.   Yes.

22   Q.   Was one of the items that you discussed this issue

23   regarding the race-fix case?

24   A.   Yes.

25   Q.   And what did Mr. Morris say to you he was going to do
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 1   about that?

 2   A.      He was going to talk to Jeremiah O'Sullivan to keep us out

 3   of the race-fix case indictment.

 4   Q.      Why?

 5   A.      Because we were essential to their mandate that the FBI

 6   had against the Mafia.

 7   Q.      He told you that?

 8   A.      Right, John Morris and John Connolly.

 9   Q.      And Mr. Bulger was at this meeting?

10   A.      No.

11   Q.      No?

12   A.      At the meeting with John Morris?       Oh, yes, he was.     Excuse

13   me.

14                  MR. BRENNAN:    Your Honor, I object, asked and

15   answered.

16                  THE COURT:     Well, Counsel, I'll see you at sidebar for

17   a moment.

18   SIDEBAR CONFERENCE:

19                  THE COURT:     Counsel?

20                  MR. BRENNAN:    Your Honor, I hate to object, but I'm

21   objecting to the question.          It becomes a series of questions

22   where there's one-word questions posed by Mr. Wyshak.             It's not

23   a question at all.          It's not in question form.   It's suggesting

24   what the answer should be.          His answer to this question was

25   "No."    He was asked about did -- I'd have to review the
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 1   question, but the answer was "No," and then Mr. Wyshak, instead

 2   of asking a question or refreshing memory or impeaching him,

 3   simply says "No?"

 4              THE COURT:     So it was to the form of the question?

 5              MR. BRENNAN:    The form, and it's so consistently

 6   leading.   I can't object to every question that's leading, and

 7   it's a pattern that I can't --

 8              THE COURT:     Counsel, I did call you over.     There have

 9   been a bunch of leading questions, Mr. Wyshak.         I realize that

10   there's a lot of ground to cover --

11              MR. WYSHAK:     There is, your Honor.

12              THE COURT:     -- with Mr. Flemmi, and I imagine part of

13   the reason you're not objecting, at least to the initial part,

14   was because it's a lot of activity that didn't necessarily

15   involve Mr. Bulger.

16              MR. BRENNAN:    That, and I just hate to object.

17              THE COURT:     But I am, Mr. Wyshak, sustaining the

18   objections as to leading form when they're posed.

19              MR. WYSHAK:     I understand that, your Honor.     You know,

20   I think we should have some leeway with this witness.             He's

21   almost 80 years old, and one of the reasons he's here

22   testifying as an 80-year-old man is because this defendant

23   disappeared for 16 years.      So, you know --

24              THE COURT:     Well, Counsel, Counsel, I don't think --

25              MR. WYSHAK:     -- to some extent, I think with an
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 1   80-year-old witness, we are entitled to some leeway.          But,

 2   furthermore, I mean, on this particular question the witness

 3   was obviously confused, and I'm entitled to go back and try to

 4   clarify.

 5              THE COURT:     Well, I think he was objecting to that

 6   particular question, so I'll sustain it as to form.          You can

 7   ask another question.

 8              MR. WYSHAK:     I mean, a lot of this --

 9              THE COURT:     And just keep your voice down.     I don't

10   think the posture of this case and the timing of it is a reason

11   to have many leading questions here.       I will note for the

12   record that in addition to some hearing issue, this witness

13   does have a tendency to go on about different topics, which I

14   understand may be an issue, both on direct and cross-examination.

15              MR. BRENNAN:    Your Honor, I think this witness is very

16   responsive to Mr. Wyshak's questions, and I think that we

17   should hear from him.      When he answers a question that's not

18   overly consistent with what he's answered on past litigations,

19   that's when we get into the situation where he seems to be

20   being led.

21              THE COURT:     Well, that's something for the Judge at

22   this point, Mr. Brennan.

23              MR. BRENNAN:    I don't think he's shown any

24   incompetency for his age.      I think he's been very responsive

25   and direct about --
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 1               THE COURT:     I wasn't saying incompetency, Counsel.

 2               MR. BRENNAN:    No, you weren't, but I don't think his

 3   age has really at this point anything to do with his memory.               I

 4   mean, he fairly implicates Mr. Bulger on almost every other

 5   question, so he seems to have a pretty good memory of the

 6   evidence.

 7               THE COURT:     I was talking less about age and more

 8   about narrative speaking, Counsel, narrative speaking.             But I

 9   will say, Mr. Wyshak, I've been sustaining the leading

10   objections, and I think it's appropriate for me to continue to

11   do so.

12               MR. WYSHAK:     And I also note that a lot of this, you

13   know, we're not talking about a single incident here.             We have

14   19 murders and numbers of extortions.       A lot of this material

15   is transitional material moving from one event to another,

16   which I think is, you know, appropriate to lead into a new

17   area.

18               THE COURT:     And I'll say for the record, and I think

19   the record is clear, Mr. Brennan has not been objecting to many

20   of those questions, I think perhaps, not putting words into his

21   mouth, for that reason, but -- so I just think that I did want

22   to hear you on that specific question, but that's where we

23   stand.

24               MR. BRENNAN:    Thank you.

25               (End of sidebar conference.)
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 1   BY MR. WYSHAK:

 2   Q.   So, Mr. Flemmi, at this meeting at Mr. Morris' house where

 3   you discussed the race-fix case, who was present?

 4   A.   There was John Morris, myself, Jim Bulger, John Connolly.

 5   Q.   And there was a discussion about why he was going to

 6   intervene on your behalf?

 7   A.   Like I say, the FBI was interested in the Mafia, the New

 8   England Mafia, and they were explaining to Jeremiah O'Sullivan

 9   that we're essential, and then using us to continue with their

10   investigation against the Mafia.

11   Q.   Did there come a time when you learned what was going to

12   happen regarding your involvement in the race-fix case?

13   A.   I guess John Morris went to Jeremiah O'Sullivan.             Jeremiah

14   O'Sullivan went to the case agent, who's FBI Agent Daly, and

15   they agreed to take us out of the race case, as we would be

16   coconspirators in the indictment.

17   Q.   Who told you that?

18   A.   John Connolly.

19   Q.   Did you have a discussion with Mr. Connolly about John

20   Martorano?

21   A.   Yes.

22   Q.   What was that?

23   A.   Well, he said to me -- Jim Bulger said to me, "Give John a

24   call."   So I called John, John Connolly, and he said that John

25   Martorano was spotted down in the Miami area, and to contact
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 1   John Martorano and make him aware of it to relocate, which I

 2   did.

 3   Q.     Prior to that, regarding the race-fix case.

 4   A.     Oh.   He said that the indictments were coming down and

 5   that I warned John Martorano that the indictment's coming down,

 6   and he made arrangements.      He met Jim Bulger and myself over at

 7   the Morning Glory Restaurant over in Somerville.

 8   Q.     And who told you the indictments were coming down?

 9   A.     Jim Bulger.

10   Q.     And what did Mr. Martorano do as a result?

11   A.     Well, we discussed him going on the lam, and he gave us

12   the books, all the books, the Winter Hill obligation.             And they

13   divided up the -- the money that was owed to certain

14   individuals, and we assumed a certain responsibility.             Howie

15   and Joe assumed a certain responsibility.        They had invested in

16   the -- in the operation, the gambling operation, and people and

17   different members had borrowed money from different people at

18   one percent to finance the business.       Jerry Angiulo was owed a

19   quarter of a million dollars, other people that we knew that

20   were owed in excess of sum of $50,000, and we just assumed a

21   portion of that.     Johnny assumed a portion of the money that he

22   owed, and he took some of the agents with him when he left, and

23   Howie and Joe wrote off whatever they had coming to them.            So

24   we paid the obligation off, with the exception of the $250,000

25   that we owed Jerry Angiulo.
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 1   Q.   Okay, so let's break this down a little bit.

 2   Approximately when is this meeting at the Morning Glory

 3   Restaurant?

 4   A.   That was just prior to Johnny leaving.

 5   Q.   Which was when?

 6   A.   October, '78, I believe.

 7   Q.   All right.    And at that time in October of 1978, you told

 8   us Mr. Winter was incarcerated, correct?

 9   A.   That's correct.

10   Q.   Joe McDonald and James Sims, where were they?

11   A.   They were, I think, on the lam.

12   Q.   And John Martorano was about to go on the lam?

13   A.   Right.

14   Q.   So this business that you discussed, whose responsibility

15   did it become?

16   A.   It become Jim Bulger's and myself.

17   Q.   And what did you do with this gambling business, you and

18   Mr. Bulger?

19   A.   Well, we -- we paid off a lot of the accounts that we had;

20   and the $250,000 was owed to Jerry Angiulo, we gave him $5,000

21   down and asked him to put the other $245,000 on the shelf.

22   Q.   What does that mean, put it on the shelf?

23   A.   Well, we weren't going to pay it.        We didn't have it at

24   the time.

25   Q.   Did you continue the sports betting business?
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 1   A.      No.   That ended right there.   I couldn't handle -- neither

 2   one of us could handle it.

 3   Q.      What did you do with all the bookmakers who were working

 4   for you?

 5   A.      We cut them loose, asked some if they wanted to stay with

 6   us, and we asked them whatever they -- we assessed them X

 7   amount of dollars, depending on what they could pay, and we

 8   charged them rent.

 9   Q.      What does that mean, rent?

10   A.      Well, they wouldn't have to -- we were getting all the

11   business at first, and then of course the business dissolved,

12   so that means they would pay, like, for us to protect them.

13   Q.      And how did you protect them?

14   A.      Well, we kept the Mafia away from them, and they were

15   doing business with us.     They were our accounts.

16   Q.      And how much, for example, would you charge a bookmaker

17   for rent?

18   A.      Depending on the bookmaker, if he was just a local, small

19   bookmaker, probably $500 a month, sometimes less.         If he were a

20   larger bookmaker, up to $3,000.

21   Q.      Did these individuals have a choice whether or not to pay

22   rent?

23   A.      They could have left if they chose.     That's the option we

24   gave them.     But as long as they're in business, they have to

25   pay.    If they want to leave and retire, that's their -- that's
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 1   their -- that's their decision.

 2   Q.   If they go out of business, they don't have to pay?

 3   A.   They couldn't pay.     They weren't earning any money.

 4   Q.   Now, after Mr. Martorano left, where did he go?

 5   A.   He went to Miami.

 6   Q.   Did you send him money?

 7   A.   Yes.

 8   Q.   And how often?

 9   A.   Well, I was holding a lot of Johnny's money to start with,

10   so I would have to send him it, and I would just hold onto it

11   unless he needed it.

12   Q.   How much of Johnny's money were you holding?

13   A.   George Kaufman was holding I think $100,000.         Then George

14   gave it to me at some point.      And then money that I was

15   collecting, his end of the business that we were collecting

16   from the rent and everything, that would just accumulate, and,

17   you know, if he needed any money.       Like, he had as much as

18   $300,000 that he gave to Joey Yerardi to put out on the street

19   for him, loan shark money.

20   Q.   So how would you get money to John Martorano?

21   A.   Through -- sometimes it was through John Callahan, or

22   George Kaufman would send it down, FedEx it down.

23   Q.   How often would you send money to John Martorano?

24   A.   Well, it was mostly George that was handling all that

25   because he was dealing directly with -- with Johnny.          If there
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 1   was anything that I needed to know, it would go through George.

 2   Q.   Did you continue to include Mr. Martorano in scores that

 3   you made?

 4   A.   Yes.   He always got a piece of it.

 5   Q.   Why?

 6   A.   Because he was a partner.

 7   Q.   Who were the partners after this split in 1978?

 8   A.   Jim Bulger, myself, and Johnny Martorano.

 9   Q.   Before Mr. Martorano left, did he introduce you to a man

10   named Richard Schneiderhan?

11   A.   Yes.

12   Q.   And who was that individual?

13   A.   Richard Schneiderhan was a lieutenant in the State Police.

14   Q.   And what was Mr. Martorano's relationship with Richard

15   Schneiderhan?

16   A.   Well, there was a relationship going on with him and Howie

17   and Johnny prior to me coming home, and he would give Johnny

18   information, and Johnny was paying him.

19   Q.   What kind of information?

20   A.   Bookmaking information, general information, any

21   information that, you know, is available -- that was available

22   to the State Police that would be helpful to us.

23   Q.   Information about illegal activities?

24   A.   Yes.

25   Q.   And where did you meet with Mr. Schneiderhan for the first
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 1   time?

 2   A.      Well, when Johnny left the meeting, that last meeting,

 3   before he left, he gave me his phone number.

 4   Q.      And did you meet with him?

 5   A.      Yes.

 6   Q.      What was your arrangement with Mr. Schneiderhan?

 7   A.      To continue on paying him the thousand dollars a month.

 8   Q.      And for how long did you pay Mr. Schneiderhan a thousand

 9   dollars a month?

10   A.      Probably up to the '90s, '90.

11   Q.      Now, at this time you were also paying John Connolly

12   money?

13   A.      Yes.

14   Q.      How much?

15   A.      Well, particularly -- I didn't hear you.

16   Q.      After John Martorano leaves town in the late '70s, early

17   '80s?

18   A.      Well, I wasn't really paying him any money.      Jim Bulger

19   was handling that.    He gave him some vacation money in 1979 I

20   wasn't present for.

21   Q.      Okay, how do you know he gave him money for vacation?

22   A.      Because he told me.

23   Q.      How much?

24   A.      He gave him vacation -- $5,000 for -- for vacation.

25   Q.      Any additional money?
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 1   A.   Christmas money.

 2   Q.   How much?

 3   A.   $5,000.

 4   Q.   Did that become a yearly payment?

 5   A.   The vacation money, yes.

 6   Q.   Now --

 7   A.   Excuse me.    The Christmas money, yes.

 8   Q.   Now, where did this money come from?

 9   A.   We had an EX fund, expense fund.

10   Q.   What does that mean, an EX fund?

11   A.   Well, any money that we get from illegal activities, we'd

12   take a portion of it out and we'd put it in the EX fund.

13   Q.   And is that in a bank?      Did you have a bank account that

14   said "EX fund" or --

15   A.   No.     We just, we kept it.

16   Q.   Where?

17   A.   Jim Bulger kept it.

18   Q.   In his pocket or --

19   A.   I don't know where he kept it.       He kept it at home

20   somewhere.

21   Q.   And what kind of money was contained in the EX fund?

22   A.   Over a period of years?        It always fluctuated from $50,000

23   to a quarter of a million.

24   Q.   And what did you use this money for?

25   A.   We used it to buy equipment, lawyers' fees, whatever we
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 1   needed it for.    We didn't have to take the money out of our

 2   pocket.   It was available in the EX fund.

 3   Q.   And was the money in the EX fund the proceeds of your

 4   criminal activity?

 5   A.   Yes.

 6   Q.   Now, at some point in time, do you leave the Somerville

 7   location at 14 Marshall Street?

 8   A.   Yes.

 9   Q.   Why?

10   A.   Well, Howie was in jail.      When I went up to visit him, he

11   told me, he says to -- you know, "You guys can't -- you've got

12   to leave Somerville.     You can't stay up there."

13   Q.   Why?

14   A.   Well, because it's just him and I there, and --

15   Q.   Who's "him and I"?

16   A.   Jim Bulger and I were the only ones left up there, so

17   Howie said to us to move, and he wanted to rent the place out

18   to someone else.

19   Q.   And where did you move to?

20   A.   George got a location -- George bought a building down in

21   Lancaster Street.

22   Q.   Okay.   And where was Lancaster Street?

23   A.   In the West End of Boston.

24   Q.   Now, if we could put up Exhibit 13.        Can you tell us, is

25   that Lancaster Street, that location, the picture on the
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 1   screen?

 2   A.   Yes, I see it.

 3   Q.   Who is that?

 4   A.   Larry Zannino, or Baione, Jim Bulger, George Kaufman, I

 5   believe.

 6   Q.   Can you touch the screen and point out to Larry Zannino.

 7   A.   That's Jim Bulger on the top, Larry Zannino, George

 8   Kaufman on the bottom.

 9   Q.   Mr. Flemmi --

10              THE WITNESS:    I'm sorry, your Honor.

11              THE COURT:     Thank you.   Just repeat what you said,

12   please.

13              THE WITNESS:    Jim Bulger is in the top, Larry Zannino.

14   George Kaufman is in the bottom, I believe.

15   Q.   All right, why is Larry Zannino meeting with you and

16   Mr. Bulger?

17   A.   Well, we were close.      We were in the West End, and we were

18   close to the North End, so he would come by for general

19   information, to exchange information on probably different

20   bookmakers or whatever the occasion might be, criminal

21   information.

22   Q.   Can we put the next picture up, Exhibit 11.         Who's that?

23   A.   To the right, Jim Bulger, Danny Angiulo, one of the

24   Angiulo brothers.

25   Q.   And why is Mr. Angiulo meeting with you and Mr. Bulger?
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 1   A.      Criminal activity.

 2   Q.      Were you involved in criminal activity with the Mafia?

 3   A.      No, but we had -- well, to a certain extent, yes, but we

 4   had differences, and problems would come up, and that's why he

 5   would come down and we'd resolve it.

 6   Q.      And when you say "to a certain extent, yes," what do you

 7   mean?

 8   A.      Well, we had some customers -- they had bookmaking people

 9   that were giving action to the North End, and they were giving

10   us action also.      So we had a mutual relationship with both --

11   with both factions.      We had a mutual relationship with one in,

12   like, certain bookmakers.       They were paying both of us.

13   Q.      Okay, now, Exhibit 25, please.    Do you recognize that

14   individual?

15   A.      Yes.

16   Q.      Who is it?

17   A.      Nicola Giso.

18   Q.      And who is he?

19   A.      He was Mafia, a Mafia member.

20   Q.      Exhibit 24-B, do you recognize that individual?

21   A.      Yes.

22   Q.      Who is that?

23   A.      A Jewish bookmaker that was with the North End.

24   Q.      Do you know his name?

25   A.      Yes.
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 1   Q.   Who?

 2   A.   Mel Berger.

 3   Q.   And these are pictures at the garage, correct?

 4   A.   Yes.

 5   Q.   And why is Mel Berger at the garage?

 6   A.   A good friend of George Kaufman's.

 7   Q.   The next picture, Exhibit 19, do you recognize that

 8   person?

 9   A.   It looks like Joey Yerardi.

10   Q.   Who was Joe Yerardi?

11   A.   He was a bookmaker.

12   Q.   Did he have a relationship with John Martorano?

13   A.   Yes.

14   Q.   What was that?

15   A.   Loansharking business.      Johnny financed him, Johnny

16   Martorano.

17   Q.   Exhibit 10, do you recognize those people?

18   A.   Yes.

19   Q.   Who are they?

20   A.   George Kaufman on the right.       On the left, another Jewish

21   bookmaker friend of George who was paying rent, Howie Levenson.

22   Q.   Okay, Exhibit No. 5, who's the individual in the fancy

23   shirt?

24   A.   Charlie Raso.

25   Q.   Who is Charlie Raso?
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 1   A.      He's one of our agents.

 2   Q.      Do you need a drink of water?

 3   A.      Yes.    I'm losing my voice.

 4   Q.      And when you say he's one of your agents, what do you

 5   mean?

 6   A.      Charlie Raso was a sports agent of ours.

 7   Q.      Bookmaking?

 8   A.      Yes.    And the bottom person is George Kaufman.

 9   Q.      Okay, the next one, Exhibit 30, do you recognize those

10   people?

11   A.      Yes.

12   Q.      Who are they?

13   A.      George Kaufman on the right, myself, and Ted Berenson.

14   Q.      Is that the individual you previously told us about that

15   you shook down on the Blackfriars murder?

16   A.      Yes.

17   Q.      Exhibit No. 9, who's that?

18   A.      He's a marijuana importer, Frank Lepere.

19   Q.      What was his relationship with you and Mr. Bulger?

20   A.      Well, he was part of our -- our group.

21   Q.      Okay.   Did you earn money from Frank Lepere?

22   A.      Yes.

23   Q.      How much?

24   A.      Over a million dollars.

25   Q.      The next one, Exhibit 18, do you recognize him?
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 1   A.     Yes.

 2   Q.     Who's that?

 3   A.     Jackie Salemme, Frank Salemme's brother.

 4   Q.     Is that the man who took over your loansharking business

 5   when you went on the lam?

 6   A.     Yes.

 7   Q.     Can we have the next photograph, Exhibit 26.       Who's that?

 8   A.     The individual on the right is Dick O'Brien, and that's me

 9   on the left.

10   Q.     And who is Dick O'Brien?

11   A.     He was one of our agents, gambling, sports business.

12   Q.     Okay, the next photo, Exhibit No. 7, do you recognize that

13   man?

14   A.     Yes.

15   Q.     In the plaid sports coat?

16   A.     Yes.

17   Q.     Who is that?

18   A.     A bookmaker, a Jewish bookmaker named Eddie Lewis.

19   Q.     Okay, if I could have the next photograph, Exhibit 15.        Do

20   you recognize the men in that photograph?

21   A.     Yes.   Jerry Farina and his partner and James Bulger.

22   Q.     And what was their relationship with Winter Hill?

23   A.     Well, they were doing -- they were doing loansharking and

24   drugs.

25   Q.     And the next photograph, Exhibit 23, who are those
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 1   individuals?

 2   A.   George Kaufman on the right, Louie Belmonte on the left,

 3   and I believe Nicky Femia on the bottom.

 4   Q.   Is that the same Nicky Femia that was part of Joe

 5   Barboza's group in the '60s?

 6   A.   Yes.

 7   Q.   Who is Louie Belmonte?

 8   A.   He was a friend of Jimmy Martorano's.        I didn't meet him

 9   until I came home off the lam.      He used to do errands for Jimmy

10   Martorano, and he was part of Jimmy Martorano's crew.

11   Q.   And the last photograph, Exhibit No. 8, who's that?

12   A.   That's Frankie Salemme, young Frankie Salemme, Frankie

13   Salemme's son.

14   Q.   And why is he at the garage?

15   A.   He's a friend of George; he's a friend of mine.

16   Q.   At this time, where was his father?

17   A.   In prison.

18   Q.   All right, now, did there come a time when you left the

19   Lancaster Street Garage?

20   A.   Yes.

21   Q.   Why?

22   A.   Well, because there was a lot of surveillance in the

23   place.   The place was bugged.

24   Q.   How did you learn that the place was bugged?

25   A.   Got that information from Lieutenant Dick Schneiderhan.
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 1   Q.   As a result of that, you stopped frequenting that

 2   location?

 3   A.   Yes.

 4   Q.   Did you engage in a routine of using various pay phones in

 5   the South Boston area?

 6   A.   Yes.

 7   Q.   And why did you do that?

 8   A.   Security purposes.

 9   Q.   What does that mean, security?

10   A.   Well, we didn't want to keep going to the same telephone

11   because if the law enforcement see us on that phone, they would

12   get a bug on that phone.

13   Q.   So in order to avoid being intercepted, what was your

14   routine?

15   A.   We just changed locations.       We just kept looking for new

16   phones to speak on.

17   Q.   Now, you mentioned this man John Callahan.         Can you tell

18   us who he was.

19   A.   John Callahan was -- he was a legitimate businessman.          He

20   was head of the -- he was president of World Jai Alai, a friend

21   of Jimmy Martorano's.

22   Q.   Did you become acquainted with him?

23   A.   Yes.

24   Q.   How?

25   A.   Through Jimmy Martorano.
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 1   Q.     Did you socialize with him?

 2   A.     Not at first, but over a period of time, he was around

 3   different clubs that I would be in and --

 4   Q.     If he's a legitimate businessman, why is he --

 5   A.     Well, he liked to rub elbows -- he liked to rub elbows

 6   with wiseguys.    He was a friend of Howie Winter's.

 7   Q.     Did he have a relationship with Brian Halloran?

 8   A.     They were drinking buddies.     They were pals.

 9   Q.     And what about a man named Michael Solimando, did you know

10   him?

11   A.     Yes.

12   Q.     Who was Michael Solimando?

13   A.     He was a legitimate businessman.

14   Q.     Did you have any relationship with him?

15   A.     I knew him.   He was one of my neighbors.

16   Q.     Was he involved in illegal activities with you?

17   A.     No.

18   Q.     Was Michael Solimando friendly with John Callahan?

19   A.     Yes.

20   Q.     Now, you mentioned this organization World Jai Alai.        Did

21   you learn that Paul Rico was affiliated with World Jai Alai?

22   A.     Yes.

23   Q.     How did you learn that?

24   A.     I learned that from Howie, Howie or Jimmy Martorano, John

25   Connolly -- excuse me -- John Martorano.
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 1   Q.   And what was John Callahan's relationship with John

 2   Martorano?

 3   A.   Well, they -- they were friends.        They become pretty good

 4   friends after a while.

 5   Q.   After Mr. Martorano went on the lam in 1978, what was John

 6   Callahan's relationship with him?

 7   A.   They were pretty friendly, very friendly.         Johnny would be

 8   in Florida, and Johnny would -- his apartment was available,

 9   John Callahan's apartment was available for Johnny's use.            His

10   Cadillac was available for Johnny's use.        He was also a

11   courier.     He'd take money down to Johnny.

12   Q.   Did there come a time when John Martorano communicated a

13   proposition to you from John Callahan?

14   A.   Yes.

15   Q.   And what was it?

16   A.   He said that John Callahan wanted to purchase World

17   Jai Alai, and he was concerned that if he did that, that they

18   might have some -- maybe they might have problems with the

19   Mafia and some group that might want to interfere.          And he

20   asked Johnny if he would become involved and he would give him

21   a skim of the parking concession.       And at some point later on,

22   maybe when they acquired the company, he would get some kind of

23   a percentage of the company.

24   Q.   And why if John Callahan bought World Jai Alai would he

25   have a problem with the Mafia?
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 1   A.   Well, because he'd done business with -- from what I

 2   understand, he'd done business with Raymond Patriarca and some

 3   of the -- some Mafia figures at one point in time.          I'm not

 4   altogether familiar with what the deal was, but that's the

 5   story that I was told.

 6   Q.   What kind of problems could he have?

 7   A.   Once he acquired the company, they might want to come down

 8   and they might want to try to muscle in on it.

 9   Q.   So what would your role be, Winter Hill's role be in World

10   Jai Alai if John Callahan acquired it?

11   A.   Well, we were there as muscle; if anything developed, any

12   problems came up, that we'd be there to be a buffer.

13   Q.   Would you earn money from this proposition?

14   A.   Yes.

15   Q.   How much?

16   A.   Well, originally I think the deal was $10,000 a week from

17   the parking concession.

18   Q.   Did you discuss this proposition with Mr. Bulger?

19   A.   Yes.

20   Q.   What did he say?

21   A.   He thought it was a pretty good deal.

22   Q.   Do you know if John Connolly was aware of this potential

23   score at World Jai Alai?

24   A.   I believe he spoke to him about it.

25   Q.   Did you discuss this with John Callahan?
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 1   A.      Yes.

 2   Q.      Who was present at that discussion?

 3   A.      It was myself and Bulger.

 4   Q.      And what did you discuss with Mr. Callahan?

 5   A.      We asked him about the -- what was the deal, and we met

 6   him and he agreed.       He admitted it.   He said, "Yeah, that's

 7   fine.    If you guys want to come on board, we'd like to have

 8   you."

 9   Q.      Did you discuss it with Paul Rico?

10   A.      Yes.

11   Q.      And what was the nature of that conversation?

12   A.      Called Paul Rico and I asked him what the situation was,

13   and he explained to me they thought they were going to get the

14   company and that he wanted us on board.

15   Q.      Had you spoken with Paul Rico prior to that time since you

16   returned to Boston?

17   A.      No.    That was the first time.

18   Q.      And was Mr. Callahan successful in acquiring World

19   Jai Alai?

20   A.      No, he wasn't.

21   Q.      And after the deal fell through, did you receive another

22   communication from John Martorano regarding a second proposal

23   by Mr. Callahan?

24   A.      Yes, I spoke to him.

25   Q.      And what did John Martorano tell you?
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 1   A.   He said that the deal didn't go through, they couldn't

 2   make the deal with Roger Wheeler, he was a difficult person to

 3   deal with, and that they wanted to kill him.

 4   Q.   Who wanted to kill him?

 5   A.   John Callahan and Paul Rico.

 6   Q.   Did you discuss that with Mr. Bulger?

 7   A.   Yes.

 8   Q.   What did he say?

 9   A.   He was reluctant at first because he's a businessman, a

10   legitimate businessman.     And I says, "Jim, he's already

11   involved.    You know, we're partners.     He's going to do it

12   anyway."

13   Q.   Who's going to do it?

14   A.   John Martorano was going to do it anyway, so we just -- we

15   just went along.

16   Q.   Why would you go along if you didn't agree with it?

17   A.   He was partners.     I mean, we had some history together.

18   Q.   Can you explain what that means.

19   A.   That, you know, we'd killed people together, and we were

20   in it all the way.

21   Q.   In for a penny, in for a pound?

22   A.   In for a penny, in for a pound.

23   Q.   Did you discuss this proposition to kill Mr. Wheeler with

24   Paul Rico?

25   A.   Yes.
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 1   Q.   And what did he say?

 2   A.   I spoke -- I called and I spoke to him, and he said, yeah,

 3   that was the plan.

 4   Q.   Did you meet with Mr. Callahan about it?

 5   A.   Yes.

 6   Q.   Where was that meeting, by the way?

 7   A.   The market area.     I mean the Faneuil Hall area.

 8   Q.   Do you remember where?

 9   A.   The Black Rose.

10   Q.   And what was The Black Rose?

11   A.   A bar down there.

12   Q.   Who was present at that meeting?

13   A.   John Callahan, Jim Bulger, and myself.

14   Q.   And what did you discuss?

15   A.   The whole proposition of the World Jai Alai deal and the

16   murder.

17   Q.   Did you learn of a man named Richard Donovan?

18   A.   Yes.

19   Q.   Who was Richard Donovan?

20   A.   He was the president of World Jai Alai, and he was a

21   partner with John Callahan.

22   Q.   Ultimately did Mr. Bulger go along with the plan to murder

23   Roger Wheeler?

24   A.   Yes.

25   Q.   What steps did you take to participate in that murder?
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 1   A.   Johnny asked me to put a package together with some

 2   equipment and send it on down to -- to Oklahoma.

 3   Q.   And when you say put a package together with some

 4   equipment, what does that mean?

 5   A.   Well, he specified that he wanted the grease gun, and he

 6   wanted the Slim Jim for opening the car doors.         He wanted a

 7   dent puller so he can pull the ignition out and turn it with a

 8   screwdriver, and a pistol.

 9   Q.   Okay.   And a grease gun is a weapon?

10   A.   It's right over there.

11   Q.   A machine gun?

12   A.   Yeah, with a silencer.

13   Q.   And where did you get those materials from?

14   A.   Well, we had them in our -- in our hide.

15   Q.   Where was the hide at that time?

16   A.   At that time it was in Pat Nee's house.

17   Q.   And how did you get that equipment?

18   A.   I spoke to Jim Bulger about it.

19   Q.   And then what happened?

20   A.   He went to Pat Nee and got the equipment.

21   Q.   And how did you get it?

22   A.   He gave it to me.     Jim Bulger gave it to me.

23   Q.   How was it packaged?

24   A.   It was just in one of them small, like a -- like a duffel

25   bag, only it had the handles on the side, one of those type
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 1   bags.

 2   Q.      What did you do with the equipment?

 3   A.      I took it and I put it in the suitcase.       I packed it up in

 4   the suitcase, put clothing around it to muffle it, and locked

 5   it.     And I took it to Trailways Bus Line, and I sent it down to

 6   John Martorano, and I waived identification.

 7   Q.      What does that mean, waived identification?

 8   A.      Well, you don't have to show identification when it

 9   reaches its destination.

10   Q.      So anybody can come and pick up the suitcase?

11   A.      Right.   But Johnny was expecting it.      Johnny Martorano was

12   expecting it.     He would be there waiting for it.

13   Q.      It was kind of dangerous to send guns in a suitcase on a

14   bus, wasn't it?

15   A.      Not back in those days it wasn't.

16               MR. BRENNAN:    Objection.

17               THE COURT:     Sustained as to form.

18   Q.      Were you concerned about sending guns to Tulsa, Oklahoma,

19   on a bus?

20   A.      Not really because back in those days, it wasn't the

21   security they have now.       You just put something on the bus and

22   you send it down, and it reaches its destination, and you pick

23   it up.     That's how it came back.

24   Q.      It came back on a bus?

25   A.      Yeah.
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 1   Q.   Did there come a time when you learned that Mr. Wheeler

 2   had been murdered?

 3   A.   Yes.

 4   Q.   How did you learn about that?

 5   A.   Jim Bulger told me.

 6   Q.   What did he tell you?

 7   A.   He said that John Connolly had called him at his home

 8   around suppertime and said that -- John Connolly called him and

 9   told him that Wheeler was murdered, and you can say -- if

10   anyone asks, I can say you were here in Boston.

11   Q.   Did you have a conversation with John Martorano after the

12   murder of Roger Wheeler?

13   A.   Yes.

14   Q.   What did he tell you?

15   A.   He told me what happened.      He says that he was in his

16   country club, and when John Martorano approached him, he fired

17   point-blank at him, and he said the gun burst.

18   Q.   What does that mean, the gun burst?

19   A.   The barrel of the gun exploded, and the parts fell on the

20   ground.

21   Q.   Was he upset about that?

22   A.   Very upset.

23   Q.   Why?

24   A.   Because, I mean, something like that, I mean, the gun

25   should have been checked, but it exploded.
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 1   Q.      All right, as a result of the murder of Roger Wheeler, was

 2   John Callahan successful in acquiring World Jai Alai?

 3   A.      No, he wasn't.

 4   Q.      All right, now, I'd like to ask you some questions about

 5   John Connolly.       At around the time that Roger Wheeler is

 6   murdered, can you describe what your relationship is with John

 7   Connolly.

 8   A.      Well, my relationship with him was, we were meeting at the

 9   time.

10   Q.      How often?

11   A.      Well, it was usually basically like once a week every

12   other week, or sometimes more or sometimes less, depending on

13   the need of the meet.

14   Q.      Excuse me?

15   A.      Depending on why we had to meet.

16   Q.      And how would you know when and where to meet John

17   Connolly?

18   A.      Well, we would always meet -- we met him at different

19   locations.    We met him at his home.     He'd say meet him at his

20   home.

21   Q.      How would you find out?

22   A.      Jim Bulger would tell me.    He was in contact with him, not

23   me.

24   Q.      It was always through Mr. Bulger?

25   A.      Always through Mr. Bulger, Jim Bulger.
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 1   Q.   And what kind of locations were you meeting at?

 2   A.   We would meet, we could meet -- we'd meet on the beach.

 3   We'd meet at his home.     We'd meet on different beaches, or we'd

 4   meet at his home.    We'd meet at John Newton's home.

 5   Q.   All right, well, so when you say you met at a beach --

 6   A.   We'd walk along the beach.

 7   Q.   And when you said you'd meet at his home, whose home are

 8   you talking about?

 9   A.   We met in Jim Bulger's home.       We met in -- when he was

10   living up in Quincy, a couple of times we met there when he was

11   living in Quincy Shore Drive.      We met -- he had a home, he

12   rented a home.    I think it was in Squantum.      We met there.    We

13   met at Louisburg Square.

14   Q.   These are all homes Mr. Bulger occupied?

15   A.   And John Connolly's home.

16   Q.   And John Connolly's home?

17   A.   Thomas park.    That's where John Connolly lived.

18   Q.   You mentioned a man named John Newton.         Who was he?

19   A.   John Newton was an FBI agent, a friend of John Connolly's.

20   Q.   Where did he live?

21   A.   In South Boston.

22   Q.   You met at his home?

23   A.   Yes.

24   Q.   Other than the $5,000 for Christmas and $5,000 for

25   vacation, did you begin to pay John Connolly additional money?
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 1   A.   Yes.

 2   Q.   And what kind of money was that?

 3   A.   Well, we paid him at Christmastime, and we paid him in

 4   vacation time.    It was five and ten, $5,000 and $10,000.        We

 5   paid him money we got from Frank Lepere.

 6   Q.   All right, now, Frank Lepere was that individual that we

 7   saw sitting outside the Lancaster Street Garage?

 8   A.   Yes.

 9   Q.   What business was Frank Lepere in?

10   A.   He was in the marijuana business.

11   Q.   And what was your arrangement with Frank Lepere?

12   A.   Well, whenever he brought a load of marijuana in, we would

13   get a piece of the action.

14   Q.   And why would he want to give you a piece of the action on

15   his marijuana loads?

16   A.   Because he had problems with the Mafia, and he wanted

17   protection.

18   Q.   What kind of protection?

19   A.   Physical protection.

20   Q.   And he paid --

21   A.   And -- and protection against us too.        We had some

22   sources, he had some sources, law enforcement forces.

23   Q.   Had you intervened in his behalf in any dispute with the

24   Mafia?

25   A.   Yes.
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 1   Q.    And can you tell us a little bit about that.

 2   A.    Well, there was an incident that he had with -- Michael

 3   Caruana was another big marijuana source, and both of them were

 4   partners at one time.     So there was a dispute over one of the

 5   people that they were doing business with, and the claim was a

 6   claim that Michael Caruana put in.       It was a $600,000 claim.

 7   And Frank Lepere and Kevin Daly said it wasn't so, so --

 8   Q.    Who was Kevin Dale?

 9   A.    He was Frank Lepere's partner in the marijuana business.

10   So he said to Frank Lepere, he says, "Well, I'm going to go

11   with Raymond."    He says, "I'm with Raymond," meaning Raymond,

12   Jr.

13   Q.    When you say Raymond, you mean Raymond Patriarca?

14   A.    Raymond Patriarca, Jr.     So he says to Frank Lepere, he

15   says, "You know, this money is owed to Raymond."         He says, "You

16   know, you're going to have to pay it."

17   Q.    This is Michael Caruana?

18   A.    He's telling -- he's telling Frank Lepere.        So I said

19   him -- so I got involved, and then I called Michael Caruana,

20   and I was going to talk on the telephone.        And I told him, I

21   said, "Frank's with us."     He says, "Well, he owes me the money

22   and he owes it to Raymond.      He's going to pay it."      I says,

23   "Well, he's not going to pay it because he's with us."            So he

24   said, "I want to talk to Raymond."       I says, "You go and talk to

25   Raymond."
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 1   Q.     When you say "he's with us," who do you mean?

 2   A.     That means us:    Jim Bulger, myself, Winter Hill, Johnny

 3   Martorano.

 4   Q.     Okay.   As a result of that conversation, what happened?

 5   A.     There was a meeting called, and I attended the meeting.

 6   It was over Michael Caruana's home out in Peabody, I believe it

 7   was, and Raymond was there, and I showed up.

 8   Q.     Were you with anybody?

 9   A.     Well, I had somebody drive me out there.       Jim Bulger was

10   aware that I was going out there.       I had a friend of mine, Joey

11   Mongiello, drive me out there.

12   Q.     Okay, why didn't Mr. Bulger accompany you to that

13   location?

14   A.     He just didn't show.     He just didn't go.    I went on my

15   own.     No sense in both of us being there when I can be there

16   alone.

17   Q.     And what does that mean, "no sense in both of us being

18   there"?

19   A.     Well, if anything ever happened, there's no sense in both

20   of us being there.      At least, if something happened to me, he

21   would know what happened.

22   Q.     Like, what could happen?

23   A.     I don't know.    I mean, there could be a problem; it could

24   be a setup.    I don't know.    I was just prepared for it.       I was

25   armed.    And Joey Mongiello was outside, and I told him, if
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 1   anything happened to me, make sure you go back and let them

 2   know what's going on.

 3   Q.      And why did you bring a gun to a meeting with Raymond

 4   Patriarca?

 5   A.      I don't trust the Mafia.

 6   Q.      What happened at this meeting?

 7   A.      Well, there was an exchange of words, and I told him the

 8   money was owed to a Frank Lepere; Frank's with us.          And he says

 9   to Raymond, he says, how much are they?        You know, I've been --

10   told him I'm partners with you and I gave you -- and he told me

11   before the meeting, he says, I've given Raymond over

12   $9 million.    So when I was at that meeting, I explained.        I

13   says -- I reiterated what he said.       I told them, This guy said

14   he's with you and he paid you over $9 million."

15   Q.      You're talking about Michael Caruana?

16   A.      Michael Caruana.   And he looked at Michael Caruana and he

17   looked at me, and -- but, anyway, the bottom line is that the

18   money was paid.

19   Q.      Paid to who?

20   A.      Paid to me.

21   Q.      How much did you get?

22   A.      We got $200,000 out of it.    It was actually given to Frank

23   Lepere.    Frank brought us down $200,000, and I brought it down

24   the house, down to Jim Bulger's house, his mother's home at the

25   time.
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 1   Q.   And what did you do with that $200,000?

 2   A.   We chopped it up.     Johnny got a piece of it.      It went

 3   into his -- it went into his -- his account.

 4   Q.   Did Mr. Martorano always get a piece of every score?

 5   A.   Yeah.    Yes, he did.   That's why he was able to give --

 6   give Joey Yerardi $300,000 to put out in the street for him.

 7   Q.   So did you continue to earn money from Frank Lepere?

 8   A.   Yes.

 9   Q.   How much over the years?

10   A.   Well over a million dollars.

11   Q.   Did you share any of that with John Connolly?

12   A.   John Connolly got some money out of that, yes.

13   Q.   How much?

14   A.   Well, on two occasions he's got -- one time in late '83 we

15   gave him $25,000, and then a month or so later -- the money

16   came in in increments of X amount of dollars from Lepere, and

17   we -- we gave him another $25,000 the next time we met him at

18   his home up in Thomas Park.

19   Q.   Did Mr. Connolly make any particular memorable comment

20   when you gave him that $50,000 in 1983?

21   A.   Yeah.    He says, "I'm one of the gang."

22   Q.   And he was, wasn't he?

23   A.   Sorry?

24   Q.   Was he?

25   A.   Yes.
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 1   Q.   All right, now, in addition to money that you earned from

 2   Frank Lepere, did you earn money from other drug dealers during

 3   that period?

 4   A.   Yes.

 5   Q.   Okay.     And did you know a man named Pat Linsky?

 6   A.   Yes.

 7   Q.   Billy Shea?

 8   A.   Yes.

 9   Q.   Who were they?

10   A.   They were local people from South Boston.

11   Q.   And what did they do for your organization?

12   A.   They had groups of people that they were dealing drugs

13   with, supplying the drugs.

14   Q.   What kind of drugs?

15   A.   Cocaine.

16   Q.   Did you earn money from that narcotics activity?

17   A.   Yes.

18   Q.   What kind of money?

19   A.   A substantial amount of money over a period of time.

20   Q.   Who operated that drug business?

21   A.   There was -- actually, Jim Bulger was -- he organized the

22   whole thing at the time, and Billy Shea I believe was

23   organizing it.

24   Q.   How much involvement did you have in the South Boston

25   narcotics business?
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 1   A.   I was part of the -- I was part of the group.

 2   Q.   Did you get involved in the day-to-day operations?

 3   A.   No.

 4   Q.   Did you know a man named Hobart Willis?

 5   A.   Yes.

 6   Q.   Who is he?

 7   A.   Hobart Willis was -- he was dealing in cocaine.

 8   Q.   And did he pay you money?

 9   A.   Yes.

10   Q.   What kind of money?

11   A.   We got $1,500 a month from him.

12   Q.   So how come you dealt with him directly?

13   A.   It just happens to work out that way, you know, because

14   he's from up in Dorchester way, and I'm up that way, and I used

15   to meet him in different locations.

16   Q.   What was his source of cocaine supply?

17   A.   He got that -- he had a couple of sources, but he got --

18   but then he started dealing with -- got a source from South

19   Boston.

20   Q.   And who was that?     Where was South Boston getting its

21   cocaine?

22   A.   Joe Murray.

23   Q.   All right, now, in addition to Mr. Connolly, were you and

24   Mr. Bulger giving money to any other FBI agents?

25   A.   Yes.
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 1   Q.   And who are they?

 2   A.   We gave money to Agent Buckley, John Morris, Gianturco,

 3   John Newton, John Cloherty -- actually, not physically handed

 4   the money to John Cloherty, but John Cloherty had a problem, a

 5   drinking problem during the time the Angiulo wiretapping was

 6   going on, and there was a shortage of agents.         And he just

 7   didn't show up, and they was wondering where he was.          So they

 8   finally located him, and he had run up a series of checks that

 9   were bouncing.    So he came to -- John Connolly came to Jim

10   Bulger and said to him that he's got a problem, you know, with

11   these checks.    He says, can we help him out?       So Jim Bulger

12   gave him -- I don't know how much the checks come from, but he

13   gave him $2,500 to cover whatever the checks were.

14   Q.   Okay, what was the purpose of giving other FBI agents

15   money?

16   A.   We were paying them for information and protection, you

17   know, through John.     It was actually always, most times John

18   Connolly put this whole thing together.

19   Q.   Okay.     And why would John Connolly want to get other FBI

20   agents on your payroll?

21   A.   He just did because we have more of -- more information

22   and more sources.

23   Q.   You mentioned John Morris.       How much money did you give to

24   John Morris?

25   A.   Well, I was personally present for when he gave him the
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 1   $5,000.    I didn't actually hand it to him, but I was there

 2   because we were in his kitchen in his home.        And I was in the

 3   kitchen, and Jim Bulger came to me and says to me, "We should

 4   give John Morris some money.      How much money do you have on

 5   you?"    At that particular time I had $3,000 in my pocket.        So

 6   he says, "Give me $2,500," so I gave him $2,500.         And as we

 7   were leaving, John Connolly and I were in front, he remained

 8   back, and he gave him the $5,000 to John Morris.

 9   Q.      Okay.   Any other times you gave John Morris money?

10   A.      Yes.

11   Q.      What were those?

12   A.      Well, one time he was down in Glynco, Georgia, on some

13   school down there, and he was down there, and he wanted -- his

14   fiancee at the time was Debbie Noseworthy, and she was given a

15   thousand dollars to go down and visit him.

16   Q.      And how did you know that?

17   A.      That came from John Connolly.

18   Q.      Okay, who gave who a thousand dollars?

19   A.      I don't know who actually handed it, but that come out of

20   our EX money.

21   Q.      All this money, was this all out of the EX fund?

22   A.      Yeah, and wine was out of the EX fund, and the thousand

23   dollars in the bottom of the wine case came out of the EX

24   money.

25   Q.      How about this Agent John Newton?
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 1   A.   John Newton?

 2   Q.   What kind of money was given to John Newton?

 3   A.   We gave him $2,500 on two occasions.

 4   Q.   That you were present for?

 5   A.   Yes.

 6   Q.   And where was it left?       How did you give it to him?

 7   A.   Well, when we walked in, he just left it on the table, and

 8   we walked into living room.

 9   Q.   Who's "he"?

10   A.   Excuse me.     Jim Bulger.    I never met anyone without him.

11   He's always present, and I was with him.

12   Q.   And why did you give John Newton money?

13   A.   John Connolly suggested it.

14   Q.   Did John Newton ever give you anything?

15   A.   Yes.

16   Q.   What?

17   A.   He gave us a case of C-4 plastic explosives.

18   Q.   Where did he get it?

19   A.   Well, he was on a military team, and he got it from either

20   Fort Devens or Winthrop, one of them, because those were the

21   areas where they kept all their military supplies.

22   Q.   And what were you going to do with C-4 plastic explosives?

23   A.   It was a surprise when we got it because when we went down

24   to see it, it was in the basement.       And he said, "I got a

25   surprise for you."    So I was looking, and I knew -- I was
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 1   familiar with it.    I knew what it was.      So some of it was sent

 2   to Ireland to the IRA, and the rest of it we retained, and at

 3   some point Kevin ended up putting it -- he gave it to somebody

 4   over in -- over in Charlestown.

 5   Q.   These other two agents, Gianturco and Buckley, were you

 6   ever there when they received money?

 7   A.   Yes.

 8   Q.   And how did that come about?

 9   A.   Well, it was -- we had a meeting over his -- a dinner

10   meeting over his house, and we went there --

11   Q.   Over whose house?

12   A.   Gianturco's home, and we were there.        John Connolly, Jim

13   Bulger, and myself, we went to his home for dinner.

14   Q.   And what happened?

15   A.   Well, when we got there -- when we got in the car -- we

16   met behind the -- behind the Triple O's over in South Boston,

17   Jim Bulger, myself, and John Connolly, he drove us over, but

18   when he got in the car, he handed him $2,500 in cash, and he --

19   Q.   Who handed --

20   A.   Jim Bulger handed him $2,500 in cash and two envelopes

21   with 25 -- he told me there's $2,500 in each envelope.            And

22   then we went out to the house out there, and John Connolly gave

23   Gianturco an envelope, and then when Buckley came in, he gave

24   another envelope.

25   Q.   And that money was given to Connolly to give to Buckley
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 1   and Gianturco?

 2   A.   Right.

 3   Q.   You saw the envelopes?

 4   A.   Oh, yeah.

 5   Q.   You were present when there was a discussion?

 6   A.   Yes, yes.

 7   Q.   Did there come a time when Mr. Bulger became critical of

 8   John Connolly's showing too much money?

 9   A.   Yes.     He commented on it.

10   Q.   Tell us what that conversation was about that you had with

11   Mr. Bulger.

12   A.   I mean, when John Connolly started getting large amounts

13   of money, when he's going to work in his office, he was dressed

14   better than any other agent in the office.        That was an

15   indication that on his paycheck, how he was dressing so well.

16   He had a nice car now.     Eventually he bought a boat.       And when

17   Jim Bulger found out about that, he was upset about it.           And he

18   told him he was being too ostentatious, that he had to sell the

19   boat; he's bringing attention to himself and us.

20   Q.   And did Mr. Connolly sell the boat?

21   A.   He sold the boat.     He bought a house out in Chatham, a

22   vacation house.    I don't know what period he bought it, but he

23   bought it.

24   Q.   Did he also have a house in South Boston?

25   A.   A house in South Boston.
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 1   Q.   And in what kind of neighborhood?

 2   A.   An upscale neighborhood in South Boston.         It was up in the

 3   Heights up there.

 4   Q.   As a result of Mr. Connolly's conduct, did that affect the

 5   amount of money you and Jim Bulger gave to him?

 6   A.   Well, he cut back on giving him the amount of money, but

 7   not that he couldn't have it, but if he needed it, he'd have to

 8   explain what he was going to do with it.

 9   Q.   Over the period of time that you and Mr. Bulger had a

10   relationship with Mr. Connolly, approximately how much money do

11   you think you paid Mr. Connolly?

12   A.   Over $230,000 that I know of, plus there was vacations and

13   other money that was given to him out of the EX fund.

14               THE COURT:     Counsel, I'm not sure if I'm hearing this

15   correctly.    Is it E-X or X?

16   Q.   EX?

17               THE WITNESS:    EX, your Honor.

18   Q.   What does that stand for, Mr. Flemmi?

19   A.   Just, you know, extra money that we had.         It was just a

20   fund, expense account really.

21   Q.   Okay.    You said that Mr. Connolly bought a home in an

22   upscale neighborhood in South Boston?

23   A.   Yes.

24   Q.   Do you remember where that was?

25   A.   Thomas Park.
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 1   Q.   And who did he buy it from?

 2   A.   He bought it off one of Jim Bulger's bookmaking people who

 3   was working for him.

 4   Q.   Who was that?

 5   A.   Bobby Ford.

 6   Q.   A bookmaker from South Boston?

 7   A.   That worked for Jim Bulger.

 8   Q.   All right, now, you mentioned this man Frank Lepere.          Did

 9   there come a time when Frank Lepere had a problem with a man

10   named Sonny Colantonio?

11   A.   Yes.

12   Q.   And what happened?

13   A.   He told me about it.      He was concerned because the guy was

14   making some threats to him.      Sonny Colantonio used to work for

15   him offloading his marijuana boat.

16   Q.   Okay.   And what was Mr. Lepere's complaint about

17   Mr. Colantonio?

18   A.   Well, Sonny Colantonio made some threats to him, and he

19   was concerned about it.

20   Q.   What kind of threats?

21   A.   Well, physical threats.

22   Q.   Did you discuss those threats with Mr. Bulger?

23   A.   Yes.

24   Q.   And what did you decide to do, you and Mr. Bulger?

25   A.   To kill Sonny.     We put somebody up to it.      We didn't do it
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 1   ourselves, but I brought it to his attention, and a couple of

 2   guys from South Boston took care of it.

 3   Q.     Who?

 4   A.     It was a Tommy Nee, Jimmy Kearns, and I believe Pat Linsky

 5   was there.

 6   Q.     Was this the kind of protection that Mr. Lepere was paying

 7   for?

 8   A.     Yes.

 9   Q.     And you provided it?

10   A.     Yeah.

11   Q.     You and Mr. Bulger?

12   A.     Yes.

13   Q.     I was asking you about the drug network.       At some point in

14   time, do you meet a man named Joe Murray?

15   A.     Yes.

16   Q.     Who was Joe Murray?

17   A.     Joe Murray was another importer, marijuana importer in

18   Charlestown.

19   Q.     Okay.   And how did it come about that you met him?

20   A.     We met him through John Hurley, a Charlestown guy.         Jim

21   Bulger sent Pat Nee over there to be involved with him.

22   Q.     And did he become part of your network, so to speak?

23   A.     Yes.

24   Q.     This narcotics business that we've discussed, how long did

25   it continue for?
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 1   A.   From sometime early '80s to '90.

 2   Q.   And what happened in 1990?

 3   A.   In 1990 the DEA and the State Police had an investigation

 4   ongoing against the South Boston people, and they were

 5   successful in it.    And I think they arrested and indicted 51

 6   people, and they all got convicted.

 7   Q.   Did that put an end to your drug business?

 8   A.   That was the end of that.

 9   Q.   Did you get arrested in that case?

10   A.   No.

11   Q.   Did Mr. Bulger get arrested in that case?

12   A.   No, sir.

13   Q.   Who shared in the proceeds of this narcotics business?

14   A.   Pat Nee, Jim Bulger, Kevin Weeks, myself, and the EX fund.

15   Q.   And approximately how much money did you make on a weekly

16   basis from this --

17   A.   Anywhere from $1,100 to $1,500 a week on my end.

18   Q.   And that was split about what, four or five ends?

19   A.   That's pretty much that -- that much.

20   Q.   So how much would that be in total per week?

21   A.   It could fluctuate.     It could be up to $10,000 a week.

22   Q.   Now, I'd like to direct your attention to approximately

23   September or October of 1981.      Well, I'll withdraw that.      Did

24   you know a woman named Debbie Davis?

25   A.   Yes.
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 1   Q.   Who was she?

 2   A.   A friend of mine, girlfriend.

 3   Q.   When did you meet her?

 4   A.   I met her about 1976.

 5   Q.   And did you begin a relationship with her?

 6   A.   Not at first, no.     Eventually, yes.

 7   Q.   Had she been previously married?

 8   A.   Yes.

 9   Q.   And did she get divorced?

10   A.   Yes.

11   Q.   Did you live with her for a period of time?

12   A.   Yes, from actually around 1980, '80 to '81, so sometime

13   late '80s, '81.

14   Q.   Where did you live with her?

15   A.   In two locations.     One was in 5060 Longwood Ave., and then

16   the other location was in Randolph-Quincy line in Randolph.

17   Q.   Were you in love with her?

18   A.   Well, I -- I loved her, but I wasn't in love with her.

19   Q.   Okay.   Were you spending a lot of time with her?

20   A.   I was in late -- when we moved in together, I started

21   spending more time, yes.

22   Q.   How did this relationship with Debra Davis impact your

23   relationship with Jim Bulger?

24   A.   Well, he wasn't too happy about my relationship with her

25   because it started interfering with our business.
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 1   Q.   And can you explain how your relationship with Debra Davis

 2   started interfering with your business with Jim Bulger?

 3   A.   Well, he would call me in the evenings, and I would have

 4   to leave to go visit, to go meet him and John Connolly.            And

 5   not always on that occasion, but other occasions I would call

 6   and I had to go meet for other reasons, so it was having an

 7   impact on our relationship.      She required a lot of attention.

 8   She was a young girl.

 9   Q.   Did she complain when you would leave in the middle of the

10   night?

11   A.   Well, it wouldn't be in the middle of the night.             It could

12   be like late.    It could be like ten o'clock, eleven o'clock,

13   around that time frame.

14   Q.   Was that the time you routinely met with John Connolly?

15   A.   Yes.

16   Q.   Were there times when you argued with Mr. Bulger about

17   going out to a meeting late at night?

18   A.   We had some words about it, yes.

19   Q.   Did there come a time that you told Ms. Davis about your

20   relationship with John Connolly?

21   A.   I blurted it out inadvertently.

22   Q.   What caused you to do that?

23   A.   Well, it was a party, a birthday party, and I told her I

24   had to go leave because I got a call, and she said that she was

25   upset about that, and I said, well, I -- anyway, I spoke to
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 1   him.   He says, "Well, tell her you'll send her home.         Send her

 2   home and take her out another time."       So I went back and told

 3   her, and she was upset about it, and --

 4   Q.     So slow down now.   Whose birthday party was it?

 5   A.     Debra's.

 6   Q.     So you threw a party for her?

 7   A.     Well, yes.

 8   Q.     And who called you?

 9   A.     Jim Bulger.

10   Q.     And what did he want?

11   A.     He wanted me to meet him, to meet John Connolly.

12   Q.     And what did you say to him?

13   A.     I said, "I'm at a birthday party."

14   Q.     And what did he say?

15   A.     He said, "Well, send her home and tell her you'll take her

16   out another time."

17   Q.     And then what did you do?

18   A.     I went back and told her, and she was upset about it, and

19   I got in an argument with her.

20   Q.     Okay.

21   A.     She said, "You meet him all the time during the days.        Why

22   do you have to meet him now?"

23   Q.     And what did you say?

24   A.     I said, "It's important."    I said, "I've got to meet

25   somebody," and when I emphasized, I said -- and I bit my tongue
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 1   and said, "We have a connection, John Connolly, the FBI," and

 2   that's why I had to leave.

 3   Q.   Okay.   And did you leave the birthday party?

 4   A.   Yes.

 5   Q.   Did there come a time when you told Mr. Bulger that you

 6   had told Debbie about your relationship with John Connolly?

 7   A.   Yes, but that was after her brother got killed in Walpole.

 8   Q.   Okay, so tell us about that.

 9   A.   Well, her brother got killed in Walpole.

10   Q.   Walpole is a prison?

11   A.   Walpole is a state prison.       And there was an investigation

12   going on, and the family wanted to know what happened to him,

13   to her brother.    So she was asking me, why don't I try to find

14   out who was responsible, why was the reason for it, and they

15   wasn't getting any -- no information was forthcoming from the

16   investigation, so she asked me to go speak to John Connolly

17   about trying to find out who and what was responsible for her

18   brother's death.

19        I said to Jim Bulger, "Is it okay if I ask John Connolly?"

20   So we were both present, and I said to ask John to look into

21   the investigation, which he did.

22   Q.   Okay, so how did Mr. Bulger find out that you had told

23   Debra Davis about John Connolly?

24   A.   Well, that came after John Connolly had said something to

25   him, and he asked me if -- if I said anything about it, and
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 1   then I explained to him I did.      I told him that I spoke to --

 2   that I told Debbie, you know.

 3   Q.   And how did Mr. Bulger react to that revelation?

 4   A.   Not too happy about it.

 5   Q.   How did Mr. Connolly react to that?

 6   A.   He wasn't too happy about it either.

 7   Q.   After that, did you have additional conversations with

 8   Mr. Bulger about Debra Davis?

 9   A.   At some point later on, yes.       It was a problem because on

10   account of her lifestyle bringing attention to us.

11   Q.   And what do you mean by that?

12   A.   Well, I bought her a Mercedes.       I sent her on vacations.

13   I sent her to Mexico with her mother.       I gave her a lot of

14   money.   She had a lot of jewelry, and she was -- you know,

15   people start noticing that.

16   Q.   Why did that upset Mr. Bulger?

17   A.   Because he was always a low-key profile guy.         He didn't

18   want to draw any attention to us, and that was drawing

19   attention to me and to him.

20   Q.   And did he have a discussion with you about what to do

21   about Debra Davis?

22   A.   Yeah.   He wanted -- he said that "I want to send her

23   away."   He said, "Now I've really got to kill her.         You don't

24   know what she's said or who she's going to say it to."

25        So her brother become aware of it.        That's how I believe
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 1   John Connolly become aware of it because her brother was doing

 2   drugs, and from what I understand and I believe, that he was an

 3   informant.

 4   Q.   Okay.     Well, did you have additional conversations with

 5   Mr. Bulger about Debra Davis?

 6   A.   Oh, yes.

 7   Q.   Okay, tell us about those conversations.

 8   A.   He said that he wanted to kill her.

 9   Q.   How many times did he tell you that?

10   A.   Several times.

11   Q.   What did you say?

12   A.   I was -- I said, "No, of course not.        Why?"   And he

13   explained the whole -- he had a whole litany of reasons why;

14   how John Connolly had helped us, Johnny, myself, all of us,

15   protected us, now we're jeopardizing all that.         I said to him,

16   "Well, you know, your girlfriend is aware of it," you know.

17   Q.   What does that mean?

18   A.   I mean, Cathy knew who -- met John Connolly.

19   Q.   Cathy who?

20   A.   His girlfriend, Cathy Greig.       Theresa, his girlfriend,

21   Theresa.     John Connolly's wife, Marianne, met Jim Bulger.

22   Q.   So they were aware of Mr. Connolly's relationship with

23   Mr. Bulger?

24   A.   They met him.     They met together.

25   Q.   In any event, did you continue to have conversations with
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 1   Mr. Bulger about Debra Davis?

 2   A.   Yes.

 3   Q.   And what were those conversations?

 4   A.   He wanted -- he wanted me to bring her, and he wanted to

 5   kill her.

 6   Q.   Did you agree to that?

 7   A.   Not at first, but I eventually did when he explained all

 8   the reasons and why it had to be done.        And it did happen, and

 9   it's never -- it's affected me, and it's going to affect me

10   till the day I die.

11   Q.   Okay.     Well, did you agree to a plan about how that was

12   going to happen?

13   A.   Yes.

14   Q.   And what was the plan?

15   A.   Well, my mother -- I had bought a house in South Boston,

16   and he said to bring her there, and which I did.         And I brought

17   her down.    I met her there at the house.      We walked in.     The

18   door was open.    We walked in, and as soon as we walked in, we

19   walked in the house matters of seconds, and we walked -- you

20   know, she walked to the head of the stairs, and he grabbed her

21   by the neck.

22   Q.   Who grabbed her?

23   A.   Jim Bulger.

24   Q.   Had that been the plan, that he was going to grab her?

25   A.   Yeah.     He was there.
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 1   Q.   Why?     Why didn't you do it?

 2   A.   I couldn't do it.

 3   Q.   Why not?

 4   A.   I couldn't do it.

 5   Q.   Did you tell him that?

 6   A.   He knew it.

 7   Q.   And what did he say?

 8   A.   He said, "I'll take care of it.       I'll do it."

 9   Q.   Okay, so you walked in the house, and what happened?

10   A.   He grabbed her around the throat and strangled her.

11   Q.   What did you do?

12   A.   Nothing.

13   Q.   Why not?

14   A.   I -- that was the plan.

15   Q.   How long did that last?      How long did it take?

16   A.   A little bit of a while.      You know, as long as it took

17   to -- he was holding her and strangling her all the way down to

18   the basement.

19   Q.   He brought her down to the basement?

20   A.   Right.     The basement was right by the head of the stairs,

21   and he grabbed her by the throat and took her down the stairs.

22   Q.   And what happened in the basement?

23   A.   When we got into the basement, she was dead, and I laid

24   her down.   And I had some tarp there on the ground, and I laid

25   her down on the ground.
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 1   Q.    What did Mr. Bulger do?

 2   A.    Well, he helped me put her there, you know.        I wrapped her

 3   up, and then he went back upstairs and laid down.

 4   Q.    What do you mean, laid down?

 5   A.    He went upstairs and he laid down.       There was no furniture

 6   upstairs.     He just laid down.   There was an old rug, and he

 7   just sat on the ground on the floor.       So I took care of

 8   everything, and he helped me to come up, and then he went and

 9   got the car.

10   Q.    And when you say you took care of everything, what did you

11   do?

12   A.    Well, I just cleaned up what I had to do, and he went out,

13   and he had spoke to Jack and Pat, and they brought the car to

14   the house.

15   Q.    Jack Curran?

16   A.    Jack Curran.

17   Q.    Pat Nee?

18   A.    Pat Nee, and put her in the trunk of the car, and the car

19   was taken out to Jack Curran's garage.

20   Q.    Okay.    And was her body wrapped in anything?

21   A.    Yeah.    We wrapped her up in a tarp.

22   Q.    Had you removed her clothes?

23   A.    Oh, yes, took the clothes off.

24   Q.    Why?

25   A.    To deter identification.
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 1   Q.   Did you tie the tarp up in any fashion?

 2   A.   I'm sorry?

 3   Q.   Did you tie the tarp up?

 4   A.   Yes, I believe I did.

 5   Q.   So Mr. Curran brings the vehicle to his garage.          Then what

 6   happens?

 7   A.   Well, we waited till it become dark, and then we went over

 8   to the location over in -- over in Neponset.

 9   Q.   Who's "we"?

10   A.   Jim Bulger, myself.     Jack Curran drove us over.       The body

11   was in the trunk of the car.      Dropped us -- excuse me?

12   Q.   Was this the same area where Mr. King had been buried --

13   A.   Yes.

14   Q.   -- years earlier?

15   A.   Yes.   And he dropped us off.      He dropped -- Jack Curran

16   dropped us off with the body and a couple of shovels, and we

17   went in and we dug the grave while she was there.

18   Q.   And so you carried the body --

19   A.   Carried the body.

20   Q.   -- how far?

21   A.   Probably, uhm, maybe 80, 90 yards.

22   Q.   And who dug the hole?

23   A.   He sat down on the bank, and I dug the hole.

24   Q.   And then what happened?

25   A.   Then Jack picked us up.
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 1   Q.   You put the body in the --

 2   A.   We buried the body, yes.

 3   Q.   And Mr. Bulger sat there and watched you?

 4   A.   Yes.

 5   Q.   Why doesn't he do any of the work?

 6   A.   That's what he does.

 7   Q.   What, kill somebody and make everybody else do the work?

 8   A.   Well, he does that.

 9               MR. BRENNAN:    Objection.

10               THE COURT:     Sustained.    Mr. Wyshak, is this a good

11   place to stop, given the time?

12               MR. WYSHAK:     Yes, your Honor.

13               THE COURT:     Jurors, before I release you, just a quick

14   update about where we are, having spoken to counsel.          As I've

15   mentioned to you before when we broke for the 4th of July, that

16   we're a little ahead of schedule.         I expect that the government

17   will rest its case sometime next week.         As I mentioned to you,

18   the defendant is not required to put on any case and can just

19   hold the government to its proof, but if the defendant chooses

20   to put on a case, it would follow after the government rests.

21   So as I said, I expect at sometime next week the government

22   will rest.

23               Again, remember all of my cautionary instructions.

24   They're just as important at this juncture in the trial as they

25   were on the first day of trial.         Don't talk to anyone about
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 1   this case.    Don't have anyone talk to you.      Don't listen to any

 2   media accounts or read any media accounts, and don't do any

 3   research on your own.     Have a good weekend, and I'll see you

 4   Monday.   Thank you.

 5             THE CLERK:    All rise.

 6             (Jury excused.)

 7             THE COURT:    Mr. Flemmi, you can step down.

 8             (Witness leaves the courtroom.)

 9             THE COURT:    Everybody can be seated.      Counsel, I'll

10   hear you briefly.    Please keep in mind that I have a two

11   o'clock matter on, so I will hear you just briefly.          I think

12   you wanted to be heard on the motion.

13             MR. KELLY:    Yes, your Honor, and I don't know if

14   defense counsel has decided whether or not to take off any more

15   people from their list, but my count, there's now 30 witnesses

16   on the defense list.     They proposed in addition the other day a

17   man by the name of John Bowden, and as we've indicated, there

18   are eight witnesses we are not calling, and I set that forth in

19   our motion.    But I think with respect to the remaining 30

20   witnesses, most of them, not all of them but most of them

21   appear to be being called in violation of at least two rules,

22   Rule 403 and Rule 608(b).

23             I think, as we set forth in our brief, the First

24   Circuit law is clear; you can't put on evidence to confuse the

25   issues or mislead the jury or waste time, and I think that's
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 1   what many of these witnesses are.       It's not a defense in this

 2   case that as the defendant claims, he was not an informant.

 3   Being an informant is not an element of any of the charges in

 4   this indictment, and it seems clear to us that through this

 5   claim that "I'm not an informant" is simply an effort at jury

 6   nullification, which is improper.       And I think at least half

 7   these witnesses are designed to do just that.         I think of the

 8   30 are 15 former FBI agents.

 9             We pointed out in our opening statement in this case

10   that in fact there was substantial public corruption over the

11   years, and that public corruption, as the Court has heard,

12   enabled this criminal group to prosper.        So, you know, I'm not

13   sure why a lot of these FBI agents are relevant.         Some, you

14   know, maybe they were around during the time of these crimes

15   like a couple of them, Mr. Fitzpatrick and so forth, but most

16   of them appear to be irrelevant.

17             Now, similarly, the other half are witnesses who

18   appear to be being called in violation of 608(b).         You know,

19   they can't attack witnesses who have already testified on

20   extrinsic collateral matters.      For instance, there appears to

21   be this new addition, Mr. Bowden, who I think they want to

22   present to attack Mr. Lindholm on whether or not he was

23   truthful in the Trenkler case, which would be a classic

24   collateral matter.

25             Similarly, as this Court heard before the trial began,
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 1   there was a whole skirmish before this trial began based upon

 2   false allegations against Lieutenant Johnson.         The Court

 3   received voluminous materials in camera.        I think there's four

 4   or five witnesses that they're trying to present to instigate a

 5   mini-trial during this case.      So I think I could go witness by

 6   witness if the Court wishes.      I pointed out I think in my

 7   papers why I believe these witnesses are being called, and I

 8   think most of them, not all of them but most of them should not

 9   be allowed to testify to extraneous matters or irrelevant

10   matters or time wasting.     There's a witness on there, James

11   Mahar.   He testified for hours on end about documents that I'm

12   not sure of their relevance, and I think no one wants to hear

13   more from him, but he's on there as well.

14             So that's my position with respect to a lot of these

15   witnesses, your Honor.     Again, if the Court wishes, I can go

16   witness by witness before the Court.       There's one witness, he's

17   an out-of-state attorney, claims -- he thinks he's an expert on

18   FBI corruption, which, again, we're the ones who have told the

19   jury in our opening statement there's FBI corruption in this

20   case.

21             THE COURT:    And, Counsel, you don't have to go through

22   them one by one.    I have your brief in front of me.        I

23   obviously, after I've heard arguments on both sides, I'll go

24   back and look at it in terms of your breakdown.

25             MR. KELLY:    But the gist of our position is, under
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 1   either -- well, 401, 403, or 608(b), the majority of these

 2   witnesses should be precluded.

 3             THE COURT:     Mr. Carney or Mr. Brennan?

 4             MR. BRENNAN:    Your Honor, we had started this case and

 5   we had a list of potentially 80 witnesses, and through this

 6   case, as issues became irrelevant or witnesses became

 7   irrelevant, we've narrowed down our witness list.         For example,

 8   we had a number of witnesses that would be available in case we

 9   needed to impeach Mr. Morris; and when Mr. Morris was impeached

10   without contest, we removed those witnesses from the witness

11   list.   That same occurrence occurred with a number of different

12   potential witnesses we had, and we listed those witnesses

13   because we want to give the government notice and the Court

14   notice of the witnesses that we may call in case they were

15   necessary.

16             Our list is now down to about 30 witnesses.         The

17   witnesses are relevant.     They go to issues in this case, and

18   some of the witnesses are impeachment witnesses.         Depending on

19   the rest of the government's case, this list I expect may, as

20   it has in the past, narrow down even further if impeachment

21   witnesses are not necessary.

22             In addition to simply impeachment witnesses, there are

23   witnesses that we intend to call regarding issues that have

24   been raised by the government in this case to rebut those

25   issues.   We have been very diligent in meeting and continuing
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 1   to narrow down the witness list.       We have had a conversation

 2   with the government and gave them a brief overview of what our

 3   intentions are for those witnesses, and we expect that we will

 4   call the ones at the end of the case that are relevant to our

 5   case.   If there is an objection to the testimony at that time,

 6   then we expect the government can object, but in good faith

 7   these witnesses are relevant to our case.        They're not

 8   extrinsic evidence witnesses, and we intend to call them.

 9             THE COURT:     Counsel, and obviously I want to have some

10   time to think about this generally, and I also expect as,

11   Mr. Brennan, you represent, that this list might get shorter as

12   we get through more of next week; and I want the discussions

13   between counsel on both sides to continue.

14             I guess the one thing, just so counsel is aware, I'm

15   going to go back and look at Rule 608(b).        I know the issue in

16   regards to Trooper Orlando was argued to me beforehand.

17             MR. BRENNAN:    It was.

18             THE COURT:     I have questions in my mind.      I haven't

19   made a final decision about this.       I have questions in my mind

20   about whether there's a basis to call him here, but I want to

21   think about that and what questions I want to pose to both

22   sides before I make any decision on that.        My memory was that

23   your argument was, it went to the credibility of Mr. Martorano

24   as opposed to Mr. Johnson.      I'm not sure if there is a basis

25   for making that distinction, but that's one thing I'm focused
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 1   on and just generally 608(b).

 2             So, counsel, I don't know if you want to be heard

 3   briefly on that or just want to keep it in mind for next time I

 4   raise this with you.

 5             MR. BRENNAN:    We'll be prepared for any questions you

 6   have about witnesses, but the representation is that we intend

 7   to call the witnesses, and if we can narrow the list, we'll

 8   continue to do that.     And if you have questions, then certainly

 9   we'll entertain the questions, but I don't think we should be

10   in a position to have to have the witnesses deposed by the

11   government for them to determine what the testimony is going to

12   be before we call them.     If there's discovery attached to these

13   witnesses, we'll provide it.      If there's a conversation they

14   want to have to get more detail, I'm happy to have the

15   conversation with them.

16             THE COURT:     Counsel, and I wasn't suggesting that.

17   I'm just telling you what I'm focused on based on having heard

18   counsel on both sides on that issue with a fairly developed

19   sense of why I thought you were intending to call him.            And in

20   fact, Mr. Carney, I think at some point at the end of that

21   discussion, you asked me whether or not you'd be allowed to

22   call Mr. Orlando, and I left the question open, frankly,

23   because I wasn't sure where the evidence was going.          So that is

24   one of the issues I'm focused on of the things that, as I look

25   through Mr. Kelly's memo, that he raises.
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 1             MR. BRENNAN:    Thank you.

 2             THE COURT:     Mr. Kelly, did you want to add something?

 3             MR. KELLY:     Just briefly.   I mean, by way of another

 4   example, to propose to call two FBI agents who wrote a report

 5   about Kevin Hayes?     I think it's uncontested that Page 162 of

 6   his testimony on that particular day, that day being -- oh,

 7   shoot, I don't have the date, but on the date Kevin Hayes

 8   testified, Page 162, Lines 17 through 21, I don't think there's

 9   a contest that the FBI report only references Weeks and not

10   Bulger.   So those two witnesses, I don't know what would be the

11   point of calling them.     And similarly I think there are

12   numerous witnesses of the remaining 30 that do not have

13   relevant testimony to the charges in this case.

14             So if defense is going to review this further and

15   scale it back further and the Court wishes us to continue our

16   conversation, I'll be glad to do that, but at some point the

17   government does need to have some sense of who's actually

18   coming in so we in fact can prepare, just as we have given them

19   a heads-up on who we're calling days in advance.

20             THE COURT:     Mr. Carney?

21             MR. CARNEY:     If I might very briefly respond.        By the

22   end of Mr. Hayes's testimony, he was saying in response to

23   questions asked by the government, "I don't remember what I

24   told the agents," and that's how it was left.         I'm calling

25   those two agents because they are the ones -- and to be candid
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 1   with your Honor, I'm likely to only call one of the two.           I put

 2   both names down just so we can have the option of whichever

 3   witness is more available and least inconvenienced, we'll call

 4   him.    And I expect that witness will say that when he spoke to

 5   Mr. Hayes and Mr. Hayes told him about meeting someone who

 6   said, "Kevin weeks wants to meet with you," that Mr. Hayes

 7   never said, "James Bulger and Mr. Weeks wants to meet with

 8   you."   So this is direct impeachment of exactly what the

 9   witness said on direct examination.

10              THE COURT:    Okay, Counsel, I will talk to you, I'm

11   sure, early in the week again about this topic, but I

12   understand your respective positions.       But I also understand

13   that the witness list may change, and I think it's more

14   valuable to talk about the folks who will actually be called.

15              MR. CARNEY:    I think that's wise, your Honor.        Thank

16   you.

17              THE COURT:    And just briefly, Mr. Kelly, after I --

18   know obviously Mr. Flemmi may take up some time at the

19   beginning of next week.     After that?

20              MR. KELLY:    Yes.   I think then we're down to about

21   five or six witnesses:     Kevin O'Neil, Sandy Lemanski from the

22   IRS, an extortion victim named Buccheri, the same person, and

23   the FBI agent who made the arrest of James Bulger and observed

24   weapons, cash, fake IDs and that sort of thing.         I may have

25   left one out, but that's the gist of what we have.
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 1             THE COURT:     Okay.   At least from your perspective,

 2   this is the last of the longer witnesses?

 3             MR. KELLY:     Absolutely.

 4             THE COURT:     Okay.   Anything else, Counsel, before we

 5   break?

 6             MR. BRENNAN:    No.    Thank you.

 7             MR. CARNEY:     No, your Honor.

 8             THE COURT:     Okay, thank you.     Have a good weekend.

 9             MR. BRENNAN:    You too, your Honor.

10             (Adjourned, 1:17 p.m.)

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 4
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 5
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 6     By Mr. Wyshak

 7

 8
                                E X H I B I T S
 9

10   Exhibit No.            Description                                Received

11
       1172 A          Stephen Flemmi Plea Agreement
12
       1172 B, 1172 Stephen Flemmi agreements with
13     C            Florida and Oklahoma

14     1172 D          Stephen Flemmi forfeiture of assets

15     1171            Stephen Flemmi Plea Agreement in
                       Judge Wolf case
16
       51              Photograph
17

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 1                           C E R T I F I C A T E

 2

 3
     UNITED STATES DISTRICT COURT )
 4   DISTRICT OF MASSACHUSETTS    ) ss.
     CITY OF BOSTON               )
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 6

 7             We, Debra Joyce and Lee Marzilli, Official Federal

 8   Court Reporters, do hereby certify that the foregoing

 9   transcript was recorded by us stenographically at the time and

10   place aforesaid in Criminal No. 99-10371, United States of

11   America v. James J. Bulger, and thereafter by us reduced to

12   typewriting and is a true and accurate record of the

13   proceedings.

14        Dated this 19th day of July, 2013.

15

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17

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19
                     /s/ Debra J. Joyce /s/ Lee A. Marzilli
20                   __________________________________
                     DEBRA M. JOYCE and LEE A. MARZILLI
21                   OFFICIAL COURT REPORTERS

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